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                           Exhibit 1
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                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA


              CENTER FOR BIOLOGICAL
              DIVERSITY, et al.,

                        Plaintiffs,

                        v.                                            CASE NO. 1:21-cv-00119 (RDM)

              U.S. ENVIRONMENTAL PROTECTION
              AGENCY, et al.,

                        Defendants.



                                DECLARATION OF AMBER CROOKS IN SUPPORT OF
                             PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

            I, Amber Crooks, make the following declaration:
                     1.        I am a resident of Naples, Florida.

                     2.        I am competent to make this declaration. I provide this declaration based upon

            my personal knowledge. I would testify to the facts in this declaration under oath if called upon

            to do so.

                     3.        I am a member of the Conservancy of Southwest Florida (“Conservancy”), and I

            am also employed by Conservancy as the Environmental Policy Manager.

                     4.        Conservancy is a 501(c)(3) nonprofit that focuses on environmental conservation

            in Southwest Florida. Our water policy work addresses issues at local, statewide, and federal

            levels. Conservancy was founded in 1964 and has grown in membership to over 3,600 dues-

            paying members, and over 2,000 additional donors and supporters. The mission of Conservancy

            is to protect the natural environment, species, and habitats of Southwest Florida, summed up in

            our motto: “Our Water, Land, Wildlife, Future.” We do this through four main program areas:


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            1) Science and Research, 2) Policy and Advocacy, 3) Wildlife Rehabilitation, and

            4) Environmental Education.

                     5.      Conservancy’s Policy and Advocacy program focuses on protecting water,

            wildlife, and land. In protecting wetlands and waterways, we work to promote better water

            management and resource protection by working with stakeholders and decision-makers to

            ensure that stringent water management tools, regulations, and best practices are in place and

            utilized. In protecting wildlife and endangered species, we work to prevent harm by preserving

            species’ habitats from environmental changes, conserving landscape corridors and critical

            habitat, and ensuring that protections are strong to recover imperiled species populations. We

            perform this work at the local, state, and federal levels.

                     6.      Conservancy’s Wildlife Rehabilitation program operates the von Arx Wildlife

            Hospital, which treats approximately 3,800 injured, sick, or orphaned native animals on an

            annual basis. These native species include small mammals, birds (including migratory and

            protected birds), turtles, gopher tortoises, and many others.

                     7.      Protection of water resources such as wetlands and conservation of native species

            are core programmatic areas for Conservancy’s policy work.

                     8.      I have a deep personal commitment to the protection and recovery of Florida’s

            protected species, and I engage in both professional and personal activities to further this

            commitment.

                     9.      I have an aesthetic and scientific appreciation of the Florida panther in the wild,

            and travel to panther habitats in hopes of viewing and photographing the elusive panther. I enjoy

            recreating in panther habitat areas, including hiking, camping, wildlife viewing, and nature

            photography.



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                     10.     I graduated with a B.A. in political science from Stetson University in 2003, and I

            received a Masters of Public Administration in Environmental Policy and Planning from Florida

            Gulf Coast University in 2011.

                     11.     Through my work at Conservancy and through my formal education, I have

            studied endangered species policy issues, including critical habitat designation, Habitat

            Conservation Plans, and the Florida panther, among other topics. As the environmental policy

            manager at Conservancy, I specialize in wildlife policy and am the organization’s listed

            (endangered and threatened) species expert. Endangered species that my work focuses on

            include, but are not limited to, Florida panthers, bonneted bats, and smalltooth sawfish. My job

            duties also include overseeing policy staff members’ technical analysis of issues related to state

            and federal permitting processes.

                     12.     Southwest Florida, as a region, has many endangered and threatened species that

            receive regulatory review by federal agencies as required under the Endangered Species Act

            (“ESA”). One such species is the Florida panther, one of the most endangered species on the

            planet, with only 120 to 230 adults remaining in the wild. According to the U.S. Environmental

            Protection Agency’s (“EPA”) Biological Evaluation in this case, this region had the highest

            concentration of ESA consultations in all of Florida from 2014-2018. See Exhibit A, Excerpt

            from ESA Evaluation for Clean Water Act Section 404 Assumption by the State of Florida.

                     13.     One of the main tools Conservancy uses to protect species, their habitats, and

            waters is the public commenting process. When there is a proposed agency action, we review

            the applications and documents; determine the scope and effect it would have on the wildlife and

            waters we seek to protect; utilize geographic information system (GIS) analysis, a data mapping

            tool that allows us to visually understand the affected geographic environment; review wetland



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            impacts and potential means to avoid, minimize, and mitigate those impacts; review applicable

            rules and laws; and submit comment letters. As with this case, we also engage in litigation when

            needed to carry out our organization’s goals.

            Conservancy’s Engagement on Florida Assumption of Section 404

                     14.     Conservancy has dedicated considerable resources to opposing Florida’s

            assumption of the Clean Water Act’s Section 404 program, in light of the state’s poor permitting

            track record in environmental protection and the state’s failure to demonstrate that it would

            provide the same level of protection, rights and remedies available under federal law, and that its

            program meets the requirements of federal law.

                     15.     Between 2017 and 2020, I advocated on behalf of Conservancy, against state

            efforts to pursue assumption on Section 404 in Florida. Among other things, I testified before

            the state legislature, participated in the state rulemaking process (via comments and hearings),

            regularly raised concerns directly with the Secretary of Department of Environmental Protection

            and his staff, and helped engage our membership in advocacy against the proposed program at

            the state and federal levels.

                     16.     In 2018, we launched a campaign to urge Governor Rick Scott to veto a quickly

            passed bill that authorized the Department of Environmental Protection to pursue seeking

            approval from EPA to administer Section 404. This included our supporters sending more than

            700 emails in opposition, online advertisements that reached more than 70,000 viewers, and

            advertisements and opinion pieces published in local newspapers. We submitted comments to

            the U.S. Army Corps of Engineers (“Corps”) as it was considering modification to the list of

            waters that could be assumed by the state under Section 404. In 2019, we sent an action alert to

            our members and supporters asking them to contact the new Governor, Ron DeSantis, to urge



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            him to reverse course on 404 assumption, as he had made promises about protecting our water

            quality.

                     17.     From 2018 to 2020, we participated in the state’s rulemaking process, the final

            steps of which were conducted at the height of uncertainty around the coronavirus pandemic

            (February to April 2020), urging the state not to rush the process when the community was

            facing a public health emergency involving stay at home orders, closed schools and scarce

            household supplies, and requiring families to focus on protecting their health, livelihood, and

            well-being.

                     18.     After the state submitted its 404 application to EPA in August 2020, and EPA

            initiated a public comment period in September 2020, Conservancy, along with other Plaintiffs

            in this action, objected to the incompleteness of the application in October 2020, and in

            November 2020 submitted comprehensive comments objecting to Florida’s proposed program as

            grossly inadequate and unlawful under federal law. Those comments are attached here as

            Exhibits B and C.

                     19.     After EPA published its notice approving Florida’s program and gave it

            immediate legal effect on December 22, 2020, Conservancy’s counsel notified EPA and the

            other federal defendants, as well as the state, that EPA’s transfer of authority was unlawful.

            Exhibit D. On December 28, 2020, EPA responded by claiming for the first time that the

            agency’s December 22, 2020, action did not have to meet the 30-day requirement or codify the

            state program because it was an informal adjudicatory order, rather than a rule. Exhibit E.

                     20.     On January 14, 2021, Conservancy joined with the other Plaintiffs in this action to

            filed the present suit.




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                     21.     Conservancy was harmed, and continues to be harmed, by EPA’s decision to

            make the state-assumed 404 program effective immediately on December 22, 2020, rather than

            at least 30 days after publication (January 21, 2021), as required for rulemakings, and without

            lawfully effectuating that transfer through codification. The unlawful transfer of authority from

            the Corps to the state harms Conservancy’s ability to carry out its organizational mission of

            protecting the environment and wildlife, and harms members’ aesthetic, recreational, and other

            interests as a result of the state’s unlawful administration of the 404 program.

            Conservancy Lost Procedural Rights As a Result of EPA’s Unlawful Action

                     22.     As a result of EPA’s immediate effective date, Conservancy lost the procedural

            rights to seek agency reconsideration prior to the transfer going into effect, to seek an agency

            stay pending judicial review, and to benefit from the incoming Administration’s directive to

            review, and consider staying, rules that had not yet gone into effect as of inauguration day.

            Conservancy would have exercised these rights had they been available.

                     23.     As to reconsideration, Conservancy was deprived of the right to ask EPA to

            reconsider its determination that Florida’s application was complete, and to allow public

            comment on the complete application, before the rule took effect. During the public comment

            period, Conservancy objected to EPA’s completeness determination on at least three bases: (1)

            the failure to adequately identify the scope of waters that would be assumed by the state; (2) the

            failure to demonstrate that the state would have the resources to administer a complex federal

            program without, as it claimed, a cent in additional resources, particularly at a time when the

            state’s coffers are under strain from the economic impacts of the coronavirus pandemic; and (3)

            the failure to define the “technical assistance” process the state claimed would ensure protection

            of imperiled species, but that was not laid out until more than two weeks after the public



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            comment period closed. Conservancy also was deprived of the right to ask EPA to reconsider its

            approval of the state program as unlawful, for the reasons stated in Plaintiffs’ Complaint.

                     24.     As a result of EPA’s immediate effective date, Conservancy was also denied the

            right to ask the agency to postpone the effective date of the rule pending judicial review. On

            January 20, 2021, Conservancy and the other Plaintiffs in this action asked EPA to cure the

            immediate effective date and failure to codify violations regarding the state program. See

            Exhibit F, Earthjustice’s Letter dated January 20, 2021, “Request for Expedited Action; Ctr. for

            Biological Diversity, et al., v. Wheeler, No. 1:21-cv-119-RDM (D.D.C. Jan. 14, 2021).”

            Conservancy and the other Plaintiffs further requested that if EPA were to properly promulgate

            and codify its approval of Florida’s program, that the agency also postpone the effective date of

            that action pending judicial review. EPA, however, has adhered to its position that the

            immediate effective date was lawful, prohibiting the agency from considering Plaintiffs’ stay

            request. If the court were to remedy these violations, Conservancy would again ask the agency

            to postpone the effective date of the rule pending judicial review.

                     25.     EPA’s immediate effective date of December 22, 2020, also foreclosed

            Conservancy’s ability to benefit from the Biden Administration’s review of the rule. It is my

            understanding that on January 20, 2021, President Joe Biden’s White House Chief of Staff

            Ronald A. Klain issued a memorandum to the incoming White House Senior Staff, directing

            agency heads to review and consider postponing by at least 60 days any rule that had been

            published in the Federal Register but had not taken effect. 1 Had EPA provided the required 30-

            day effective date from its publication in the Federal Register, it is my understanding that EPA’s




            1
             https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/20/regulatory-freeze-
            pending-review/
                                                              7
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            approval and transfer of authority to the state would have been covered by the Klain Memo. A

            review of the unlawful aspects of Florida’s 404 program could have resulted in actions to stay

            the program’s effective date and take other remedial measures.

                     26.     The loss of procedural rights Conservancy has sustained as a result of EPA’s

            immediate transfer of authority to the state, as well as its failure to lawfully effectuate the

            transfer through codification, has resulted in immediate and on-going organizational and

            membership harms while the state’s unlawful program operates. The state’s 404 program causes

            Conservancy to divert resources, threatens wetlands and wildlife, and undermines Conservancy’s

            ability to fully realize its mission by depriving the organization of information, rights and

            remedies available when Section 404 is administered by the Corps as it has been for decades.

            Organizational Harms From Immediate Effective Date

                    27.      I understand that the APA 30-day delay between a rule and its effective date is

            intended to allow all those affected to prepare for the effect of the rule. As discussed above, the

            delay allows those adversely affected to request reconsideration of the action, and take other

            action, such as requesting an agency stay, before the rule’s effective date. The delay also allows

            those affected to prepare for the impact of the rule when it becomes effective.

                    28.      Here, without the 30-day window between the rule and effective date,

            Conservancy was unable to adequately prepare for the mass of permits immediately transferred

            from the Corps to the state, which required a substantial diversion of attention from its planned

            activities to determining the status and impact of these transfers and what actions the state would

            take. Conservancy was forced to divert resources from core programmatic work to immediately

            turn its attention to these questions. This included forcing Conservancy to try to understand the

            impact and scope of the program’s components, which have not been codified, to try to prepare


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            to continue its advocacy against pending permit applications threatening its interests and those of

            its members. We had to quickly transition our resources from other core programs and towards

            trying to learn and stay on top of the state-assumed program.

                     29.     In this 30-day period, Conservancy had emergency internal meetings to create

            strategy plans and re-staff projects so that Conservancy would be able to 1) stay on top of how

            Florida was processing new applications and which existing 404 applications would be

            transferred from the Corps; 2) ensure we would not miss decision points on applications that

            would authorize projects affecting Conservancy’s and our members’ interests; 3) ensure we

            would not miss information or deadlines for applications that could be of concern to

            Conservancy; 4) assess overall how Florida was administering the program; 5) better understand

            how the agency MOA/MOUs, Biological Opinion, and state rules would perform in

            implementation on varied applications; and 6) what the best forms of advocacy would be under

            the state assumed program.

                     30.     In this 30-day window, Conservancy dedicated a significant amount of resources

            to tracking the state’s “Oculus” search engine to figure out where and how to access 404

            application documents and whether and how the state was proceeding with new and transferred

            permitting requests. Conservancy was simultaneously contacting the state via phone and email

            to learn the same. Conservancy also spent time trying to figure out how to sign up to receive

            public notices of developments on projects with little to no avail.

                     31.     Halfway through this 30-day period, we received individual instructions from the

            state on how to search Florida’s database of transferred and new applications and general

            information about where future public notices would be posted. Once we had this information,

            we had to go through hundreds of data entries in the Oculus database to determine if any projects



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            Conservancy had already been tracking and on which we had submitted comments were

            transferred to the state (and under what project name and the state 404 application identification

            number was), as well as attempting to discern whether any new project applications that would

            be of concern to Conservancy were submitted. Because the state posted records to its Oculus site

            in a piecemeal fashion, we had to repeatedly call the Corps to ascertain whether the agency had

            transferred individual project applications that Conservancy had been tracking and on which we

            had submitted comments.

                     32.     Conservancy therefore had to re-allocate our staff time toward this effort, which

            required us to reduce or eliminate time that would have been spent on other work. This increase

            in work redirected Conservancy’s resources and staff capacity that were dedicated to other

            aspects of the organization’s core planned conservation programs.

                     33.     Although I had planned to monitor the transfer of 404 permitting authority from

            the federal agency to the state following the program’s approval, if EPA had not instituted an

            immediate effective date, I would not have had to work almost exclusively on this during the

            weeks that followed the program going into effect immediately on December 22, 2020. A core

            component of my work is protecting panthers. In the 30 days following the program approval, I

            was unable to devote the time I otherwise would have to this work, including my otherwise

            planned tasks regarding transportation issues that affect panthers.

                     34.     We also had to divert resources away from our informational work dedicated to

            translating policy so that it is more user-friendly for our members and the general public. At

            Conservancy, we aspire to take the complex matters we work on and break them down to a level

            that the general public can understand. This includes creating story maps, visuals, PowerPoints,

            and the like for the public. We then put this information on our website and social media to



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            educate our members and supporters, inspire them to take action, and further attracts supporters

            and donors to Conservancy. Because of the hastened need for many of our Policy staff members

            to address the Florida 404 program and several of the pending applications, we had to shift away

            from this work or put it on hold until resources became available.

                     35.     These harms to Conservancy have continued beyond the 30 days following the

            immediate effective date of the program. Now that 404 applications are being processed and the

            state is sending Requests for Additional Information (“RAIs”) to permit applicants, we are forced

            to engage in our advocacy work all at once on all the 404 permits we had been tracking. In

            addition to ensuring our comments on projects that were pending before the Corps were

            forwarded to the state, we will also have to submit brand new comments to the state for each 404

            project impacting our mission, tailored to the specifics of the new program, and request public

            hearings for each project. Furthermore, because the applications were submitted or transferred at

            around the same time giving them all similar timeclock start dates, we are having to monitor

            developments on the permit applications all at once, rather than if the permits had remained on

            their own natural timeline under the Corps’ jurisdiction. As a result, we are continuing to divert

            staff time from other important local and state matters affecting species and water quality.

            Organizational and Membership Harms From Particular Projects

                     36.     EPA’s unlawful transfer of authority to the state via an immediate effective date

            and without codifying the state program, mean that the state is presently administering the 404

            program, while Conservancy has been denied the right to request reconsideration or an agency

            stay pending judicial review, and the ability benefiting from the Klain memo. As a result, the

            state is poised to issue 404 permits on major projects that will Conservancy’s organizational

            interests and my interests as a member. We are particularly concerned about certain permit



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            applications that have been transferred by the Corps to the state 2 for major projects, especially

            given the state’s public statements that its objective in assuming jurisdiction over 404 permits is

            to issue permits quickly.

                     37.     Troyer Mine. According to DEP’s online search portal, as of January 8, 2021,

            the Corps transferred a 404 permit application by Troyer Brothers Florida, LLC, for construction

            and operation of a lime rock and fill dirt mine, to the state, in state application number

            0292013007. The proposed project includes the extraction of approximately 256,000 cubic yards

            of crushed lime rock from the project site. 3

                     38.     Troyer Mine would cover 1,803.51 acres and would affect waters that are part of

            the Big Cypress Swamp Watershed. The project site is within the consultation areas for several

            endangered and threatened species, including the Florida panther, bonneted bat, red cockaded

            woodpecker, Audubon’s crested caracara, the Florida grasshopper sparrow, the Everglade snail

            kite, and the Florida scrub jay. Additionally, the site has suitable habitat for the threatened

            eastern indigo snake and wood stork. Other listed species observed on the site include the bald

            eagle, Florida sandhill crane, roseate spoonbill, limpkin, little blue heron, snowy egret, tricolored

            heron, white ibis, American alligator, and Big Cypress fox squirrel. The project is also within

            three wood stork colony Core Foraging Areas. See Exhibit G, Public Notice, Permit Application

            No. SAJ-2008-03793.

                     39.     While the application for Troyer Mine was pending before the Corps,

            Conservancy submitted public comments opposing the project (see Exhibit H). Ninety percent




            2
              https://depedms.dep.state.fl.us/Oculus/servlet/login and
            https://prodenv.dep.state.fl.us/DepNexus/public/searchPortal.
            3
              State 404 File for Troyer Mine: https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
            documents/ST404_292013/gis-facility!search.
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            of the project site is in Florida panther Primary Zone habitat, meaning it is habitat essential for

            the continued survival and recovery of the species. This project site is about 90% Primary Zone

            and Adult Breeding Habitat for the Florida panther.

                     40.     Vehicular collisions are the leading cause of known deaths for the Florida

            panther. Troyer Brother’s proposed project would result in an estimated 2,089 daily truck trips

            to or from the site, adding heavy traffic to already deadly roadways for panthers.

                     41.     Troyer Mine would also likely destroy 214 acres of wetland that are part of

            regional flowways, or connected strands of water that comprise a wetland ecosystem within the

            Density Reduction Groundwater Resource Area of Lee County, a large area of protected

            wetlands, agricultural lands, and conservation lands. This area includes preserved lands of

            Imperial Marsh Preserve, Corkscrew Regional Mitigation Bank, and Southwest Florida

            International Airport mitigation lands. Wetlands in this area are critical to preserving aquifers

            and water supply for Lee County and surrounding areas; for example, water from rain runoff

            naturally flow to and re-charge the aquifers. These wetlands also provide panther habitat. As

            explained in our attached Comments (Exhibit H), the mining project would likely impact

            evaporation rates of water supply due to seepage from wetlands into the mines, resulting in a

            lower water table, with the potential for adjacent wetlands to be drained as a result.

                     42.     The Troyer Mine project requires both a state-level environmental resource permit

            (“ERP”) and a 404 permit. In 2011, the state granted Troyer Brother’s ERP applications. In

            2019, the state granted modifications to those permits. On June 29, 2019, while the 404 permit

            application was before the Corps, the Corps closed the public comment period.

                     43.     In assuming jurisdiction over the federal 404 program, the state has repeatedly

            stated that its objective is to grant 404 permit applications quickly. The state has also claimed in



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            its 404 application to EPA that the ERP process has an 85% overlap with the 404 application

            process, suggesting that once the ERP process has been completed, there is not much more for

            the state agency to do to complete its 404 review. 4

                     44.     Absent a request for additional information, it typically takes 90 days for FDEP to

            process a state-level ERP permit from start to finish: 30 days to make a completeness

            determination and 60 days to issue or deny the permit. 5 For the state 404 program, within 10

            days of a completeness determination, DEP must provide public notice of the proposed

            application, which opens a 30-day comment period for most permits that is extended to the close

            of any public meeting, if one is held. If EPA does not comment or signal it may comment or

            object, FDEP generally has 60 days from the close of the comment period (or its determination

            that the application is technically complete) to make a final permit decision. If a request for

            additional information is issued, applicants have 90 days to respond, though, as shown below,

            they may respond sooner.

                     45.     As for Troyer Mine, that the state ERP process has been completed, the federal

            404 public comment period has concluded, the Corps has transferred the application to the state,

            and the state has not issued an RAI, it appears that there is little left to do to process this 404

            application.

                     46.     If the Troyer Mine permit is granted, Conservancy’s ability to challenge the

            permit and harms that result from the project will be severely constrained by inadequate and

            costly state procedures (including restrictive standing requirements, costly litigation




            4
              See https://floridadep.gov/water/submerged-lands-environmental-resources-
            coordination/content/state-404-program.
            5
              See https://floridadep.gov/comm/press-office/content/dep-101-environmental-resource-
            permitting
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            requirements because of the need to retain expert witnesses, and the potentially devastating risk

            of mandatory fee-shifting laws), that are not comparable to the processes or remedies available

            under federal law. Conservancy will also lose access to information about the project that would

            have been provided under NEPA and Section 7 of the ESA.

                     47.     In addition to harming Conservancy’s organizational interests, the Troyer Mine

            project would be located approximately three and a half miles away from the public lands I

            enjoy, namely, the Corkscrew Regional Ecosystem Watershed lands where I regularly hike,

            camp, and observe the wildlife listed above. Panthers require huge swaths of territory for

            roaming, foraging, and breeding, can have ranges over 200 square miles, and can travel 12 or

            more miles a day. I visit Corkscrew for an annual camping trip with friends, and I plan to return

            here as often as possible. Environmental harms from Troyer Mine, including harms to essential

            species habitat, would negatively impact my ability to enjoy these lands and observe wildlife.

                     48.     Rural Lands West. According to FDEP’s online search portal, as of January 11,

            2021, the 404 permit application for Rural Lands West was transferred to the state, in state

            application number 0396966001. 6 Interestingly, Corps personnel advised Conservancy that this

            404 application was transferred to the state as of December 21, 2020, a day before EPA

            published notice of its approval of the state program.

                     49.     Collier Enterprises Management, Inc., seeks this permit to develop in the Big

            Cypress Drainage Basin. This drainage basin includes critical wetland ecosystems such as

            Shaggy Cypress, Camp Keais Strand flowway, Picayune Strand, and Fakahatchee Strand, which

            are proximate or downstream to this proposed project. Rural Lands West is a project to clear,



            6
              State 404 File for Rural Lands West:
            https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_396966/gis-
            facility!search.
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            grade, excavate, dredge, and fill to construct and maintain a mixed-used development consisting

            of two golf courses; a commercial town center; an elementary, middle, and high school; and

            residential neighborhoods with roads, driveways, parking areas, lakes, drainage management

            systems and other associated infrastructure. The project would discharge 196,217 cubic yards of

            fill into 98.25 acres of jurisdictional wetlands and 1,360 cubic yards of materials into 0.68 acre

            of isolated wetlands in the watershed for the Big Cypress Drainage Basin. Approximately

            27,820 cubic yards of materials would be discharged into 13.90 acres of remnant farm-field

            ditches. The project also would dredge/excavate approximately 2,951,250 cubic yards of native

            materials from 197.45 acres of jurisdictional wetlands and 16,500 cubic yards of material from

            1.1 acre of isolated wetlands. See Exhibit I, Public Notice, Permit Application No. SAJ-2008-

            00210.

                     50.     While the Rural Lands West application was pending before the Corps,

            Conservancy submitted comments in opposition to the project (see Exhibits J and K).

            Conservancy owns 1.4 acres of land for conservation purposes that are approximately 1.5 miles

            away from Rural Lands West, and another 26 acres of land within 3 miles of the project.

                     51.     The project would result in approximately 10,000 new residents arriving to the

            area and would impact over 300 acres of wetlands. The project falls within important regional

            flowways and ecosystems.

                     52.     Regarding water resources, we additionally raised concerns that Rural Lands

            West would be in an impaired water body that does not meet water quality standards, particularly

            for nutrients or where nutrients are the pollutant. Conservancy asked federal agencies for better

            hydrological analysis of the impacts of this project on downstream and adjacent wetlands.




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                     53.     As stated in the comments Conservancy submitted to the Corps in opposition to

            this project, there would be 4,100 acres of impacts to panther habitat, with 75% of the project in

            the Primary Zone habitat. A substantial amount of the project is also in panther Adult Breeding

            Habitat. The Rural Lands West project is part of the proposed Eastern Collier Multiple Species

            Habitat Conservation Plan which the Conservancy opposes, in part, due to loss of panther habitat

            from projects like Rural Lands West.

                     54.     The Rural Lands West project requires both a state-level ERP and a 404 permit.

            In 2018, the state granted Collier Enterprises Management, Inc.’s ERP applications. The Corps

            closed the public comment period on the application in 2017. In assuming jurisdiction over the

            federal 404 program, the state has repeatedly stated that its objective is to grant 404 permit

            applications quickly. After the 404 application was transferred to the state, an RAI was issued

            on February 5, 2021, meaning it is now over a month into the maximum 90-day window for

            Collier Enterprises to respond, moving the proposed project further along in the application

            process.

                     55.     If the Rural Lands West permit is granted, Conservancy’s ability to challenge the

            permit and harms that result from the project will be severely constrained by inadequate and

            costly state procedures (including restrictive standing requirements, costly litigation

            requirements because of the need to retain expert witnesses, and the potentially devastating risk

            of mandatory fee-shifting laws), that are not comparable to the processes or remedies available

            under federal law. Conservancy will also lose access to information about the project that would

            have been provided under NEPA and Section 7 of the ESA.

                     56.     I would also be personally harmed by the Rural Lands West development. I

            regularly hike the public trails at the Florida Panther National Wildlife Refuge. The Refuge



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            boundary is about four miles from the project site, and I plan to return as often as possible.

            Environmental harms from the Rural Lands West development project threaten my ability to

            enjoy these natural areas, hike, and observe wildlife.

                     57.     Babcock Development. According to FDEP’s online search portal, as of

            December 28, 2020, Babcock Property Holdings, LLC’s 404 permit application to expand its

            nearly 18,000-acre property development was transferred to the state, in state application number

            0396574001. 7 As with Rural Lands West, Corps personnel advised Conservancy that this 404

            application was transferred to the state as of December 21, 2020, a day before EPA published

            notice of its approval of the state program.

                     58.     The proposed modification, which would cover an 8,711-acre project area would

            be located in the Tidal Caloosahatchee River Watershed, and it would add 113.42 acres of

            wetland impacts, totaling 553.63 acres of wetland impacts for this project. See Exhibit L, Public

            Notice, Permit Application No. SAJ-2006-06656.

                     59.     In comments by the Conservancy to the Corps (see Exhibit M), we highlighted

            potential harms to the caracara Primary Zone buffer, as the caracara is non-migratory and uses

            this territory year-round. We also highlighted concerns about the Florida bonneted bat, as much

            of the development site would be within proposed bonneted bat critical habitat.

                     60.     On November 12, 2020, the Corps closed the public comment period.

            Additionally, the state ERP has been pending since May 27, 2020, but could be granted at any

            time. Under state law, once an ERP application is received, FDEP has 30 days to determine if it

            is complete or to seek additional information; once the application is deemed complete, FDEP



            7
              State 404 File for Babcock Development:
            https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_396574/gis-
            facility!search.
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            has 60 days to make a decision on the permit. For the state 404 permit application, FDEP issued

            a RAI, which Babcock Property Holdings responded to quickly on March 1, 2021, thus moving

            the application further along the processing timeline toward a final decision.

                     61.     Conservancy’s ability to challenge the permit and harms that result from Babcock

            Development will be severely constrained by inadequate and costly state procedures (including

            restrictive standing requirements, costly litigation requirements because of the need to retain

            expert witnesses, and the potentially devastating risk of mandatory fee-shifting laws), that are not

            comparable to the processes or remedies available under federal law.     Conservancy will also

            lose access to information about the project that would have been provided under NEPA and

            Section 7 of the ESA.

                     62.     Bellmar Development. According to FDEP’s online search portal, as of

            December 28, 2020, the 404 application for Bellmar Development was transferred to the state, in

            state application number 396364001. 8 Collier Enterprises Management, Inc., applied to develop

            a mixed-use community that would cover about 1,500 acres within the Big Cypress Drainage

            Basin. This drainage basin includes critical wetland ecosystems such as the Camp Keais Strand

            flowway, Picayune Strand, and Fakahatchee Strand which are proximate or downstream to this

            proposed project. The development site would also be within proposed critical habitat for the

            bonneted bat.

                     63.     The Bellmar project is proposed completely within 100% Primary Zone habitat

            for the Florida panther, and about 80% of the site is Adult Breeding Habitat for the panther as

            well. The Bellmar project is part of the proposed Eastern Collier Multiple Species Habitat



            8
              State 404 File for Bellmar Development:
            https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_396364/gis-
            facility!search.
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            Conservation Plan which the Conservancy opposes, in part, due to loss of panther habitat from

            projects like Bellmar.

                     64.     The project would likely impact lands that are part of the Florida Panther National

            Wildlife Refuge, where I love to regularly visit and recreate. Conservancy also owns property

            about 3 miles from the proposed project site.

                     65.     After the 404 application was transferred to the state, an RAI was issued on

            January 27, 2021, meaning it is now over a month into the maximum 90-day window for Collier

            Enterprises to respond, moving the proposed project further along in the application process.

                     66.     Conservancy’s ability to challenge the permit and harms that result from the

            project will be severely constrained by inadequate and costly state procedures (including

            restrictive standing requirements, costly litigation requirements because of the need to retain

            expert witnesses, and the potentially devastating risk of mandatory fee-shifting laws), that are not

            comparable to the processes or remedies available under federal law. Conservancy will also lose

            access to information about the project that would have been provided under NEPA and Section

            7 of the ESA.

                     67.     Fleischmann Development. According to FDEP’s online search portal, as of

            February 16, 2020, Minto Sabal Bay, LLC’s application to construct a residential development

            with associated infrastructure, amenities, and stormwater management system had been

            transferred to the state, in state application number 398942001. 9

                     68.     Fleischmann Development would encompass 53.7 acres of wetlands. It would

            result in the discharge of 169,077 cubic yards of fill material into 26.2 acres of wetlands and 839



            9
              State 404 file for Fleischmann Development:
            https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_398942/gis-
            facility!search.
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            cubic yards of fill material into 0.13 acre of other surface waters. It would also result in the

            excavation of 72,213 cubic yards of material from 7.46 acres of wetlands. The project would

            impact eastern indigo snake habitat and could also impact the wood stork, red-cockaded

            woodpecker, Florida scrub jay, Florida panther, Florida bonneted bat, and the American

            crocodile. See Exhibit N, Public Notice, Permit Application No. SAJ-2019-03152.

                     69.     While the application had been pending before the Corps, Conservancy submitted

            comments to the Corps (see Exhibit O), in which we outlined concerns about the gopher tortoise

            and indigo snake and advocated for better protections for the upland species impacted or

            potentially impacted by the project.

                     70.     On July 5, 2020, the Corps closed the public comment period. Additionally, the

            state ERP has been pending since July 24, 2020, but could be granted at any time. Under Florida

            law, once an ERP application is received, FDEP has 30 days to determine if it is complete or to

            seek additional information; once the application is deemed complete, FDEP has 60 days to

            make a decision on the permit, and according to FDEP, there is an 85% overlap between the ERP

            and 404 permit process.

                     71.     Conservancy’s ability to challenge the permit and harms that result from the

            project will be severely constrained by inadequate and costly state procedures (including

            restrictive standing requirements, costly litigation requirements because of the need to retain

            expert witnesses, and the potentially devastating risk of mandatory fee-shifting laws), that are not

            comparable to the processes or remedies available under federal law. Conservancy will also lose

            access to information about the project that would have been provided under NEPA and Section

            7 of the ESA.




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                     72.      Further demonstrating the harms discussed above and below, I have verified

            additional 404 applications in FDEP’s State 404 Program database that have already been

            transferred to the state, that Conservancy has been monitoring and has already engaged in, and

            for which the Corps’ comment periods have closed:

                           a. Vanderbilt Beach Extension. Collier County seeks to widen and extend a

                roadway that would impact 3.38 acres of wetlands and panther habitat. Conservancy

                submitted a comment letter seeking consideration of panther movement in that area.

                           b. Immokalee Road Rural Village. 27th/Pico Boulevard Limited Partnership seeks

                to construct a mixed-use residential and commercial development in Collier County, which

                would result in the discharge of 159,091 cubic yards of fill material into 32.87 acres of

                wetlands and 1,942,195 cubic yards of fill material into 200.64 acres of other surface waters.

                The project would also involve the excavation of 179,241 cubic yards of material from 11.11

                acres of wetlands. The site is within the USFWS designated Focus Area for the Florida

                panther and is within the USFWS designated consultation area for the crested caracara.

                Conservancy sent a letter seeking consideration and action on the severe panther roadkill

                hotspot adjacent to this project.

                     73.      These harms would be pervasive and ongoing. Conservancy has identified and

            has been monitoring project developments that will likely need a 404 permit in the future:

                           a. Old Corkscrew Plantation Mine. This is a potential mining project that could

                cover 4,000 acres. It had an active 404 permit application in 2011, but no permit was issued

                to my knowledge. The project already received its ERP from FDEP in 2011. About 87% of

                the property is considered Florida panther Adult Breeding Habitat, and the project also

                contains Florida panther Primary Zone habitat. The following species have been previously



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                documented on site, including crested caracara, Everglades snail kite, wood stork, Florida

                panther, Florida sandhill crane, little blue heron, roseate spoonbill, Big Cypress Fox squirrel,

                and Florida black bear. The project also contains Core Foraging Area for four wood stork

                colonies. Based on earlier permit applications, this project would add about 2,300 daily truck

                trips onto a roadway that already is deadly for Florida panther-vehicle collisions. This

                project would also be approximately one and a half miles away from the public lands I enjoy,

                namely, the Corkscrew Regional Ecosystem Watershed lands where I regularly hike, camp,

                and observe wildlife.

                         b. State Road 29. This is a project to widen State Road 29 in Collier County, and it

                is already beyond the beginning stages of the planning process with the Florida Department

                of Transportation. The State Road 29 project encompasses Florida roadkill hotspots that

                threaten panthers, and it is adjacent to the public lands of Big Cypress National Preserve and

                the Florida Panther National Wildlife Refuge. This project would be located directly

                adjacent to these key public lands, where I enjoy hiking and other outdoor activities.

                         c. Wilson-Benfield Road. This is a project to extend a major roadway in Collier

                County, and it would be within or adjacent to the Picayune Strand State Forest. The Picayune

                Strand provides habitat for numerous species, including the wood stork, red cockaded

                woodpecker, Florida black bear, Florida panther, and others. This roadway may impact

                important downstream resources, fragment wildlife habitat, and alter hydrological

                connections. This project is likely to go forward, as it has already been listed on the Collier

                County Metropolitan Planning Organization (MPO) 2045 Long Range Transportation Plan,

                which is the federally mandated planning mechanism for local governments to receive

                federal funding for transportation projects. I live about 1.5 miles way from this project area,



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                and enjoy recreation, such as hiking and wildlife observation, in the Picayune Strand State

                Forest and plan to continue doing so as often as I can.

                           d. I-75 Interchange near Everglades Blvd. This is a project to construct a new

                interchange on I-75 in Alligator Alley. An interchange in this area would increase

                development in Golden Gate Estates and the Rural Lands Stewardship Areas. These areas

                provide habitat for wildlife such as Florida black bears and Florida panthers, among other

                species. This project is likely to go forward, as it has already been listed on the Collier

                County Metropolitan Planning Organization (MPO) 2045 Long Range Transportation Plan,

                which is the federally mandated planning mechanism for local governments to receive

                federal funding for transportation projects.

                           e. Eden Oak Development. This is a project to develop a 55-home community on

                306 acres along the Caloosahatchee River. The project was previously pending with the

                Corps starting in 2012, it would have impacted at least 35 acres of mangrove and salt marsh,

                and it was within smalltooth sawfish critical habitat and Florida manatee critical habitat. The

                wetlands within this site were recognized by agencies as Aquatic Resources of National

                Importance. The developer has an active application for development at the local level.

                           f. FPL “Sawgrass” Solar Facility. This is a project by Florida Power & Light to

                construct a solar facility that would span over 3,000 acres. It would cut through Florida

                Panther Primary Zone habitat. The project is also adjacent to a roadkill hotspot for Florida

                panthers.

            Organizational Harms from the State Program

                     74.      As stated above, because Conservancy was unable to seek agency reconsideration

            or an agency stay, was foreclosed from benefitting from the Klain memo, and because EPA



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            unlawfully transferred authority to the state, the state is currently administering its unlawful

            Section 404 program. The state 404 program is and will harm Conservancy as an organization.

                     75.     Now that Florida has unlawfully assumed the federal 404 program, Conservancy

            is harmed by the loss of environmental review of projects under NEPA. This statute not only

            provides more scrutiny for water resources, species and their habitat, but also provides the

            Conservancy with vital information to vet the impacts of a proposed project and additional

            opportunities for public comment. In order to carry out our mission of protecting species and

            wetlands, we now will be required to hire our own experts to engage in alternatives analyses,

            again draining our financial resources that would go elsewhere.

                     76.     The NEPA review process provides Conservancy with an opportunity to engage

            in the Corps decision-making, which can lead to better environmental decisions, opportunities

            that are lost now while Florida is allowed to continue administering this 404 program. For

            example, several proposed large-scale mining projects in Lee and Collier counties were subject

            to NEPA, under which an environmental impact statement (“EIS”) was determined to be

            required. As a result of this decision, two of the applications – which would have impacted over

            9,000 acres – were either suspended or withdrawn. See Exhibit P (correspondence between

            permit applicants and the Corps documenting the EIS as the reason for withdrawal/suspension).

                     77.     The loss of critical information and procedural safeguards afforded by NEPA will

            significantly set back our established methods of advocating for and protecting water resources,

            species and their habitats, and as the pending 404 project applications discussed above

            demonstrate, these losses will occur if Florida assumes the 404 program. Furthermore, for any of

            the projects in which Conservancy determines the need for litigation, a tool employed by our




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            organization, it is guaranteed that Conservancy would have to divert its resources to engage in

            state court litigation, or forego litigation completely, damaging our organizational mission.

                     78.     Furthermore, Conservancy challenges 404 permits in federal court as one of our

            advocacy tools to further our mission, and we are harmed by the loss of federal court as a venue

            as a result of Florida assuming the 404 program. Litigating in federal court provides us with the

            necessary access to protect the interests of our organizational mission and our members. We

            would not have the same access to state courts because of the significantly higher costs of state

            court litigation and the potential drain on our resources to litigate at the state level.

                     79.     With assumption, there is now an entirely different legal scheme to challenge

            wetlands permitting in Florida, through the Division of Administrating Hearings (“DOAH”).

            Because legal proceedings in front of DOAH are conducted from scratch and are not treated as

            administrative record review cases, Conservancy would have to incur considerable expense to

            hire expert witnesses to bring a legal challenge. Expert witnesses cost upwards of thousands of

            dollars to retain on a case, which is thousands of dollars Conservancy would have to divert from

            other programmatic goals if we did not have to litigate in state court. This also means that

            Conservancy may be restricted from challenging 404 permits, and will certainly not be able to

            utilize the same tools as it has under the federal regime. In state court, we also would not have

            the benefit of environmental analyses and administrative records around which we can build our

            cases that federal NEPA and ESA processes affords. Rather, in state court, we would have to

            build our cases from the ground up, conducting our own investigations and hiring our own expert

            witnesses. A case before Florida’s Division of Administrative Hearings (“DOAH”) can easily

            run upwards of several hundreds of thousands of dollars, factoring in expert witnesses, attorneys’

            fees, and time. With our limited budget, one permit challenge in state court could eat up a



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            significant portion of the policy department’s budget. In order to engage in such costly litigation

            we would to have to 1) raise additional money to fund these challenges, 2) pull funds from other

            areas within our existing operating budget, or 3) forego certain litigation, as funding is not

            included in our budget. All three options would damage our ability to carry out our mission.

                     80.     It is my understanding that Conservancy would also risk exposure to a mandatory

            “fee-shifting” provision in which we risk being liable for the costs and fees to engage in

            litigation, costs and fees that we would not automatically be subject to if we retained the ability

            to litigate in federal court. Such a fee-shifting provision would further diminish our ability to

            engage in litigation, because we would be required to weigh this financial risk in addition to the

            above costs, regardless of how strong our claim might be.

                     81.     It is also my understanding that it would be significantly harder for Conservancy

            to even bring a lawsuit for environmental harms on behalf of our members, because we would be

            required to show harm to a significant number of our members under Florida law, rather than to

            just one member under federal law.

                     82.     The lack of procedural safeguards, and in turn, a weaker system for evaluating

            and testing the environmental impacts of permitting, also significantly increase the risk of harms

            to Florida’s water resources, species, and their habitats, environmental harms that would be felt

            personally by me as a member of Conservancy and a long-time resident of Naples. I regularly

            partake in outdoor activities such as hiking, camping, observing wildlife, and nature

            photography. Some of the areas that I like to visit include, but are not limited to, Big Cypress

            National Preserve, Fakahatchee Strand Preserve State Park, Picayune Strand State Forest, Collier

            Seminole State Park, Florida Panther National Wildlife Refuge, Corkscrew Regional Ecosystem

            Watershed’s Corkscrew Marsh, Bird Rookery Swamp and Flint Pen Strand, Corkscrew Swamp



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            Sanctuary, Stormwater Treatment Area 5, Babcock Ranch Preserve, Fisheating Creek,

            Okaloacoochee Slough State Forest and Spirit of the Wild Wildlife Management Area, and

            county owned conservation properties such as those in Collier and Lee counties.

                      83.    If Florida is allowed to continue operating this unlawful 404 program,

            Conservancy would be irreparably harmed in its ability to carry out its mission of protecting

            native and endangered species, their habitats, and waters.

                      84.    A ruling in Plaintiffs’ favor would set aside EPA’s immediate transfer of authority

            to the state, thereby allowing Conservancy to pursue all avenues, as discussed above, including

            seeking an agency stay of Florida’s administration of the Section 404 pending judicial review. In

            addition, as indicated by the Klain memo, the Biden Administration is focused on reviewing final

            actions of the outgoing Administration, and as new leadership of the agency Defendants comes

            in, it is possible that the agencies would grant Plaintiffs relief, particularly pending judicial

            review.

                      I declare under penalty of perjury that the foregoing is true and correct. Executed this
             5
            ___day of March, 2021.



                                                                            ______________________________
                                                                            Amber Crooks
                                                                            Environmental Policy Manager
                                                                            Conservancy of Southwest Florida
                                                                            1495 Smith Preserve Way
                                                                            Naples, Florida 34102




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   Figure 4-4 Locations of ESA Consultations in Action Area, 2014 - 2018




               ESA Biological Evaluation for Clean Water Act Section 404 Assumption by the State of Florida | Page 53
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 Figure 4-5 Concentrations of ESA consultations in the Action Area, 2014 - 2018




                ESA Biological Evaluation for Clean Water Act Section 404 Assumption by the State of Florida | Page 54
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                         Exhibit B
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       October 23, 2020

       Mr. Kelly Laycock
       Oceans, Wetlands and Streams Protection Branch
       USEPA Region 4
       61 Forsyth St., SW
       Atlanta, GA 30303

       Via: 404Assumption-FL@epa.gov & regulations.gov

                       Re:     Request to Reconsider Completeness Determination Regarding
                               State of Florida’s Application to Assume Administration of a Clean
                               Water Act Program (Docket # EPA-HQ-OW-2018-0640-0001; EPA-
                               HQ-OW-2018-0640)

       Dear Mr. Laycock:

       We write to urge the U.S. Environmental Protection Agency (“EPA”) to reconsider its
       determination that the State of Florida has submitted a “complete” application to assume
       jurisdiction over the Clean Water Act Section 404 program. 1 As demonstrated below, Florida’s
       application was not, and is not, complete regarding at least three issues: protection of listed
       species, identification of assumed waters, and staffing. EPA should suspend the public comment
       period and review of Florida’s application until the State cures these deficiencies and submits a
       complete program proposal to the agency. See 40 C.F.R. § 233.15(a) (statutory review period
       shall not begin if EPA finds that a State’s submission is incomplete).

       On September 16, 2020, EPA published a Federal Register notice stating that it had received “a
       complete program submission” for 404 assumption from the State of Florida on August 20, 2020.
       See Florida’s Request to Assume Administration of a Clean Water Act Section 404 Program, 85
       Fed. Reg. 57,853 (Sept. 16, 2020). Based on its determination that the submission was complete,
       EPA initiated a 45-day public comment period that concludes on November 2, 2020, as required
       by the Clean Water Act and the Administrative Procedure Act (“APA”), 40 C.F.R. § 233.15(e)
       and 5 U.S.C. § 553, and is set to make a decision on the application by December 18, 2020. See
       33 U.S.C. § 1344(h)(1) (providing for decision on application within 120 days of receipt); 40


       1
        We previously made this request in oral comments at EPA’s October 21, 2020, virtual public
       hearing on Florida’s application.
                                                  FLORIDA OFFICES
111 SOUTH MARTIN LUTHER KING JR. BLVD.                                               4500 BISCAYNE BLVD., SUITE 201
TALLAHASSEE, FL 32301                                                                              MIAMI, FL 33137
T: 850.681.0031                                                                                    T: 305.4 40.52 32

                                  FLOFFICE@EARTHJUSTICE.ORG   WWW.EARTHJUSTICE.ORG
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C.F.R. § 233.15(a) (120-day statutory review period begins when EPA receives complete State
program submission as set out in 40 C.F.R. § 233.10).

Public notice requirements under the APA are (1) intended to improve the quality of agency
rulemaking by ensuring that regulations are tested by exposure to diverse public comment; (2) an
essential component of fairness to affected parties; and (3) an opportunity for parties to develop
evidence in the record to support their objections to a rule, which in turn enhances the quality of
judicial review. 5 U.S.C. § 553; Small Refiner Lead Phase-Down Task Force v. U.S. Env’t Prot.
Agency, 705 F.2d 506, 547 (D.C. Cir. 1983) (internal citations and quotation marks omitted).

In this case, the State of Florida has failed to provide a complete program submission to EPA,
and EPA should reverse its determination otherwise. Permitting the public only to comment on
an incomplete application undermines the agency’s rulemaking by precluding meaningful
testing, denies fairness to affected parties, and precludes the opportunity to develop evidence in
the record that will prove necessary to judicial review, should EPA grant the application, as the
State and industry supporters of the program have indicated they fully expect will happen.

Incomplete Submission Regarding Endangered Species Act Protections

First, the State has not demonstrated how it will ensure no jeopardy to listed species to comply
with the Section 404(b)(1) Guidelines’ no-jeopardy provision. 33 U.S.C. § 1344(h)(1)(a) (state
must demonstrate it has authority to issue permits which “apply, and assure compliance with, any
applicable requirements of this section, including, but not limited to, the guidelines established
under subsection (b)(1) of this section, and sections 1317 and 1343 of this title”); 40 C.F.R. §
230.10(b)(3) (prohibits issuance of permits that will “[j]eopardize[] the continued existence of
species listed as endangered or threatened under the [ESA], or result[] in likelihood of the
destruction or adverse modification … [of] critical habitat” unless an exemption is granted by the
Endangered Species Committee). See also 40 C.F.R. § 233.11(a)–(c) (requiring that State
assumption application include description of scope and structure of State’s proposed program,
description of State’s permitting procedures, and description of structure and organization of all
State agencies that will be involved, including the responsibilities of each and how they will
coordinate administration of the program).

Instead, the State has indicated that it will rely on an anticipated programmatic biological
opinion and an anticipated, associated incidental take statement it expects will result from a
Section 7 consultation that is apparently underway between EPA and U.S. Fish and Wildlife
Services and the National Marine Fisheries Services. See Memorandum of Agreement between
Florida Department of Environmental Protection and the United States Environmental Protection
Agency, Jul. 31, 2020; Memorandum of Understanding between Florida Fish and Wildlife
Conservation Commission, United States Fish and Wildlife Services, and the Department of
Environmental Protection, Aug. 5, 2020. As this information was not submitted with the State’s
August 20, 2020, application, the program submission was not complete. Further, without the

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ability to review this critical information, affected parties are unable to provide informed
comments on whether Florida will be able to meet the no-jeopardy requirements.

Indeed, it was not until August 27, 2020, that EPA agreed with Florida’s novel premise that the
agency is required to consult with the Services if a decision to approve a 404 assumption
application may affect listed species or designated critical habitat (reversing EPA’s prior,
longstanding position on this issue). U.S. Env’t Prot. Agency, Memorandum on Endangered
Species Act Section 7(a)(2) Consultation for State and Tribal Clean Water Act Section 404
Program Approvals (2020) (Exhibit 1). EPA indicated that it would henceforth engage in a one-
time Section 7 programmatic consultation which would allow the Services to issue “a
programmatic biological opinion and programmatic incidental take statement for the state or
tribal permitting program.”

EPA further stated that:

       The [programmatic] biological opinion and incidental take statement could
       establish additional procedural requirements and permitting conditions or
       measures that help ensure the state or tribal permitting program and individual
       permits issued pursuant to that program, as well as EPA’s approval of that
       program, do not result in jeopardy to any listed species. This process, assuming
       compliance with any applicable permit conditions or measures, would extend
       ESA Section 9 liability protections to individual permits issued pursuant to the
       state or tribal program and place state and tribal CWA Section 404 permitting on
       equal footing with the Corps’ permitting program.

Id. at 7 (emphasis added).

Taken together, EPA and Florida’s positions demonstrate that the yet-to-be-completed
consultation, and the yet-to-be-completed biological opinion and incidental take statement that
are expected to result from consultation, are an essential component of Florida’s assumption
application. As a result, Florida’s program submission too is not complete, and EPA’s
determination to the contrary is in error.

As things stand, Florida cannot possibly establish that its program, and any permits that would
issue under the program, comply with federal law. See, e.g., 33 U.S.C. § 1344(h)(1)(A)(i) (a
state plan to assume dredge and fill permitting must comply with the guidelines issued under §
404(b)(1)); 40 C.F.R. § 233.23 (requiring that “[f]or each permit the [state] Director shall
establish conditions which assure compliance with all applicable statutory and regulatory
requirements, including the 404(b)(1) Guidelines”). And affected parties cannot possibly
provide meaningful comment on whether Florida will ensure no jeopardy to listed species, a
matter of fundamental fairness to which they are entitled under the APA.

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Incomplete Identification of Assumed Waters

Second, Florida has failed to identify the waters that would be assumed under its proposed
program. EPA regulations require an assumption application to include “[a] description of the
waters of the United States within a State over which the State assumes jurisdiction under the
approved program” and a description of the waters within the state over which the U.S. Army
Corps of Engineers retains jurisdiction if the program is approved. 40 C.F.R. § 233.11(h).

To start, Florida has created an unnecessary labyrinth for anyone to try to understand the waters
that are implicated in its assumption application. In fact, none of the program-related definitions
are provided by statute or in the State’s implementing regulations, but rather appear in an
applicant handbook. See Fla. Admin. Code Ann. r. 62-331.030 (providing that “Terms used in
this Chapter are defined in section 2.0 of the 404 Handbook”).
The 404 Handbook, in turn, defines “State-assumed Waters” or “Assumed Waters” by reference
to the Florida legislation that authorized (but did not require) the Florida Department of
Environmental Protection to pursue assumption. See Fla. Dep’t of Env’t Prot., State 404
Program Applicant’s Handbook § 2.0(b)(47) [hereinafter “404 Handbook”] (“‘State-assumed
Waters’ or ‘Assumed Waters’ means those waters as defined in Section 373.4146(1), F.S.”).
Florida Statutes Section 373.4146(1) provides no further clarity, stating simply that “the term
‘state assumed waters’ means waters of the United States that the state assumes permitting
authority over pursuant to s. 404 of the Clean Water Act, Pub. L. No. 92-500, as amended, 33
U.S.C. ss. 1251 et seq., and rules promulgated thereunder, for the purposes of permitting the
discharge of dredge or fill material.” In other words, Florida defines state-assumed waters as
those waters over which the state assumes jurisdiction.

The 404 Handbook does provide an actual definition for the opposite of state-assumed waters,
which are the “Retained Waters.” 404 Handbook § 2.0(b)(41). Although Florida’s definition
does not explain this to the reading public, retained waters are navigable waters over which the
U.S. Army Corps of Engineers would retain exclusive permitting jurisdiction under Section 10 of
the Rivers and Harbors Act of 1899 if state assumption is granted. 33 U.S.C. § 403. Among
other things, Florida explicitly defines “Retained Waters” as including those “identified in the
Retained Waters List (Appendix A). 404 Handbook § 2.0(b)(41). Appendix A, in turn, consists
of a 4-page list of rivers and creeks, mostly by name only), dated August 23, 2019.

The “Retained Waters List” maintained by the U.S. Army Corps of Engineers (“Corps”) for
Florida has been the subject of substantial controversy and change since Florida began its efforts
to assume the 404 program in 2018. On March 19, 2018, the Corps initiated a 30-day public
comment period to end on April 20, 2018, “regarding use of waters in the state of Florida for
navigation … [including] identification of those rivers, streams, lakes, etc. associated with past,
current, or potential future commerce, commercial traffic, or recreational activities” for purposes

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of navigability analyses to determine “which waters are subject to permitting authority under
Section 10” and “determining the waters that would be retained by the Corps if the EPA
approves the State’s application for Section 404 Program assumption.” U.S. Dep’t of the Army,
Public Notice: Determination of Navigable Waters, Mar. 19, 2018 (Exhibit 2). On April 5, 2018,
the Corps posted its solicitation for public comment on this matter on the website for the
Jacksonville District. Press Release, U.S. Army Corps of Eng’rs, Corps Seeks Public Comment
Regarding Water Use for Navigation (Apr. 5, 2018),
https://www.saj.usace.army.mil/Media/News-Releases/Article/1485269/corps-seeks-public-
comment-regarding-water-use-for-navigation (Exhibit 3).

On April 10, 2018, the Corps issued an “Updated Public Notice” summarily terminating the
comment period effective immediately, deeming “the comment period originally set to expire on
April 20, 2018 . . . closed until further notice.” U.S. Dep’t of the Army, Updated Public Notice:
Cessation of Public Comment Period, Apr. 10, 2018 (Exhibit 4). More than two years later,
there has been no “further notice,” and no further opportunity for the public to comment on this
matter of exceptional public importance, even now that Florida has submitted its 404 application
to EPA.

Notably, however, the Corps’ list of Retained Waters that appears to be part of Florida’s
submission to EPA (4 pages long) is drastically reduced as compared to the Retained Waters list
supplement produced by the Corps in October 2017 (17 pages long).

Notwithstanding the Corps’ abrupt and unexplained change of course in soliciting public
comment in 2018, we, and several other members of the public, submitted comments in line with
the original deadline of April 18, 2018. This included comments by Senator Bob Graham, on
behalf of the Florida Conservation Coalition, as well as the Sierra Club, Audubon Florida, The
Conservancy of Southwest Florida, and Florida’s Water and River Keepers.

In our letter, we reminded the Corps about Florida’s extensive water resources and unique
hydrology, and that any navigability study would require a thorough analysis of numerous
waterways to determine which waters may be assumable. This undertaking would require
special attention to the rivers, streams and adjacent wetlands located throughout the State. We
further noted that determining the adjacency of wetlands in particular will require time,
investigation and evidence and will be of critical importance to Florida’s residents and
economies. These determinations must be based on technical information, hydrology and
science. By necessity, adjacency determinations must be made case by case, based on site-
specific characteristics of the area’s hydrology, topography and vegetation, among other factors.
To perform such studies, it will be imperative to solicit information from the public, as there are
entities and individuals with relevant expertise located throughout the State.


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Other commenters echoed similar concerns. The Sierra Club demonstrated that even at the time,
the Corps’ lists of navigable waters was incomplete and inadequate. Letter from Frank
Jackalone, Sierra Club Fla. Chapter, to Jason A. Kirk, U.S. Army Corps of Eng’rs, Apr. 16, 2018
(Exhibit 5). The Corps’ list identified 492 rivers and creeks and 110 lakes. A supplement to the
list totaled 1,767 rivers and creeks and 1,186 lakes. The text prefacing that supplement stated
that “[t]he District makes no claim that these lists are complete or completely accurate.”

The Conservancy of Southwest Florida submitted scores and scores of additional waterways that
it urge the Corps to consider as navigable as well for Section 10 purposes. Letter from Amber
Crooks, Conservancy of Sw. Fla., to the Dep’t of the Army, Apr. 18, 2018 (Exhibit 6). Audubon
Florida urged the Corps to use the October 2017 list as a baseline and to supplement that list with
additional navigable waterways subject to Section 10 Rivers and Harbors Act jurisdiction. Letter
from Julie Wraithmell, Audubon Fla., to Donald W. Kinard, U.S. Army Corps of Eng’rs, Apr.
17, 2018 (Exhibit 7). Florida’s Water and River Keepers emphasized the critical importance of
the Corps properly identifying all Section 10 waters in the State. Letter from Rachel Silverstein,
Miami Waterkeeper, et al. to Colonel Jason A. Kirk, U.S. Army Corps of Eng’rs, Apr. 18, 2018
(Exhibit 8).

Florida’s 404 program submission to EPA, however, contends with none of this. It purports to
limit the “Retained Waters” to an anemic 4-page list that is vague, incomplete and has not been
subject to notice and comment. Indeed, the list is grossly lacking as it reflects a far more
restrictive view of retained waters than the Corps possessed in 2017, and the Corps has failed to
engage the public in performing an adequate navigability study that would accurately reflect the
scope of exclusive federal jurisdiction.
Moreover, Florida has failed to provide the public with GIS or other mapping that would in fact
demonstrate the scope of the jurisdiction it intends to claim if its 404 assumption application is
granted. Without this information, members of the public across the state are unable to evaluate
and comment on the impact this proposal will have on the waters that are of ecological and
economic benefit to them. By failing to adequately and accurately identify those waters over
which the state would assume jurisdiction, Florida’s application is incomplete.

Incomplete Description of Available Funding and Staffing

Third, Florida has failed to provide EPA and the public with complete information regarding
how it would implement, operate and enforce a Section 404 program, particularly given the
substantial impact the COVID-19 pandemic has had on State coffers. See 40 C.F.R. § 233.11(d)
(program description must include “[a] description of the funding and manpower which will be
available for program administration”).

As a preliminary matter, the Florida Department of Environment Protection has stated that its
404 program would also rely on staff and resources from two other state agencies, namely the

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Florida Fish and Wildlife Commission and the State Historic Preservation Office, to ensure
protection of listed species and cultural resources. Memorandum of Understanding between
Florida Fish and Wildlife Conservation Commission, United States Fish and Wildlife Services,
and the Department of Environmental Protection, Aug. 5, 2020; Operating Agreement between
Florida Department of Environmental Protection and the Florida Division of Historical
Resources-State Historic Preservation Officer Regarding the State 404 Program, Aug. 6, 2020.
However, Florida’s description of funding and manpower contains no information regarding the
funding and manpower, if any, available at either of those state agencies to meet the obligations
of an assumed 404 program.

Instead, Florida relies solely on resources purportedly available at the Department of
Environmental Protection. In doing so, however, Florida completely fails to disclose to EPA that
state coffers are under severe strain as a result of the COVID-19 pandemic that since March 2020
has infected more than 750,000 Floridians, and resulted in the deaths of another 16,267
Floridians. Fla. Dep’t of Health, Florida COVID-19 Dashboard,
https://fdoh.maps.arcgis.com/apps/opsdashboard/index.html#/8d0de33f260d444c852a615dc7837
c86 (last visited Oct. 23, 2020) (Exhibit 9).

Tax revenues for the state plummeted in April, May and June 2020 as a result of the pandemic.
In July 2020, Governor DeSantis vetoed $1 billion in spending from the 2020-2021 budget in
response to the crisis. In August 2020, Florida agencies were asked to cut 8.5% of their budgets
to adjust for budget shortfalls resulting from the pandemic. See Christine Sexton, Florida
Agencies Asked to Cut 8.5 Percent to Adjust for COVID-19, Tampa Bay Times, Aug. 12, 2020,
https://www.tampabay.com/florida-politics/buzz/2020/08/12/florida-agencies-asked-to-cut-85-
percent-to-adjust-for-covid-19. (last visited Oct. 23, 2020) (Exhibit 10).

Florida has not acknowledged these important facts, much less addressed how its state agencies
can be expected to do more—namely implement, operate and enforce a Section 404 program—
with so much less. Indeed, as several commenters noted during EPA’s October 21, 2020, public
hearing on the application, the Department already is unable to meet its obligations to operate
and enforce programs already under its purview. This fact is amply demonstrated in the
widespread impaired waters throughout the State, as well as the recurring toxic algae crisis that
has made national headlines and the Department’s grossly inadequate record of enforcing its
existing programs.

The fact is that resources at the Department have been gutted in recent years. Editorial: The Rick
Scott Record: An Environmental Disaster, Tampa Bay Times, Sept. 5, 2014,
https://www.tampabay.com/opinion/editorials/editorial-the-rick-scott-record-an-environmental-
disaster/2196359/ (observing that the Rick Scott administration had reduced water management
budgets, rushed through permitting, weakened enforcement, caused widespread layoffs,

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provoked a brain drain of experts in the field, and replaced experts with political appointees
focused on advancing business interests rather than environmental stewardship). (last visited Oct.
23, 2020) (Exhibit 11).

The unprecedented budget strains the state is facing will make it impossible to recover any
semblance of staffing and funding that would make assumption of a Section 404 program
feasible any time soon.

The Department’s claim that it will be able to operate a Section 404 program without any
additional funding from the State—a fundamentally flawed premise that the legislature relied on
when granting the authority for the state agency to pursue assumption—is untenable. It either
reflects the Department’s erroneous belief that Section 404 is merely “duplicative” of state
regulations (it is not), demonstrates the Department’s intention to treat its pre-existing
regulations and Section 404 as one and the same (it may not), or suggests that the Department
simply will not adequately implement, operate or enforce a Section 404 program (it cannot).

Conclusion

As demonstrated above, Florida has failed to provide EPA with a complete program submission
in at least three, critical respects. EPA should therefore suspend the public comment period and
review of Florida’s application until the State cures these deficiencies and submits a complete
program proposal to the agency. See 40 C.F.R. § 233.15(a) (providing that statutory review
period shall not begin if EPA finds that a State’s submission is incomplete).

In the alternative, we request that EPA extend the review period pursuant to 40 C.F.R.
§ 233.15(g) and the public comment period until all materials are provided and the public is
given adequate notice and opportunity to comment in accordance with federal law. See also
Clean Water Section 404 Program Definition and Permit Exemptions; Section 404 State Program
Regulations, 53 Fed. Reg. 20,764, 20,767 (June 6, 1988).

                                             Sincerely,



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                         Exhibit C
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       November 2, 2020

       Mr. Kelly Laycock
       Oceans, Wetlands and Streams Protection Branch
       USEPA Region 4
       61 Forsyth St., SW
       Atlanta, GA 30303

       Via: 404Assumption-FL@epa.gov & regulations.gov

               Re:     Comments in Opposition to State of Florida’s Application to Assume
                       Administration of a Clean Water Act Program (Docket # EPA-HQ-
                       OW-2018-0640-0001; EPA-HQ-OW-2018-0640)

       Dear Mr. Laycock:

       We write on behalf of several local, state and national conservation organizations devoted to
       protecting Florida’s lands, water and wildlife to urge the U.S. Environmental Protection Agency
       (“EPA”) to deny Florida’s request for authorization to assume jurisdiction over permitting under
       Section 404(a) of the Clean Water Act of 1972 (“CWA”), 33 U.S.C. § 1344, in waters of the
       United States. 1 See State of Florida’s Program Submission to Assume the Clean Water Act
       Section 404 Permitting Program (Aug. 20, 2020) [hereinafter “Assumption Application”];
       Florida’s Request to Assume Administration of a Clean Water Act Section 404 Program, 85 Fed.
       Reg. 57,853 (Sept. 16, 2020). The environmental community, which is comprised of countless
       Florida families, has steadfastly opposed Florida’s effort to assume a Section 404 program
       because this would jeopardize vital natural resources at a time of unprecedented population
       growth combined with striking environmental degradation. These concerns have been echoed by
       the public, which also has consistently voiced opposition to Florida’s proposal.




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         These comments are filed on behalf of Center for Biological Diversity, Conservancy of Southwest
       Florida, Florida Wildlife Federation, Miami Waterkeeper and St. Johns’ Riverkeeper. The comments
       are also endorsed by Environmental Confederation of Southwest Florida, Friends of the Everglades,
       the National Parks Conservation Association, Natural Resources Defense Council and Sierra Club.
                                                  FLORIDA OFFICES
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Introduction

Under the Clean Water Act, the purpose of Section 404 includes restoring and maintaining “the
chemical, physical, and biological integrity of waters of the United States through the control of
discharges of dredge and fill material,” recognizing that the degradation and destruction of
wetlands is “among the most severe environmental impacts.” See 40 C.F.R. § 230.1(a). The
Clean Water Act, and the rules promulgated thereunder, create an important, and deservedly
complex regulatory framework aimed at achieving these goals.

Florida’s proposed program claims no such lofty goals. To the contrary, the State has repeatedly
articulated its objectives as streamlining the permit process in order to approve permits more
quickly, and at less cost, to developers. To achieve this goal, Florida has proposed a program
full of gaps and shortcuts that are not consistent with federal law.

Of particular concern, Florida proposes to take on the consequential responsibility of a Section
404 program without devoting an additional cent of resources to the undertaking. The proposal
comes at a time when the State has consistently failed to meet its existing obligations regarding
environmental protection, and when it faces severe budget shortfalls as a result of dramatic
revenue losses related to the COVID-19 pandemic.

Florida’s application must be denied for at least three reasons: (1) the submission is not
complete, (2) the proposed program is not as stringent as federal law, and (3) Florida is not
equipped to administer and enforce Section 404. Approving Florida’s application would
jeopardize the State’s vital wetlands and the species and communities that rely on them.

For ease of reference and review, these comments are organized into five main sections. Part I
addresses Florida’s failure to protect the environment, and its disastrous environmental record
even as the State proceeded to pursue assumption. Part II describes Florida’s move to enact
legislation authorizing assumption, the extensive public opposition to that legislation, and the
authorizing legislation’s language.

Part III addresses the complex and highly contested matter of identifying assumable versus
retained waters in Florida, including the U.S. Army Corps of Engineers’ (“Corps”) 2018 public
notice and comment period that was begun as a result of Florida’s intention to pursue
assumption, but then abruptly terminated without explanation. Part IV describes the Florida
Department of Environmental Protection’s (“FDEP”) rule-making process for purposes of
developing an assumption program, including a highly flawed rule development phase, the
publication of incomplete proposed rules, and the limitation of public comment to a time in
Florida when the public was most distracted by the emerging coronavirus crisis, and its impact
on health, jobs, child care, food security and safety.

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In Part V, we outline the gross deficiencies in Florida’s application to the EPA, beginning in
Section A with the incompleteness of the application. In Part V. B. we provide a comprehensive
review of deficiencies in the application on the merits.

Part V. B.1. includes a detailed review of Florida’s failures to demonstrate adequate authority to
carry out a Section 404 program, as well as many areas in which the state program is not as
stringent as federal law. The topics addressed include the failure to adopt and comply with all
404(b)(1) Guidelines; unlawful rules related to general permits, emergency permits, permit
conditions and permit application processes; the failure to meet coordination requirements,
provide for adequate public notice, and ensure adequate process for decisions on permit
applications; the failure to meet requirements for compliance evaluation programs; inadequate
enforcement authority, including less stringent state criminal liability and inadequate
opportunities for public participation in enforcement; and the failure to address the effect of state
takings law on implementation of the program.

Part V.B.2. addresses how Florida’s scheme fails to ensure protection of listed species under the
Endangered Species Act (“ESA”). Part V.B.3. discusses the insufficiency of resources available
to FDEP to adequately implement a Section 404 program. Part V.B.4. outlines the on-going
failures in FDEP’s enforcement record, demonstrating FDEP’s incapacity to adequately enforce
existing programs, much less adopt a new one. Part V.B.5. addresses differences between state
and federal access to the courts for purposes of challenging 404 permits and pursuing citizen
suits.

Part V.B.6. describes the on-going failure to adequately define assumable versus retained waters
in Florida, and provides additional information that must be considered to ensure that the full
breadth of retained waters is identified. Part V.B.7. demonstrates how Florida’s waterways, and
the public, cannot afford to lose existing federal safeguards under federal law.

Taken separately, and collectively, the gross deficiencies in Florida’s submission require that the
application be denied.

I. Florida’s Failure to Protect the Environment

Florida enjoys some of the most vast, and valuable, wetlands in the United States. These
wetlands provide essential services to support clean water, resilience, and biodiversity. They also
provide economic value because of the critical interstate industries, such as tourism, that rely
heavily on visitors’ attraction to Florida’s natural environment.

Yet in recent years, FDEP has been gutted, resulting in devastating harm to Florida’s wetlands
and water quality. FDEP has regularly failed to meet its obligations to adequately enforce

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environmental protections already under its purview. It cannot possibly establish that it is
capable of doing more, with less, today.

   A. Florida’s Exceptional Waterways

Florida’s water resources are stunning and uniquely complex. The State’s distinctive peninsular
shape, flat topography and karst terrain create prolific coastlines, rivers, springs and lakes. With
almost 1,200 miles of coastline, more than 7,500 lakes (greater than 10 acres), 33 first-magnitude
springs, and approximately 27,561 linear miles of rivers and streams, water is one of Florida’s
most prominent features. See Elizabeth Purdum, Florida Waters: A Water Resources Manual
from Florida’s Water Management District 49 (2002) (Exhibit 1).

Countless valuable wetlands are widely distributed throughout the State, including the renowned
Everglades and Big Cypress Swamp. See, e.g., Albert Hine, Geology of Florida, 17–18 (2009)
(Exhibit 2). With approximately 11 million acres of wetlands, Florida has more wetlands than
any of the other conterminous states. U.S. Geologic Surv., National Water Summary on Wetland
Resources: Water Supply Paper 2425 (1996) (Exhibit 3). These often shallow wetlands are vast
and diverse and include rare habitats such as mangrove swamps and hydric hammocks. See
Purdum, supra, at 49. In addition to these expansive surface waters, Florida has more
groundwater than any other state. See id.

Florida's waters help sustain some of the world’s most diverse species. Florida lies within the
North American Coastal Plan, the World’s 36th Biodiversity Hotspot, and is considered the
richest area biologically for endemic species. Zenaida Kotala, Florida Declared a Global
Biodiversity Hotspot, UCF Today, Feb. 26, 2016 (Exhibit 4). Freshwater resources in Florida
provide nesting, foraging, wintering and migrating habitats for numerous species of fish and
wildlife. Fla. Fish & Wildlife Conservation Comm’n, Florida's Freshwater Priority Resources: A
Guide for Future Management 1 (2018) (Exhibit 5).

These resources are relied on by high numbers of threatened and endangered plants (26% of
them rely on wetlands) and animals (45% of them rely on wetlands) and, as such, are designated
as critical habitat under the Endangered Species Act. Id. Due to having one of the highest rates
of habitat loss, Florida’s water resources and the species that depend on them are some of the
most threatened. See Denise Rocus & Frank Mazzotti, Threats to Florida’s Biodiversity,
University of Florida/IFAS Extension (1996) (Exhibit 6); Kotala, supra.

In addition, Florida’s waters are critical to several multi-billion dollar industries, including
agriculture and tourism, affecting interstate commerce. See, e.g., Tourism Fast Facts, Visit
Florida (last visited Nov. 1, 2020) (Exhibit 7); Florida Agriculture Overview and Statistics, Fla.
Dep’t of Agric. & Consumer Servs. (last visited Nov. 1, 2020) (Exhibit 8).

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   B. Florida’s Disastrous Environmental Record

In recent years, FDEP has grossly failed to meet its existing obligations. A 2014 Editorial in
Florida’s leading paper, the Tampa Bay Times, decried FDEP’s recent record as “an
environmental disaster.” Editorial, The Rick Scott Record: An Environmental Disaster, Tampa
Bay Times, Sept. 5, 2014 (Exhibit 9). FDEP’s failures stem from reduced water management
budgets, rushed permitting, weakened enforcement, widespread layoffs provoking a brain drain
of experts in the field, and the replacement of experts with political appointees focused on
advancing business interests rather than environmental stewardship.

A 2016 analysis released by Public Employees for Environmental Responsibility (“PEER”)
found that FDEP had opened 81% fewer enforcement cases, collected the lowest number of fines
in 28 years, and assessed no penalties in a third of the cases. Press Release, PEER, Scott’s
Undeclared Polluters’ Holiday Stains Florida (Aug. 17, 2016) (Exhibit 10); PEER, Report on
Enforcement Efforts by the Florida Department of Environmental Protection Calendar Year 2015
(2016) (Exhibit 11). See also Jimmy Orth, State Failing to Protect Our Waterways, St. Johns
Riverkeeper, Feb. 1, 2013 (compilation of newspaper articles describing the State’s
environmental record) (Exhibit 12).

II. Florida’s Assumption Legislation

It was against this backdrop of demonstrably inadequate environmental protection that, in 2017,
FDEP sought authorization from the state legislature to pursue assumption of the Section 404
program. See State Assumption of Federal Section 404 Dredge and Fill Permitting Authority,
S.B. 1402, 2017 Leg. (Fla. 2018) (Exhibit 13). A similar effort had been considered, but
rejected, in 2005, after FDEP concluded that the complexity of Florida’s extensive waterways
weighed against assumption, and that for assumption in Florida to be feasible, several changes to
state and federal law would be required. See Fla. Dep’t of Env’t Prot., Consolidation of State and
Federal Wetland Permitting Programs Implementation of House Bill 759 (Chapter 2005-273,
Laws of Florida) 2–5 (Sept. 30, 2005) (Exhibit 14). At that time, FDEP also recognized that
assumption would require “substantial staff resources” in order for the State to be able to take on
the additional responsibilities and workload required under federal law. Id. at 3–4, 6–7.

A January 19, 2018, bill analysis recognized that FDEP would have to undertake a number of
activities that might generate costs to the agency, including those related to rulemaking,
modifications to its existing applications, databases and permit tracking systems, program
administration, and permit processing. FDEP assured legislators, however, that it did “not
anticipate an increase in permitting administration expenditures” with assumption, and that it
“believe[d] that, upon assumption, the processing of state 404 permits, as well as enforcement
activities for state 404 permits, can be absorbed without an increase in staffing or administrative

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costs.” Bill Analysis and Fiscal Impact Statement: S.B. 1402, 2017 Leg., at 16 (Fla. Feb. 13,
2018) (Exhibit 15).

FDEP therefore sought no resources from the legislature to develop, implement, operate and
enforce Section 404. FDEP advised legislators it would not even charge permittees a fee for
Section 404 permits. Id.

   A. Floridians Object to Legislation Authorizing Pursuit of Assumption

On January 22, 2018, Waterkeepers from across Florida urged legislators to reject the proposed
legislation, citing concerns about FDEP taking on an additional program without additional
resources. In particular, the Waterkeepers pointed out how FDEP “already woefully under-
regulates” stormwater permits delegated to the State by the federal government under the Clean
Water Act. Letter from Rachel Silverstein, Miami Waterkeeper, et al., to Senate Environmental
Preservation and Conservation Committee Members, Jan. 22, 2018 (Exhibit 16).

On January 29, 2018, the State’s leading paper urged against allowing Florida to undertake
assumption in light of FDEP’s inadequate resources and performance. Editorial, Don’t Let
Florida Take Over Wetlands Permitting, Tampa Bay Times, Feb. 4, 2018 (Exhibit 17) (raising
concerns about the reductions in FDEP’s workforce and funding for environmental programs;
“There is no reason to have confidence that the state agency is prepared to take on this obligation
... The wetlands are too important to Florida’s economy and to public safety in a coastal state to
put the interests of developers ahead of the general good.”).

In February 2018, the Everglades Coalition issued a resolution opposing the legislation.
Everglades Coal., Resolution Opposing SB1402 and HB7043: State Assumption of Federal State
404 Dredge and Fill Permitting Authority (Feb. 2018) (Exhibit 18). On behalf of its more than
60 member organizations, the Everglades Coalition identified a number of concerns regarding
state assumption and the risk to Florida’s remaining wetlands, which are critical to cleansing
water, recharging groundwater, providing fish and wildlife habitat and storm resiliency. The
Coalition concluded that “in the face of increased growth and development, the protection and
restoration of the Greater Everglades—an ecosystem largely comprised of wetland habitats—is
better accomplished by maintaining the existing oversight from federal agencies.” Id.

On March 9, 2018, former FDEP Secretary Victoria Tschinkel urged the Governor to veto the
bill, which she observed had been rushed on behalf of those who seek “fast and simple
permitting” rather than in the best interests of the State. Victoria Tschinkel, Florida’s Treasured
Wetlands on the Eve of Destruction—We Cannot Allow It, Orlando Sentinel, Mar. 9, 2018
(Exhibit 19). Former Secretary Tschinkel noted, among other things, that “Florida has already


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lost half its wetlands, with great negative effects on water quality, fish nurseries, wildlife habitat
and flood control.” Id.

On March 23, 2018, Governor Scott signed the bill into law. The Governor’s signing statement
approving the legislation stated that it granted FDEP “the authority to explore whether the state
should issue 404 permits.” Letter from Gov. Rick Scott to Sec. Kenneth W. Detzner, Mar. 23,
2018 (Exhibit 20) (emphasis added). Nothing in the legislation required FDEP to proceed with
assumption.

   B. Florida’s Statutory Authorization to Pursue Assumption

Florida Statutes § 373.4146 codified the legislation authorizing FDEP to pursue Section 404
assumption. Id. Among other things, the statute authorizes FDEP to “adopt any federal
requirements, criteria, or regulations necessary to obtain assumption,” including “the guidelines
specified in 40 C.F.R. part 230 and the public interest review criteria in 33 C.F.R. s. 320.4(a).”
Fla. Stat. § 373.4146(2).

The statute provides that “[p]rovisions of state law which conflict with federal requirements
identified in subsection (2) do not apply to state administered section 404 permits.” Id.
§ 373.4146(3). The statute does not specify, however, what those conflicts are, nor does it enact
any changes to state law to resolve state and federal law conflicts.

As set forth in detail below, Florida law conflicts with federal law in several critical respects.
Moreover, Florida’s proposal does not create a Section 404 program that is as stringent as that
which exists under federal law. The program submission must therefore be denied.

III. Florida’s Assumable Waters, Federal Retained Waters

Florida Statutes § 373.4146 failed to grapple with one of the most critical questions regarding
assumption: the question of which waters will be assumed. Instead, the provision tautologically
defines “state assumed waters” as those “waters of the United States that the state assumes
permitting authority over pursuant to [Section 404].” Id. § 373.4146(1).

The question of which waters the State intends to assume jurisdiction over, however, is central to
an evaluation of the program. See 40 C.F.R. § 233.11(h) (state submission must include a
“[d]escription of the waters of the United States over which the State assumes jurisdiction [and
a] description of the waters over which the federal government retains jurisdiction.”).

In light of the centrality of this question for purposes of Florida’s interest in assumption, on
March 19, 2018, the Corps initiated a 30-day public comment period to end on April 20, 2018,

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“regarding use of waters in the state of Florida for navigation … [including] identification of
those rivers, streams, lakes, etc. associated with past, current, or potential future commerce,
commercial traffic, or recreational activities” for purposes of navigability analyses to determine
“which waters are subject to permitting authority under Section 10” and “determining the waters
that would be retained by the Corps if the EPA approves the State’s application for Section 404
Program assumption.” U.S. Dep’t of the Army, Public Notice: Determination of Navigable
Waters, Mar. 19, 2018 (Exhibit 21). 2

As a result of the Corps’ notice, a number of stakeholders across Florida prepared to submit
comments on the \question of assumable versus retained waters. As evidenced by the FDEP’s
2005 Report describing the complexity of Florida’s waterways, properly identifying the scope of
retained waters is essential both to those who seek maximum protection for those vital resources,
and for the regulated community that seeks clarity when it comes to permit requirements.

On April 10, 2018, however, the Corps issued an “Updated Public Notice” summarily
terminating the comment period effective immediately, deeming “the comment period originally
set to expire on April 20, 2018 ... closed until further notice.” U.S. Dep’t of the Army, Updated
Public Notice: Cessation of Public Comment Period, Apr. 10, 2018 (Exhibit 23). The Corps
provided no explanation for its sudden reversal.

Notwithstanding the Corps’ abrupt and unexplained change of course, many stakeholders
proceeded to submit comments in accordance with the original deadline of April 18, 2018. This
included comments by Senator Bob Graham on behalf of the Florida Conservation Coalition,
which is comprised of more than 80 organizations, Letter from Bob Graham, Fla. Conservation
Coal., to U.S. Dep’t of the Army, Apr. 18, 2018 (Exhibit 24), as well as comments by the Sierra
Club, Audubon Florida, Conservancy of Southwest Florida, and Florida’s Water and River
Keepers. Letter from Amber Crooks, Conservancy of Sw. Fla., to U.S. Dep’t of the Army, Apr.
18, 2018 (Exhibit 25); Letter from Rachel Silverstein, Miami Waterkeeper, et al., to Jason A.
Kirk, U.S. Army Corps of Eng’rs, Apr. 17, 2018 (Exhibit 26); Letter from Julie Wraithmell,
Audubon Fla., to Donald W. Kinard, U.S. Army Corps of Eng’rs (Exhibit 27); Letter from Frank
Jackalone, Sierra Club Fla. Chapter, to Jason A. Kirk, U.S. Army Corps of Eng’rs, Apr. 16, 2018
(Exhibit 28).

In a letter we submitted, we reminded the Corps about Florida’s extensive water resources and
unique hydrology, and that any navigability study would require a thorough analysis of
numerous waterways to determine which waters may be assumable. This undertaking would


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  On April 5, 2018, the Corps posted its solicitation for public comment on this matter on the website
for the Jacksonville District. Press Release, U.S. Army Corps of Eng’rs, Corps Seeks Public
Comment Regarding Water Use for Navigation (Apr. 5, 2018) (Exhibit 22).
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require special attention to the rivers, streams and adjacent wetlands located throughout the
State. We further noted that determining the adjacency of wetlands in particular will require
time, investigation and evidence and will be of critical importance to Florida’s residents and
economies. These determinations would have to be based on technical information, hydrology
and science. By necessity, adjacency determinations would have to be made case by case, based
on site-specific characteristics of the area’s hydrology, topography and vegetation, among other
factors. To perform such studies, it would be imperative to solicit information from the public,
as there are entities and individuals with relevant expertise located throughout the State. Letter
from Tania Galloni, Earthjustice, to Jason A. Kirk, U.S. Army Corps of Eng’rs, Apr. 18, 2018
(Exhibit 29).

Other commenters echoed similar concerns. The Sierra Club demonstrated that even at the time,
the Corps’ lists of navigable waters was incomplete and inadequate. Letter from Frank
Jackalone, Sierra Club Fla. Chapter, to Jason A. Kirk, U.S. Army Corps of Eng’rs, supra. The
Corps’ list identified 492 rivers and creeks and 110 lakes. A supplement to the list totaled 1,767
rivers and creeks and 1,186 lakes. The text prefacing that supplement included the disclaimer
that “[t]he District makes no claim that these lists are complete or completely accurate.” U.S.
Army Corps of Eng’rs, Supplement to the Jacksonville District Navigable Waters Lists (Oct. 5,
2017) (Exhibit 30).

The Conservancy of Southwest Florida submitted scores and scores of additional waterways that
it urged the Corps to consider as navigable as well for Section 10 purposes. Letter from Amber
Crooks, Conservancy of Sw. Fla., to the U.S. Dep’t of the Army, supra. Audubon Florida urged
the Corps to use the October 2017 list as a baseline and to supplement that list with additional
navigable waterways subject to Section 10 Rivers and Harbors Act jurisdiction. Letter from Julie
Wraithmell, Audubon Fla., to Donald W. Kinard, U.S. Army Corps of Eng’rs, supra. Florida’s
Water and River Keepers emphasized the critical importance of the Corps properly identifying
all Section 10 waters in the State. Letter from Rachel Silverstein, Miami Waterkeeper, et al. to
Colonel Jason A. Kirk, U.S. Army Corps of Eng’rs, supra.

The Corps provided no response to any of these public comments. And, more than two years
later, there has been no “further notice” and no further solicitation for comment on the Corps’
determinations regarding Florida’s retained waters.

IV. Florida’s Section 404 Rule-Making

Meanwhile, Florida proceeded to initiate rule-making to develop its Section 404 program.
Florida’s rule-making process was marred by a number of deficiencies throughout. Those
problems have resulted in the State’s grossly inadequate program submission now under review.


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   A. Florida’s Rule Development

On May 11, 2018, FDEP initiated rule development for the purposes of developing its Section
404 program. FDEP described the purpose and effect of its undertaking as:

       Section 404 of the Clean Water Act (404) provides states the option of assuming
       administration of the federal dredge and fill permit program in certain waters. By
       obtaining 404 assumption, Florida will be able to provide a streamlined permitting
       procedure where an applicant will come to the state to obtain both the
       Environmental Resource Permitting and 404 authorizations. This will avoid
       duplication, provide greater certainty to the regulated community, conserve
       resources, and will afford the state greater control over its natural resources while
       complying with federal law.

44 Fla. Admin. Reg. 2321 (May 11, 2018). Notably, FDEP’s stated objectives did not
include enhancing protection of Florida’s waterways, ecosystems or communities. To the
contrary, FDEP’s objectives were identified as streamlining permitting, avoiding
duplication, providing greater certainty to the regulated community, conserving resources
and exerting greater “control over [the State’s] natural resources.” Id.

FDEP held rule development workshops in Tallahassee on May 30, 2018, in Orlando on May 31,
2018, and in Ft. Myers on June 1, 2018. Although Florida law requires that agencies holding
public workshops make available staff who can respond to questions and comments on a rule in
development, Fla. Stat. § 120.54(2)(c), members of the public who attended these workshops
raised a number of concerns that were left unanswered. Letter from Tania Galloni, Earthjustice,
to Noah Valenstein, Fla. Dep’t of Env’t Prot., Jul. 9, 2018 (Exhibit 31).

These included questions about how listed species would be protected, which waters would
remain under federal jurisdiction, and how FDEP would assume the 404 program without any
funding when the state agency is already under-resourced. Members of the public also expressed
concerns about FDEP’s reliance on memoranda of agreement that had not been completed or
made available to the public for comment. FDEP responded that the MOAs would be made
available for public comment, but they never were.

On October 1, 2018, FDEP issued a Statement of Estimated Regulatory Costs (“SERC”). Fla.
Dep’t Env’t Prot., Statement of Estimated Regulatory Cost, 62-331 (Oct. 1, 2018) (Exhibit 32)
[hereinafter “404 Assumption SERC”]. In Florida, a SERC is required whenever a proposed rule
is “likely to directly or indirectly increase regulatory costs in excess of $200,000 in the aggregate
in this state within 1 year after the implementation of the rule.” Fla. Stat. § 120.54(3)(b)(1)(b).
In estimating regulatory costs, a SERC “shall include,” among other things, “[a]n economic
analysis showing whether the rule directly or indirectly … [i]s likely to increase regulatory costs,

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including any transactional costs, 3 in excess of $1 million in the aggregate within 5 years after
the implementation of the rule.” Id. § 120.541(2)(a)(3).

In the SERC for its Section 404 program, FDEP estimated that there are an average of 723
permits currently issued by the Corps under Section 404, and that this would total about 3,615
permits over 5 years. FDEP, however, provided no estimate of the resources it would take for
the State to review, issue, monitor, and enforce those permits.

FDEP omitted any reference to additional, related tasks that would require resources, such as
determining whether the State has jurisdiction over a proposed project under a state-assumed
program, providing guidance to applicants on the new requirements and processes, making
exemption determinations, reviewing applications that are ultimately not granted, conducting
investigations, meeting monitoring and reporting requirements, reviewing and issuing permit
modifications and revocation, and public notice and public hearing requirements.

Under Florida law, a SERC must include “[a] good faith estimate of the number of individuals
and entities likely to be required to comply with the rule, together with a general description of
the types of individuals likely to be affected by the rule.” Id. § 120.541(2)(b). While FDEP’s
SERC acknowledged the more than 3,600 additional permits the State would now have
jurisdiction over, that number answers only part of the question. See 404 Assumption SERC at
2–3. The number of individuals and entities likely to be “required to comply with the rule”
includes not only those who are granted permits, but anyone who may seek to discharge dredged
or fill material into waters of the United States, and those who make such discharges without
authorization.

Similarly, FDEP stated that the only persons likely to be affected are those who are “currently
subject to a 404 permit” issued by the Corps. This response demonstrates that FDEP takes an
unduly narrow view of operating a 404 program, and as a consequence, has taken an
unreasonably limited view of the number of individuals and entities likely to be affected. FDEP
wholly failed to provide a general description of those who are likely to be affected, other than
existing permittees.

A SERC must also include “[a] good faith estimate of the cost to the agency, and to any other
state and local government entities, of implementing and enforcing the proposed rule, and any
anticipated effect on state or local revenues.” Fla. Stat. § 120.541(2)(c). FDEP responded to this

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  “Transactional costs” are defined as “direct costs that are readily ascertainable based upon standard
business practices, and include filing fees, the cost of obtaining a license, the cost of equipment
required to be installed or used or procedures required to be employed in complying with the rule,
additional operating costs incurred, the cost of monitoring and reporting, and any other costs
necessary to comply with the rule.” Fla. Stat. § 120.541(2)(d).
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question by claiming “none.” FDEP’s response failed to account for costs to other state agencies
it intends to rely on to operate a 404 program, including Florida’s Fish and Wildlife Commission
and the State Historic Preservation Office. 404 Assumption SERC at 3, E.1, E.3; Assumption
Application B, app. c–-d, j.

FDEP stated that it “intends to implement the proposed rule with existing resources” and
“intends to enforce the proposed rule with existing resources.” 404 Assumption SERC at 3, E.1,
E.3. FDEP’s response provides no good faith estimate of the cost and therefore no reasonable
basis to support the conclusion that this cost can be borne by “existing resources.” FDEP’s
response also begs the question of why the agency has existing resources that are not being used
to serve its existing duties under state law, and whether appropriations for existing programs may
lawfully be used for other purposes.

In response to the requirement to provide “[a] good faith estimate of the transactional costs likely
to be incurred by individuals and entities, including local government entities,” Fla. Stat. §
120.541(2)(d), FDEP again stated “none,” asserting that “[t]his proposed rule will only affect the
department.” 404 Assumption SERC at 3-4, E.2, E.4. Here, FDEP again failed to acknowledge
and account for the other state agencies that would incur costs related to a 404 program.

The only costs that FDEP estimated were those related to “multiple 5-year permit applications
for large projects that will take more than 5 years to complete,” which FDEP estimated would
cost $600,000 per year. But even the bases for this calculation remain unclear. FDEP did not
specify who is expected to bear these costs, and for what exactly. FDEP did not include in this
estimate the cost of the initial permit on the basis that it would be the same as a permit from the
Corps, see 404 Assumption SERC at 3, at n. 1, but did not explain whether or why the
subsequent permit cost would be any different. FDEP also averred that these estimated costs
would be offset by savings, but again did not specify what those savings would be and to whose
benefit they would inure.

FDEP failed to identify the costs it would incur to process each individual 404 permit, or to
manage all the general permits over which it seeks to assume jurisdiction, much less to perform
all of the additional duties that operating a 404 Program would require. Yet even if one were to
use FDEP’s estimate of $5,000 for a long-term project permit renewal as a baseline, that cost
alone for the more than 700 permit actions FDEP expects to take would cost $3,500,000 per
year.

FDEP summarily added that “[t]here will be an overall cost savings to the regulated public,” but
did not in any way quantify that statement, provide an estimate of the costs to FDEP and thus to
Florida taxpayers, or account for the loss of environmental review necessary to protect Florida’s
wetlands and the communities and industries that rely on Florida’s natural environment.

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Indeed, the benefits of the proposed program were touted as including costs savings related to
avoiding review under the National Environmental Policy Act (“NEPA”), the reduction in time
to process permits, and “allow[ing] the permittee to access the value of [large] projects sooner
than if the permit was issued under the federal 404 program.” 404 Assumption SERC at F., G.

   B. Florida’s Proposed Rules, Coronavirus Comment Period

On February 19, 2020, FDEP published the totality of its proposed rules, including proposed
revisions to Chapter 62-330, the proposed promulgation of Chapter 62-331, the Draft 404
Handbook, and the same SERC. Fla. Dep’t of Env’t Prot., Notice of Proposed Rule, 62-330
(Feb. 19, 2020) (Exhibit 33). In response to the notice, many affected persons requested that
FDEP hold a public hearing, in accordance with Florida law, see Fla. Stat. § 120.54(3)(c)1,
which FDEP ultimately set for April 2, 2020. See, e.g., Letter and Resolution from Everglades
Coalition to Heather Mason, Fla. Dep’t of Env’t Prot., Mar. 9, 2020 (Exhibit 34); Fla. Dep’t of
Env’t Prot., Notice of Hearing, 62-330 (Mar. 11, 2020) (Exhibit 35).

On March 1, 2020, however, Governor Ron DeSantis issued an executive order directing the
declaration of a public health emergency in the State arising from the novel coronavirus,
COVID-19. See Exec. Order No. 20-51 (Fla. 2020) (Exhibit 36). On March 9, 2020, the
Governor declared a state of emergency, finding that COVID-19 posed a risk to the entire state
of Florida. See Exec. Order No. 20-52 (Fla. 2020) (Exhibit 37).

On March 17, 2020, Governor DeSantis announced that all schools would remain closed until
April 15, 2020. See Orlando Sentinel Staff, Florida Coronavirus Update for Tuesday: Three Field
Hospitals Slated to Open; K-12 Schools to Close through April 15; State Announces 7th Death,
216 Positive Tests, Orlando Sentinel, Mar. 17, 2020 (Exhibit 38). Governor DeSantis also
imposed drastic restrictions on certain service industries, including restaurants and bars, to
reduce the spread of the virus. See Exec. Order No. 20-68 (Fla. 2020) (Exhibit 39).

On March 19, 2020, we requested that FDEP postpone the hearing until no earlier than May 15,
2020, in light of the emergency conditions facing Floridians and the health, economic and child
care hardships Florida families and small businesses suddenly found themselves facing. Letter
from Tania Galloni, Earthjustice, to Heather Mason, Fla. Dep’t of Env’t Prot., Mar. 19, 2020
(Exhibit 40).

On March 23, 2020, FDEP issued a superseding notice of hearing, announcing that the public
hearing related to this rulemaking would take place via three separate video conferences on April
2, 6, and 10th and that the public comment period for the rulemaking was extended until


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midnight on April 17, 2020. Fla. Dep’t of Env’t Prot., Notice of Hearing, 62-330 (as revised
Mar. 23, 2020) (Exhibit 41).

On March 30, 2020, the Florida Conservation Coalition (“FCC”) urged FDEP to suspend its rule-
making in light of the public health emergency, and to resume at a time when the public could
meaningfully participate. Letter from Bob Graham & Lee Constantine, Fla. Conservation Coal.,
to Noah Valenstein, Fla. Dep’t of Env’t Prot., Mar. 30, 2020 (Exhibit 42). FCC observed that
proceeding with rulemaking at this exceptionally difficult time for a struggling public was not
“an essential government function or statutorily mandated” and “not necessary to protect the
public or the environment.” On March 31, 2020, the Everglades Coalition raised similar
concerns. Letter from Mark Perry & Marisa Carrozzo, Everglades Coal., to Heather Mason, Fla.
Dep’t of Env’t Prot., Mar. 31, 2020 (Exhibit 43). On April 1, 2020, Governor DeSantis extended
the stay at home order until April 30, 2020. Exec. Order 20-91 (Fla. 2020) (Exhibit 44).

On April 17, 2020, FDEP again notified interested parties that “due to these extenuating
circumstances” related to COVID-19, FDEP would hold two additional telephonic hearings on
April 24 and April 27, 2020. FDEP also extended the public comment period for this rulemaking
to midnight on April 30, 2020.

On April 20, 2020, as COVID-19 cases in Florida continued to grow exponentially, and Florida
families experienced growing unemployment with little relief in sight, Florida’s Waterkeepers
urged FDEP to suspend rulemaking so the public could meaningfully participate. Letter from
Lisa Rinaman, Waterkeepers Fla., to Heather Mason, Fla. Dep’t of Env’t Prot., Apr. 20, 2020
(Exhibit 45). The Waterkeepers again highlighted that proceeding with 404 program rulemaking
was far from an essential activity.

FDEP did not heed any of these calls, and ended the opportunity for public comment on April
30, 2020. This was a time of great uncertainty, especially in parts of the State then hit the
hardest with cases of COVID-19, and was well before American society had begun to come to
terms with extensive community spread of the coronavirus, and settle into some form of a “new
normal.”

FDEP’s proposal remained fundamentally flawed in several respects, including: (1) FDEP’s
decision to remove references to memoranda of agreement (“MOA”) with federal agencies from
the proposed rules, and not to disclose the content of those MOAs so as to allow for public
comment before the State submits an application to the EPA, despite having told the public that
it would; (2) a lack of clarity around the definition of waters of the United States, retained waters
and assumed waters; (3) the failure to properly define administrative boundaries; (4) the risk to
Tribes of loss of consultation rights and protections for impacts to adjacent lands; (5) differences
between state and federal wetlands delineation methodologies, and the impacts of those

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differences; (6) the failure to adopt all Section 404(b)(1) Guidelines; (7) questions around the
role of water management districts and FDEP’s intentions regarding further delegation; (8) the
rationale for proposing the less protective 300 foot buffer, and its lack of basis in science; (9)
inadequate consideration of secondary and cumulative impacts; (10) the failure to assess the
impacts of proposed general permits and provide those analyses for public input; and (11) the
failure to articulate how endangered species would be protected. Letter from Tania Galloni,
Earthjustice, to Heather Mason, Fla. Dep’t of Env’t Prot., Apr. 30, 2020 (Exhibit 46).

In response to some of the concerns raised, FDEP acknowledged that key issues were
not resolved (including those relating to protection of listed species, which the public was
told was part of an MOA process “still in its infancy”), claimed that certain critical topics such as
staffing and resources were “outside the scope” of the public comment opportunity, and advised
that the public should direct their concerns to the EPA rather than to their state agency crafting
the plan that would ultimately be submitted. Id. 4 FDEP then proceeded to finalize its rules.

That FDEP limited the information available to the public, and then further confined the public
comment period to the very time period when Floridians were most focused on their health, jobs
and families as a result of statewide public health emergency was a disservice to the public. It
resulted in a grossly inadequate program. It also deprived the public of a meaningful opportunity
to comment and be heard. It further undermined public confidence in FDEP’s responsiveness to
the community. It is emblematic of why the EPA should not entrust administration of the federal
Clean Water Act Section 404 program to the State.

V. Florida’s Submission to the EPA

Florida’s application must be denied for at least three reasons: (1) the submission is not
complete, (2) the proposed program is not as stringent as federal law, and (3) Florida is not
equipped to administer and enforce Section 404. Approving the State’s application would
jeopardize the State’s vital wetlands and the species and communities that rely on them.

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 See also Transcript of Public Hearing, Florida Department of Environmental Protection’s February
19, 2020, Notice of Proposed Rules for Florida Administrative Code Chapters 62-330 and 62-331
(Apr. 2, 2020) (Exhibit 47); Transcript of Public Hearing, Florida Department of Environmental
Protection’s February 19, 2020, Notice of Proposed Rules for Florida Administrative Code Chapters
62-330 and 62-331 (Apr. 6, 2020) (Exhibit 48); Transcript of Public Hearing, Florida Department of
Environmental Protection’s February 19, 2020, Notice of Proposed Rules for Florida Administrative
Code Chapters 62-330 and 62-331 (Apr. 10, 2020) (Exhibit 49); Transcript of Public Hearing,
Florida Department of Environmental Protection’s February 19, 2020, Notice of Proposed Rules for
Florida Administrative Code Chapters 62-330 and 62-331 (Apr. 24, 2020) (Exhibit 50); Transcript of
Public Hearing, Florida Department of Environmental Protection’s February 19, 2020, Notice of
Proposed Rules for Florida Administrative Code Chapters 62-330 and 62-331 (Apr. 27, 2020)
(Exhibit 51).
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   A. EPA Should Reverse Completeness Determination As Florida’s Application Fails to
      Satisfy 40 C.F.R. §233.11

On August 20, 2020, Florida submitted its application package to the EPA. On August 28, 2020,
the EPA acknowledged receipt and deemed the application complete. Letter from Mary S.
Walker, U.S. Env’t Prot. Agency, to Gov. Ron DeSantis, Aug. 28, 2020 (Exhibit 52). On
September 16, 2020, EPA published a Federal Register notice stating that it had received “a
complete program submission” for 404 assumption from the State of Florida on August 20, 2020.
See 85 Fed. Reg. 57,853.

Based on its determination that the submission was complete, the EPA initiated a 45-day public
comment period that concludes on November 2, 2020, as required by the Clean Water Act and
the Administrative Procedure Act (“APA”), 40 C.F.R. § 233.15(e) and 5 U.S.C. § 553, and is set
to make a decision on the application by December 18, 2020. See 33 U.S.C. § 1344(h)(1)
(providing for decision on application within 120 days of receipt); 40 C.F.R. § 233.15(a) (120-
day statutory review period begins when the EPA receives complete State program submission
as set out in 40 C.F.R. § 233.10).

Florida’s submission, however, is incomplete in at least three critical respects: (1) failing to
demonstrate how the State will ensure no jeopardy to listed species to comply with the Section
404(b)(1) Guidelines’ no-jeopardy provision, 33 U.S.C. § 1344(h)(1)(a), 40 C.F.R. §§
230.10(b)(3), 233.11(a)–(c), given that the State is relying on processes and procedures that have
yet to be developed; (2) failing to adequately identify the waters that would be assumed under its
proposed program, id. § 233.11(h); (3) failing to provide complete information regarding how it
would implement, operate and enforce a Section 404 program, particularly given the substantial
impact the COVID-19 pandemic has had on State coffers, id. § 233.11(d).

At the October 21, 2020, the EPA public hearing on Florida’s submission, we urged the EPA to
reverse its completeness determination in light of critical omissions in Florida’s application. We
reiterated and elaborated on those concerns in our October 23, 2020, again requesting
reconsideration of the completeness determination, and suspension of the public comment period
until the deficiencies are cured. See id. § 233.15(a) (providing that statutory review period shall
not begin if the EPA finds that a State’s submission is incomplete).

Permitting the public only to comment on an incomplete application undermines the agency’s
rulemaking by precluding meaningful testing, denies fairness to affected parties, and precludes
the opportunity to develop evidence in the record that will prove necessary to judicial review,
should the EPA grant the application, as the State and industry supporters of the program have
indicated they fully expect will happen. 5 U.S.C. § 553; Small Refiner Lead Phase-Down Task


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Force v. U.S. Env’t Prot. Agency, 705 F.2d 506, 547 (D.C. Cir. 1983) (internal citations and
quotation marks omitted).

We fully adopt and incorporate herein the issues raised in the hearing and in our letter. Letter
from Bonnie Malloy, Earthjustice, to Kelly Laycock, U.S. Env’t Prot. Agency, Oct. 23, 2020
(Exhibit 53); Transcript of Public Comment Hearing, Application by the State of Florida to
Assume Administration of the Clean Water Act Section 404 Permitting (Oct. 21, 2020) (Exhibit
54) [hereinafter “Oct. 21, 2020, Hearing Transcript”]; Transcript of Public Comment Hearing,
Application by the State of Florida to Assume Administration of the Clean Water Act Section
404 Permitting (Oct. 27, 2020) (Exhibit 55) [hereinafter “Oct. 27, 2020, Hearing Transcript”].

And we again urge the EPA to reverse its determination that the application is complete or to
extend the review period pursuant to 40 C.F.R. § 233.15(g) and the public comment period until
all materials are provided and the public is given adequate notice and opportunity to comment in
accordance with federal law. See also Clean Water Section 404 Program Definition and Permit
Exemptions; Section 404 State Program Regulations, 53 Fed. Reg. 20,764, 20,767 (Jun. 6, 1988).
Alternatively, the EPA should deny the application for incompleteness.

Notwithstanding the fatal deficiencies in Florida’s application, stakeholders from across Florida
participated in the EPA’s hearings on the program submission, which were held virtually on
October 21 and October 27, 2020. Aside from a handful of representatives from industries with
a financial interest in accelerated and cheaper permits, the overwhelming view expressed by
commenters, including Florida legislators and the Florida Department of Agriculture and
Consumer Services, was to oppose Florida’s request to assume. Oct. 21, 2020, Hearing
Transcript; Oct. 27, 2020, Hearing Transcript.

   B. EPA Should Deny Florida’s Submission on the Merits

As demonstrated below, Florida’s application must also be denied on the merits. Florida’s
submission fails to provide all components of a complete program submission as required under
40 C.F.R. §§ 233.10(b), 233.11. It fails to fully describe the State’s permitting, administrative,
judicial review, and other procedures, id. § 233.11(b), particularly insofar as these are less
stringent than, or conflict with, federal law. It fails to adequately describe all agencies with
responsibilities to administer the program, and fails to provide a reasonable accounting of the
resources that would be required of each of these agencies to properly implement, operate and
enforce a 404 program. Id. § 233.11(c)-(e).

Florida’s submission fails to adequately describe the State’s compliance evaluation and
enforcement programs, particularly with regard to areas where the State’s programs are less
stringent than, or conflict with, federal law. Id. § 233.11(g). Florida also fails to address how

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the State will coordinate enforcement strategy with the Corps and EPA, as required under 40
C.F.R. § 233.11(g).

Florida’s description of the waters of the United States over which the State hopes to assume
jurisdiction, id. § 233.11(h), is grossly lacking. The same is true of the State’s description of the
waters over which the federal government retains jurisdiction, a list that has been unreasonably
and unduly reduced by the Corps since the State initiated rulemaking to develop an assumption
program.

At its core, Florida’s submission fails to demonstrate that the State has adequate legal authority
to carry out the program and meet all requirements under the Clean Water Act. id. § 233.12(a).
The application must therefore be denied.

    1. Florida’s Scheme Does Not Grant Adequate Authority to Carry Out Section 404,
       And is not As Stringent As Federal Law

To apply for approval to assume the Section 404 program, Florida was required to submit a
statement demonstrating “that the laws and regulations of the State … provide adequate authority
to carry out the program and meet the applicable requirements of this part.” Id. The statement
must also address the effect of State law regarding the prohibition against takings. Id.
§ 233.12(c). Where more than one agency will have “responsibility for administering” the
program, the statement must include certification “that each agency has full authority to
administer the program within its category of jurisdiction[.]” Id.

To meet this requirement, FDEP has submitted a statement by its General Counsel. Assumption
Application C. The General Counsel’s statement, however, fails to establish adequate authority
to carry out the program and meet Section 404 requirements. This includes failures regarding
general permits, emergency permits, permit conditions, coordination requirements, public notice,
permit review and determinations, compliance evaluation and enforcement. Permeating many of
these areas, FDEP has also failed to adopt and failed to establish compliance with all Section
404(b)(1) Guidelines. We begin with those issues first.

        a. Failure to Adopt and Comply with 404(b)(1) Guidelines

The General Counsel’s statement avers broadly that no permit shall issue unless in compliance
with the Clean Water Act and Section 404(b)(1) Guidelines, Assumption Application C at 4, but
fails to establish that this is in fact the case. It is evident from Florida’s submission that the State
declined to adopt the 404(b)(1) Guidelines. Instead, the State relies on a patchwork of State rules
and regulations that, even when cobbled together, fail to satisfy 404(b)(1). Even when appearing
to adopt some of the language in the Guidelines, the State adds qualifications and caveats that

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result in a less stringent standard than under federal law. These failures permeate a number of
regulatory requirements, rendering them individually and collectively inadequate under federal
law.

The 404(b)(1) Guidelines are intended to “restore and maintain the chemical, physical, and
biological integrity of waters of the United States through the control of discharges of dredged or
fill material.” 40 C.F.R. § 230.1(a). The federal program also creates a presumption against
granting a 404 permit by incorporating a “fundamental principle”: “dredged or fill material
should not be discharged into the aquatic ecosystem, unless it can be demonstrated that such a
discharge will not have an unacceptable adverse impact either individually or in combination
with known and/or probable impacts of other activities affecting the ecosystems of concern.” Id.
§ 230.1(c). The State’s purpose, by contrast, is “to provide a streamlined permitting procedure”
for ERP and 404 permits.

Rather than incorporating the guiding principles of the 404 program, the State’s regulation titled
“Intent, Purpose, and Implementation” merely covers methods to be used, conflicts of laws, and
coordination between the ERP and 404 permitting programs. Fla. Dep’t of Env’t Prot., Notice of
Proposed Rule, 62-330 (Feb. 19, 2020); Fla. Admin. Code 62-331.010. Through these
omissions, the State has failed to satisfy the requirements of the 404(b)(1) Guidelines.

       (1) Failure to Adopt 404(b)(1) Definitions

As to the terms used in the State’s program, 40 C.F.R. § 230.3, FDEP omits or alters
consequential definitions from the 404(b)(1) Guidelines in a manner that limits the breadth and
scope of the State’s program. First, the State’s program fails to define the following terms that
appear in 40 C.F.R. § 230.3: “carrier of contaminant,” “discharge point,” “disposal site,”
“extraction site,” “territorial sea,” “waters of the United States,” and “wetlands.” Without
established definitions, neither the public nor the regulated community can have any clear
indication as to how the State may interpret and apply those terms. Moreover, the State’s
omission of these terms raises the question of whether FDEP’s applications will be consistent
with 404(b)(1).

Particularly troubling is that the State’s definition of “pollution” is much narrower than the
federal definition in that it only covers pollution that is at a high enough level or amount to be
potentially harmful. The federal guideline defines “pollution” as “the man-made or man-induced
alteration of the chemical, physical, biological or radiological integrity of an aquatic ecosystem.”
Id. § 230.3(k). The Florida definition, by contrast, states that pollution §means alterations “in
quantities or at levels which are or may be potentially harmful or injurious to human health or
welfare, animal or plant life, or property or which unreasonably interfere with the enjoyment of
life or property.” Fla. Stat. § 403.031(7). Tacking these qualifiers onto what constitutes

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“pollution” means that the State would include fewer activities under that definition than would
fall under the federal regulation’s definition.

The State’s proposal also does not adopt, reference, or mention the federal definition of waters of
the United States. Instead, the proposed program uses the term “state-assumed waters,” which it
defines as “all waters of the United States that are not retained waters.” Fla. Dep’t of Env’t Prot.,
State 404 Program Applicants’ Handbook § 1.1 [hereinafter “404 Handbook”]. 5 Florida’s
authorizing legislation similarly defines “state-assumed waters” as “waters of the United States
that the state assumes permitting authority over pursuant to s. 404 of the Clean Water Act … and
rules promulgated thereunder.” Fla. Stat. § 373.4146(1). This definition has no substance and
does not reflect the federal definition of waters of the United States.

The State’s definition of “mixing zone” omits important clarifying language that it “should not
be considered as a place where wastes and water mix and not as a place where effluents are
treated.” Compare 40 C.F.R. § 230.3(h) with 404 Handbook § 2.0(25). Without this added
description, the FDEP’s provision would allow a broader definition of a “mixing zone” that
would result in a less stringent State program.

The federal guidelines have separate definitions for dredged material and fill material. 40 C.F.R.
§ 232.2. “Dredged material” means “material that is excavated or dredged from waters of the
United States.” Id. And “fill material” means “(1) Except as specified in paragraph (3) of this
definition, … material placed in waters of the United States where the material has the effect of:
(i) Replacing any portion of a water of the United States with dry land; or (ii) Changing the
bottom elevation of any portion of a water of the United States. (2) Examples of such fill
material include, but are not limited to: rock, sand, soil, clay, plastics, construction debris, wood
chips, overburden from mining or other excavation activities, and materials used to create any
structure or infrastructure in the waters of the United States. (3) The term fill material does not
include trash or garbage.” Id.

The State proposes to cover both definitions in the term “material,” Assumption Application B,
app. j-3, at 8–9, which is defined as “matter of any kind, such as sand, clay, silt, rock, dredged
material, construction debris, solid waste, pilings or other structures, ash, and residue from
industrial and domestic processes. The term does not include the temporary use and placement
of lobster pots, crab traps, or similar devices or the placement of oyster clutch.” Environmental
Resource Permit Applicant’s Handbook, vo. 1 [hereinafter “ERP Handbook”]. It is difficult to
understand how the State’s definition could explain what “dredge material” is when it is used as


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  Florida’s rules and regulations are obtuse, having relegated key aspects to applicant handbooks
rather than providing for them in the rules, which will create confusion for regulators, the regulated
community, affected parties, the public and the courts.
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an example of “material.” Moreover, the State definition does not include the specifics outlined
in the definition of “fill material,” which is defined based on the function it performs rather than
its physical state.

       (2) Failure to Adopt 404(b)(1) Procedures

As to General Procedures to be Followed, 40 C.F.R. § 230.5, the State largely incorporated this
guideline into the 404 Handbook, but then added qualifying language that restricts the permitting
conditions that FDEP must address when issuing a state 404 permit. For example, the federal
rule provides that the agency must evaluate dredge and fill material to “determine the possibility
of chemical contamination or physical incompatibility of the material to be discharged.” Id. The
State, however, limited this requirement only to situations where chemical contamination may
violate state water quality standards or toxic effluent standards or prohibitions. 404 Handbook
§ 8.2(g). By restraining its consideration of chemical contamination, the State’s program is less
restrictive than the federal program.

As to General Permits (“GP”), 40 C.F.R. § 230.7, the State failed to incorporate the full set of
requirements for issuance of a GP. The 404(b)(1) Guidelines state that a GP complies with the
guidelines if the permitting authority determines that: (1) “The activity in such category are
similar in nature and similar in their impact upon water quality and the aquatic environment”;
(2) “The activities in such category will have only minimal adverse effects when performed
separately”; and (3) “The activities in such category will have only minimal cumulative adverse
effects on water quality and the aquatic environment. Id. § 230.7(a). The State’s program,
however, omits the requirement that GPs may only be issued if “[t]he activities in such category
are similar in nature and similar in their impact upon water quality and in the aquatic
environment.” See Fla. Admin. Code 62-331.200–01.

The State also failed to incorporate the requirements that FDEP must follow when issuing GPs.
The 404(b)(1) Guidelines require the permitting authority to “set forth in writing an evaluation of
the potential individual and cumulative impacts of the category of activities to be regulated under
the General Permit.” 40 C.F.R. § 230.7(b). Moreover, the 404(b)(1) Guidelines require that the
State complete this evaluation before the GP is issued and must publish the results with the final
permit. Id. The State, by contrast, has not adopted any procedures for it to follow when
considering and issuing GPs. See Fla. Admin. Code. 62-331.200–01, 62-330.401. Instead, it
takes the position that the State must follow the requirements of 40 C.F.R. pt. 233 when creating
a GP, “but this information is not presented in the rule.” Assumption Application B, app. j-3, at
58. However, 40 C.F.R. § 233.21 requires compliance with the 404(b)(1) Guidelines, and it is
unclear how the State could ensure compliance with the guidelines without incorporating them
into the State’s program. Notably, and as discussed further below, the State also seeks to issue


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GPs with the program submitted, even though it has failed to take any of the required steps to do
so lawfully.

As to Restrictions on Discharge, 40 C.F.R. § 230.10, federal regulations prohibit any discharge
that “causes or contributes, after consideration of disposal site dilution and dispersion, to
violations of any applicable State water quality standard.” Id. Rather than adopting this
language, the State has proposed an alternative prohibition that would prohibit discharges that
“[c]auses or contributes to violations of any applicable State water quality standard, except when
temporarily within a mixing zone proposed by the applicant and approved by the Agency.” Fla.
Admin. Code 62-331.053(2) (emphasis added). Where the 404(b)(1) Guidelines require the
permitting authority to “consider” dilution areas when determining whether violations would
occur, the State program creates an exemption for temporary violations in those areas.

The State program also fails to incorporate the requirement that a determination of whether a
discharge would cause or contribute to significant degradation of wetlands or other surface
waters be based on factual determinations, evaluations, and tests required by the 404(b)(1)
Guidelines “subparts B and G, after consideration of subparts C through F, with special emphasis
on the persistence and permanence of the effects outlined in those subparts.” 40 C.F.R.
§ 230.10(c). However, as described in these comments, the State has failed to fully incorporate
the provisions that appear in those subparts. The State also fails to include the requirement to put
“special emphasis on the persistence and permanence of the effects” outlined in those subparts.

Regarding the requirement that discharges not jeopardize the continued existence of endangered
or threatened species, or result in the likelihood of the destruction or adverse modification of
critical habitat, id. § 230.10(b)(3), the State has promulgated language to say that “compliance
with any requirements resulting from consultation with, or technical assistance by, the Florida
Fish & Wildlife Conservation Commission, the U.S. Fish & Wildlife Service, and the National
Marine Fisheries Service for purposes of the State 404 Program, and review, as it pertains to
endangered or threatened species, by the U.S. Environmental Protection Agency” “shall be
determinative for purposes of evaluating violations of this subparagraph.” Fla. Admin. Code 62-
331.053(3)(a)(4). As discussed below in Section V.B.2, however, the technical assistance
process is still being developed, and depends on other agencies who lack the resources necessary
to carry out review of all State 404 permits. FDEP has failed to even submit information related
to the available resources of those agencies, much less establish that those resources exist and are
adequate.

As to Factual Determinations, 40 C.F.R. § 230.11, the 404(b)(1) Guidelines lay out specific,
factual determinations that permitting authorities must use to determine the individual,
cumulative, and secondary effects of a proposed discharge of dredged or fill material on physical
substrate; water circulation, fluctuation, and salinity; suspended particulate/turbidity;

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contaminants; aquatic ecosystem and organism; and the proposed disposal site. Id. The State’s
regulations do not incorporate or apply the guideline’s defined set of factual determinations.
And they do not require FDEP to make the requisite factual determinations when considering
whether to issue a 404 permit.

Although Fla. Admin. Code 62-331.053(6) contains broad categories of effects considered to
determine whether a permit will cause or contribute to significant degradation of wetlands or
other surface waters, that section fails to incorporate the specific effects identified in 40 C.F.R.
§ 230.11, and leaves broad discretion for FDEP to interpret what effects it will consider. It also
omits consideration of effects on physical substrate, water circulation, fluctuation, salinity, and
suspended particulate/turbidity, and only includes vague descriptions of the other potential
effects of a proposed project that must be considered.

FDEP also relies on Fla. Admin. Code 62-330.301, but that provision only places obligations on
permit applicants to provide “reasonable assurances” that their proposed projects will not cause
adverse effects. 6 The federal guidelines, importantly, obligate the permitting authority to make
factual findings on those effects, rather than relying whole cloth on assurances submitted by
permit applicants. 40 C.F.R. § 230.11. FDEP has not adopted such a requirement for itself.
This regulation also fails to include the full swath of identified effects from Section 230.11. 7

As to Findings of Compliance or Noncompliance with the Restrictions on Discharge, 40 C.F.R.
§ 230.12, the 404(b)(1) Guidelines require that the permitting authority, after deciding whether to
issue or deny a permit, must make findings that “include the factual determinations required by
§ 230.11, and a brief explanation of any adaptation of these Guidelines to the activity under
consideration.” 40 C.F.R. § 230.12(b). The state regulations do not require the agency to make
the factual determinations laid out in 40 C.F.R. § 230.11, and therefore do not require that the
agency include those factual determinations in any final permit decisions.

       (3) Failure to Adopt 404(b)(1) Consideration of Impacts

Subparts C–F identify a whole host of impacts that must be considered when reviewing a permit
and identify the significance of each for purposes of meeting the Clean Water Act’s objectives.
Florida fails to adopt or implement these considerations for Section 404 permits. Subpart C
requires the permitting authority to consider potential impacts to substrate, suspended
particulates/turbidity, water, current patterns and water circulation, normal water fluctuations, ad

6
  ERP Handbook § 5.5.4.1 says that the agency makes permitting decisions based on a determination
of whether the permit applicant provided these reasonable assurances. However, determining
whether an applicant’s assurances are reasonable is a far cry from making the factual determination
whether a proposed project will cause adverse effects.
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  These same flaws are present in the ERP Handbook §§ 10.2.7, 10.2.8, and 11.0.
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salinity gradients. 40 C.F.R. §§ 230.20–25. Subpart D requires the permitting authority to
consider potential impacts to endangered species, fish, crustaceans, mollusks, other aquatic
organisms, and wildlife. Id. §§ 230.30–32. Subpart E requires the permitting authority to
consider potential impacts to sanctuaries and refuges, wetlands, mud flats, vegetated shallows,
coral reefs, and riffle and pool complexes. Id. §§ 230.40–45. Subpart F requires the permitting
authority to consider the potential impacts to water supplies, fisheries, recreation, aesthetics, and
parks by defining these categories of effects and outlining specific adverse effects that could
occur within each of these categories. Id. §§ 230.50–54.

Rather than adopt these criteria, the State’s submission cites to a patchwork of complicated,
piecemeal elements of ERP and state 404 regulations and applicant handbooks in an effort to
claim that these constitute an equivalent program. Assumption Application B, app. j-3, at 79–
100. But they do not add up.

For example, 40 C.F.R. § 230.31 defines “aquatic organisms in the food web,” and then
describes the possible loss of environmental characteristics and values that could result from
dredge and fill activities:

       The discharge of dredged or fill material can variously affect populations of fish,
       crustaceans, mollusks and other food web organisms through the release of
       contaminants which adversely affect adults, juveniles, larvae, or eggs, or result in
       the establishment or proliferation of an undesirable competitive species of plant or
       animal at the expense of the desired resident species. Suspended particulates
       settling on attached or buried eggs can smother the eggs by limiting or sealing off
       their exposure to oxygenated water. Discharge of dredged and fill material may
       result in the debilitation or death of sedentary organisms by smothering, exposure
       to chemical contaminants in dissolved or suspended form, exposure to high levels
       of suspended particulates, reduction in food supply, or alteration of the substrate
       upon which they are dependent. Mollusks are particularly sensitive to the discharge
       of material during periods of reproduction and growth and development due
       primarily to their limited mobility. They can be rendered unfit for human
       consumption by tainting, by production and accumulation of toxins, or by ingestion
       and retention of pathogenic organisms, viruses, heavy metals or persistent synthetic
       organic chemicals. The discharge of dredged or fill material can redirect, delay, or
       stop the reproductive and feeding movements of some species of fish and crustacea,
       thus preventing their aggregation in accustomed places such as spawning or nursery
       grounds and potentially leading to reduced populations. Reduction of detrital
       feeding species or other representatives of lower trophic levels can impair the flow
       of energy from primary consumers to higher trophic levels. The reduction or
       potential elimination of food chain organism populations decreases the overall
       productivity and nutrient export capability of the ecosystem.



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Id. The provisions cited by the State fail to incorporate either the definition or the potential
effects laid out in this 404(b)(1) Guideline. See Fla. Admin. Code 62-330.301(1)(d)–(e)
(creating broad conditions for permit issuance that activities not adversely affect functions that
serve fish and wildlife or affect the quality of receiving waters such that the state water quality
standards are not met); id. 62-330.302(1)(a)(1), (2), (4) (requiring permittees to provide
reasonable assurances about broadly defined effects of the proposed activity to the public health,
safety, or welfare or the property of others; the conservation of fish and wildlife, including
endangered or threatened species and their habitats; fishing, recreational values or marine
productivity); ERP Handbook § 10.2.3.1(a)–(b) (generally requiring evaluation of public health
and impacts to shellfish harvesting); id. § 10.2.3.4(a)–(b) (generally requiring consideration of
effects to sport or commercial fisheries or marine productivity; existing recreational uses of
wetlands); id. § 10.2.5 (generally requiring consideration of effects to waters used for shellfish
harvesting).

The same omissions are evident for substrate, 40 C.F.R. § 230.20, suspended particulates/
turbidity, id. § 230.21, water, id. § 230.22, current patterns and water circulation, id. § 230.23,
normal water fluctuations, id. § 230.24, salinity gradients, id. § 230.25, threatened and
endangered species, id. § 230.30, fish, crustaceans, mollusks and other aquatic organisms in the
food web, id. § 230.31, wildlife, id. § 230.32, sanctuaries and refuges, id. § 230.40, wetlands, id.
§ 230.41, mud flats, id. § 230.42, vegetated shallows, id. § 230.43, coral reefs, id. § 230.44, riffle
and pool complexes, id. § 230.45, municipal and private water supplies, id. § 230.50, recreational
and commercial fisheries, id. § 230.51, water-related recreation, id. § 230.52, and parks, national
and historical monuments, national seashores, wilderness areas, research sites and similar
preserves, id. § 230.54.

The only provision in Subparts C–F that the State incorporated into its program was for
aesthetics. Compare id. § 230.53 with 404 Handbook § 8.3.2. For aesthetics, the State
incorporated the federal provision word-for-word. 404 Handbook § 8.3.2. This demonstrates
that the State knew how to appropriately adopt the Guidelines, but that it chose not to do so for
any of the other categories in Subparts C–F.

       (4) Failure to Adopt 404(b)(1) Compensatory Mitigation

Subpart J outlines the compensatory mitigation program for losses of aquatic resources
associated with dredge and fill activities. Again, here, the State attempts to use a grab bag of
ERP and state 404 program regulations and guidelines to cobble together what it identifies as
equivalent to the lengthy provisions of Subpart J. However, the rules contain meaningful
omissions and differences so that the State program fails to maintain the stringency of these
404(b)(1) Guidelines. Many of these issues arise in the failure to use the federal definitions of
terms relevant to mitigation. 40 C.F.R. § 230.92.

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For example, the 404 Handbook does not include the definitions from § 230.92 for “advance
credits,” “credit,” “days,” “debit,” “fulfillment of advance credit sales of an in-lieu fee program,”
“in-lieu fee program instrument,” “instrument,” “mitigation banking instrument” and “release of
credits.” Compare 40 C.F.R. § 230.92 with 404 Handbook § 2.0(b).

There are also meaningful changes to the definitions the State did incorporate. For the definition
of “preservation” in the 404 Handbook, the State omits the following language from 40 C.F.R.
§ 230.92: “Preservation does not result in a gain of aquatic resource area or functions.”
Compare 40 C.F.R. § 230.92 with 404 Handbook § 2.0(b).

The State’s definition of “creation,” which is intended to incorporate the federal definition of
“establishment,” omits a vital clarification in the federal definition: “Establishment results in a
gain in aquatic resource area and functions.” Compare 40 C.F.R. § 230.92 with ERP Handbook
vo. 1. This change means that under the State’s definition, creation of wetlands could occur even
if there is no “gain” in environmental resource functions.

For the definition of “functional capacity,” the State points to its definition of “ecological value.”
The federal guidelines define “functional capacity” as the degree to which an area performs a
specific function. 40 C.F.R. § 230.92. The State’s definition of “ecological value,” by contrast,
is much more restrictive and is couched in “values” as compared to “functions.” Fla. Stat.
373.403(18). Instead, “ecological value” means the “value of functions performed by uplands,
wetlands, and other surface waters to the abundance, diversity, and habitats of fish, wildlife, and
listed species. These functions include, but are not limited to, providing cover and refuge;
breeding, nesting, denning, and nursery areas; corridors for wildlife movement; food chain
support; and natural water storage, natural flow attenuation, and water quality improvement,
which enhances fish, wildlife, and listed species utilization.” Id. These terms are not equivalent.

The State’s definition of “temporal loss” omits the following from the federal guideline:
“[H]igher compensation ratios may be required to compensate for temporal loss. When the
compensatory mitigation project is initiated prior to, or concurrent with, the permitted impacts,
the district engineer may determine that compensation for temporal loss is not necessary, unless
the resource has a long development time.” Compare 40 C.F.R. § 230.92 with 404 Handbook
§ 2.0(49). This additional language creates substantive requirements for permit writers, and the
State program fails to incorporate it.

As to General Compensatory Mitigation Requirements, 40 C.F.R. § 230.93, the State alters or
omits vital portions of this Section, thereby creating less stringent requirements for its mitigation
program.


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The State’s tepid incorporation of the watershed approach to compensatory mitigation falls short
of the Federal requirements. The State does not incorporate the federal provision that a
watershed approach is “not appropriate in areas where watershed boundaries do not exist, such as
marine areas.” Compare 40 C.F.R. § 230.93(c)(2)(v) with 404 Handbook § 8.5.2(a)(4). The
State omits requirements on the amount of information that a permittee must provide to support a
watershed approach. 40 C.F.R. § 230.93(c)(3)(iii). The State program also fails to incorporate
the size restrictions for the watershed to be used in a watershed approach intended to ensure that
the aquatic resources provided through compensation activities will effectively compensate for
adverse environmental impacts resulting from activities authorized by dredge and fill permits.
Id. § 230.93(c)(4).

Regarding site selection criteria, the State ignored the federal factors that must be considered
when selecting a mitigation site to ensure that the compensatory mitigation project site is
“ecologically suitable for providing the desired aquatic resource functions.” Id. § 230.93(d)(vi).

The State’s program does not adopt requirements that would apply to permit writers as they
consider different types of mitigation. The federal rule requires permit writers to document
specific findings before permitting out-of-kind compensatory mitigation, a provision absent from
the State’s program. Id. § 230.93(e)(2)–(3). The State’s program also omits the requirement that
the permit writer “require a mitigation ratio greater than one-to-one where necessary.” Id.
§ 230.93(f)(2).

Lastly, the State’s requirements for demonstrating financial responsibility are not as strict as
those required under 40 C.F.R. § 230.93(n)(1). Federal regulations require financial assurances
to ensure a high level of confidence that the compensatory mitigation project will be successfully
completed, a standard not incorporated into the State program. Compare id. with ERP Handbook
§ 10.3.7. The State creates an exemption for projects that have a mitigation cost estimate less
than $25,000, but the federal rules do not have a threshold below which a financial responsibility
demonstration is no longer required. Compare ERP Handbook § 10.3.7.1 with 40 C.F.R.
§ 230.93(n)(1). Rather than giving permit writers the ability to determine the necessary amount
of required financial assurances, 40 C.F.R. § 230.93(n)(2), the State instead creates a blanket
amount of 110% of the cost estimate. ERP Handbook § 10.3.7.2.

       b. Unlawful Promulgation of General Permits, 40 C.F.R. §233.21

The General Counsel states that FDEP intends to administer a limited number of regional permits
until they expire and that the State “has promulgated a series of general permits.” Assumption
Application C at 4. The State’s rules developed for the 404 program submission purport to
include dozens of general permits. Fla. Admin. Code 62-331.210–48. The State, however, has
failed to lawfully promulgate any general permit.

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As to a state assumed program, federal regulations provide that “[t]he Director may issue a
general permit for categories of similar activities if he determines that the regulated activities
will cause only minimal adverse environmental effects when performed separately and will have
only minimal cumulative adverse effects on the environment.” 40 C.F.R. § 233.21(b). The
terms “State Director” and “Director” are defined as “the chief administrative officer of any
State … operating an approved program[.]” Id. § 233.2.

The Director of Florida’s proposed program, however, has not made any determinations that the
regulated activities will cause only minimal adverse environmental effects when performed
separately and will have only minimal cumulative adverse effects on the environment. When
FDEP proposed to promulgate dozens of general permits modeled after general permits
previously developed by the Corps on a national level, the agency provided zero evidence of any
analysis or study to warrant such a determination.

Instead, FDEP seems to believe that it can simply parrot the language of general permits
developed at a national, rather than state, level, and promulgate those for operation at the state
level without any process. But the language of the federal regulation governing general permits
is clear: “[t]he Director may issue a general permit for categories of similar activities if he
determines that the regulated activities will cause only minimal adverse environmental effects
when performed separately and will have only minimal cumulative adverse effects on the
environment.” Id. § 233.21(b) (emphasis added). FDEP did not subject these purported general
permits to any study, did not notify the public of any basis to support the propriety of such
general permits, did not provide an opportunity for the public to comment on the intention to
make any determination under this regulation, and has not provided affirmative evidence of
having made an independent, fact-based determination.

FDEP cites no legal authority to disregard the plain language of 40 C.F.R. § 233.21(b).
Moreover, FDEP’s approach, which purports to give effect to “its” general permits for a duration
of five years from the date of the State program’s approval, is contrary to five-year limitation on
general permits. FDEP’s approach therefore not only fails to rely on a proper determination
necessary to support the issuance of general permits. It also would unlawfully extend general
permits issued initially by the Corps beyond their statutorily limited five-year duration. 33
U.S.C. § 1344(e)(2). This outcome is also unreasonable. Federal law requires the Corps to
review its general permits, and the determinations underlying them, every five years. To allow
Florida to extend the Corps’ underlying rationale beyond the five-year statutory limitation to
support continued issuance of general permits for years thereafter conflicts with federal law. Id.

FDEP’s proposed program is also less restrictive than 40 C.F.R. § 233.21. The State’s regulation
unreasonably restricts its ability to require notice of intent of coverage under a GP, omitting the

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federal catchall that the agency can require notice “as appropriate.” Compare Fla. Admin. Code
62-331.200(3) with 40 C.F.R. § 233.21(d). The State regulation restricts the notice requirement
to specifically identified circumstances and limits FDEP’s authority to require notice whenever
appropriate.

The State has limited its authority by only allowing FDEP to require an individual permit where
“sufficient cause exists,” which is then defined as a “likelihood that the project will cause more
than minimal adverse environmental effects.” Fla. Admin. Code 62-331.200(6). The federal
rules, by contrast, allow the Director to do so “based on concerns for the aquatic environment,”
including compliance with the requirement for GPs to have only minimal individual and
cumulative adverse environmental effects. 40 C.F.R § 233.21(e). Further, the State’s rules omit
the automatic revocation of GP coverage once the agency requires an individual permit.
Compare Fla. Admin. Code 62-331.200(6) with 40 C.F.R. § 233.21(e).

       c. Unlawful Expansion of Emergency Permits, 40 C.F.R. §233.22

The General Counsel Statement avers that Fla. Admin. Code 62-331.110 implements the
emergency permit requirements of 40 C.F.R. § 233.22, citing only to subsections (b)(3)–(7).
Assumption Application C at 5. Importantly, however, the State creates a much broader set of
situations when an emergency permit may be granted than what is authorized under federal law.

Under federal regulations, an emergency permit may only be given “if unacceptable harm to life
or severe loss of physical property is likely to occur before a permit could be issued or modified
under procedures normally required.” 40 C.F.R. § 233.22(a). The State, instead, would allow
for the issuance of emergency permits to abate emergency conditions which “pose and imminent
or existing serious threat or danger and require immediate action to protect public health, safety,
or welfare, or the water resources of the Agency, including the health of aquatic and wetland-
dependent species; a public water supply; or recreational, commercial, industrial, agricultural, or
other reasonable uses.” Fla. Admin. Code 62-331.110(1).

The State’s grant of broader authority to issue emergency permits than what is allowed under
federal law reflects a less stringent program than the federal program because emergency permits
are granted more quickly and with less opportunity for process and review than regular permits.
Compare Fla. Admin. Code 62-331.110 with id. 62-331.050–60.

       d. Unlawful Limitation of Permit Conditions, 40 C.F.R. §233.23

The General Counsel Statement summarily declares that FDEP satisfies the requirements to
comply with federal guidelines, even though many of the 404(b)(1) Guidelines are absent from
the State rules, see Section V.B.1.a.

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Additionally, the State’s regulations omit important requirements outlined in 40 C.F.R. § 233.23:
The State omits “minimize” from the federal requirement that permittees “take all reasonable
steps to minimize or prevent any discharge in violation of this permit.” Compare Fla. Admin.
Code 62-331.054(2)(b) with 40 C.F.R. § 233.23(c)(4). The State’s regulation omits minimum
requirements for individual permits specifying that at least monitoring, reporting, and
recordkeeping requirements must include “monitoring and reporting of any expected leachates,
reporting of noncompliance, planned changes or transfer of the permit.” Compare Fla. Admin.
Code 62-331.054(d) with 40 C.F.R. § 233.23(c)(7). FDEP’s regulations failed to include the
requirement that discharges minimize adverse impacts through restoration, and instead only
includes minimization through mitigation. Compare Fla. Admin. Code with 40 C.F.R.
§ 233.23(c)(9). The State’s proposed program also omits the requirement for a specific
identification and complete description of the authorized activity, instead relying on permit
templates that are not incorporated by regulation and do not operate with the force of law. 40
C.F.R. § 233.23(c)(1).

       e. Unlawful Permit Application Process, 40 C.F.R. § 233.30

The General Counsel Statement avers that Fla. Admin. Code 62-331.060(1) implements the
requirements of 40 C.F.R § 233.30(b)(1)–(4). Assumption Application C at 6. However, the
State uses different terms that would restrict the information that must be included in a permit
application as compared to federal law. For example, the federal regulations require a
description of “methods of discharge” whereas the State uses the term “construction methods,”
which is not defined by either the State regulations or the 404 Handbook. Compare Fla. Admin.
Code 62-331.060(1)(e) with 40 C.F.R. § 233.30(b)(3). The plain meanings of the words
“construction” and “discharge” are not equivalent.

The State also fails to incorporate the federal requirement regarding how much detail permit
applications must include. Pursuant to 40 C.F.R. § 233.30(d), “[t]he level of detail shall be
reasonably commensurate with the type and size of discharge, proximity to critical areas,
likelihood of long-lived toxic chemical substances, and potential level of environmental
degradation.” Id. This language appears only in Appendix C of the 404 Handbook, which is
described as guidance for conducting an alternatives analysis based on guidance from the Army
Corps Jacksonville District. 404 Handbook, app. C. It is not included as a requirement for
permit applications generally and is not incorporated into the rules themselves.

       f. Failure to Meet Coordination Requirements, 40 C.F.R. § 233.3

The federal rules require that permits “shall be coordinated with federal and federal-state water
related planning and review processes.” 40 C.F.R. § 233.3. The General Counsel Statement

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fails to provide any information or citation to demonstrate that the State has satisfied this
requirement. Assumption Application C at 6. Instead, in the Comparison referenced by the
General Counsel and added in Florida’s assumption package, FDEP admits that they “did not
add this [requirement] to the rule,” but states that they “plan to engage in this kind of
coordination whenever possible.” Assumption Application B, app. j-3, at 32. FDEP has thus
failed to ensure compliance with federal coordination requirements. That FDEP may “plan” to
coordinate “whenever possible” falls far short of the requirement that permits “shall” be
coordinated. Because the State failed to incorporate this requirement into its regulatory program,
its program is less stringent than the federal program and must be denied.

       g. Inadequate Public Notice, 40 C.F.R. § 233.32

The General Counsel Statement avers that Fla. Admin. Code 62-331.060(2)–(3) fully satisfies
the public notice requirements of 40 C.F.R. § 233.32(a)–(c), (e). Assumption Application C at
6–7. However, that is not the case. The federal rules require that public notice be given
whenever the following actions occur: (1) receipt of a permit application, (2) preparation of a
draft general permit, (3) consideration of a major modification to an issued permit,
(4) scheduling of a public hearing, and (5) issuance of an emergency permit. 40 C.F.R.
§ 233.32(a). Florida’s regulations, on the other hand, do not require public notice for receipt of a
permit application. Fla. Admin. Code 62-331.060(2)–(3).

       h. Inadequate Process for Decision on Permit Application, 40 C.F.R. § 233.34

The General Counsel Statement rightfully explains that the permit decision-making process
requires that permit decisions be reviewed for compliance with 404(b)(1) Guidelines.
Assumption Application C at 7. However, as we explain in Section V.B.1.a, the State has not
adopted or incorporated all of the 404(b)(1) Guidelines.

       i. Failure to Meet Requirements for Compliance Evaluation Programs, 40 C.F.R.
       § 233.40

The General Counsel Statement claims that the State “has authority to enforce rules and
regulations” for the State 404 Program. Assumption Application C at 9. However, that
statement falls short of the federal requirement that a state “shall maintain a program designed to
identify persons subject to regulation who have failed to obtain a permit or to comply with
permit conditions.” 40 C.F.R. § 233.40(a). As explained in Section V.B.1.k.5, however, the
State does not maintain a program to identify violations in its current programs and has not
shown how it would be able to do so for a Section 404 program. Having authority and actually
using that authority to identify and enforce against violations are two very different things.


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Although the State’s regulations may provide authority, the State has categorically failed to show
it has the resources to “maintain” such a program. See Section V.B.1.k.4.

       j. Inadequate Enforcement Authority, 40 C.F.R. § 233.41

The General Counsel claims that Florida law is consistent with and no less stringent than the
Clean Water Act enforcement requirements. Assumption Application C at 10. A vital aspect of
administering a 404 enforcement program, however, is having adequate staffing and resources.
As demonstrated further below, FDEP has not established that it has acquired the resources that
would be required to administer and enforce a 404 program. In addition, in light of FDEP’s
grossly inadequate enforcement record, the EPA cannot reasonably conclude that FDEP would
adequately enforce a 404 program when it cannot even adequately enforce the programs
currently under its supervision. See SectionV.B.1.k.4.

       (1) State Criminal Liability Less Stringent Than Federal Criminal Liability

Significantly, Florida law regarding criminal enforcement is not as stringent as federal law.
Under 40 C.F.R. § 233.41(a)(3)(ii), for example, a criminal violation is established by showing
(1) a discharge of dredged or filled material, (2) without a required permit or in violation of a
permit condition, (3) that is committed willfully or with criminal negligence. Id.

Under Fla. Stat. § 373.430(1)(a), on the other hand, a criminal violation would require proof of
an additional element, namely that the pollution (discharge) “caused actual harm or injury to
human health or welfare, animal, plant, or aquatic life or property.” See, e.g., State v. Hamilton,
388 So. 2d 561 (Fla. 1980) (interpreting identical provision to require proof of actual harm or
injury to sustain a criminal conviction).

By requiring an additional element of proof, the state law fails to provide as stringent criminal
liability as exists under federal law for unlawful discharges of dredged and fill material.

Moreover, Section 309(c) of the Clean Water Act makes it a crime to negligently violate “any
permit condition […] in a permit issued under section 404 of this title,” or to negligently
“introduce into a sewer system or into a publicly owned treatment works any pollutant or
hazardous substance which such person knew or reasonably should have known could cause
personal injury or property damage [or] causes such treatment works to violate any effluent
limitation or condition in any permit.” 33 U.S.C. § 1319(c)(1)(A), (B). The penalty for such a
violation is a fine between $2,500 and $25,000 per day, per violation and/or imprisonment of up
to one year; this penalty is doubled for a second violation. Id.




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Four circuits have held that this provision requires only proof of simple negligence: the Courts
of Appeal for the Third, Fifth, Ninth, and Tenth Circuits. 8 This creates a conflict between the
Clean Water Act and both the federal regulation and the state statute at issue in this matter.

Under Florida law, it is unconstitutional to criminally penalize “mere negligent conduct” since
that fails to provide “clearly ascertainable standards of guilt by which a citizen may gauge his
conduct.” State v. Hamilton, 388 So. 2d 561, 563-64 (Fla. 1980). Florida law therefore is not as
stringent as to criminal enforcement as is the Clean Water Act. Moreover, this conflict is a
matter of Florida constitutional law, and so it cannot be resolved by mere amendment of Florida
statutes or regulations.

40 C.F.R. § 233.41(b)(2) states that “the burden of proof and degree of knowledge or intent
required under State law for establishing violations under […] this section shall be no greater
than the burden of proof or degree of knowledge or intent EPA must bear when it brings an
action under the Act.” Id. (emphasis added). Because criminal negligence in the state statute is a
higher level of intent that simple negligence in the Clean Water Act, the Florida Statute conflicts
with federal law, and does not provide as stringent criminal enforcement as does federal law.
See also Idaho Conservation League, Petitioner, v. U.S. Environmental Protection Agency, Case
No. 18-72684 (9th Cir. Sep. 10, 2020) (Exhibit 56) (the EPA abused its discretion in approving a
state delegated program with a mens rea standard greater than the burden of proof required of the
EPA).

Lastly, Florida law provides shorter statutes of limitation for enforcement of environmental
crimes. Under federal law, criminal enforcement actions brought under 33 U.S.C. § 1319(c) are
generally subject to a five-year statute of limitations. See United States v. Ursitti, 543 F. Supp.
2d 971, 974 (C.D. Ill. 2008) (in case involving a criminal violation of the CWA, citing to
§ 3282(a) and stating “[t]here is a five-year statute of limitations for criminal offenses, which is
applicable to the offenses charged in this case”); see also Joseph J. Lisa, Negligence-Based
Environmental Crimes: Failing to Exercise Due Care Can Be Criminal, 18 Vill. Envtl. L.J. 1, 43
n. 109 (2007) (citing 33 U.S.C. § 3282(a) as the applicable statute of limitations provision for
criminal enforcement actions under Section 1319(c)).

The statutes of limitation applicable to violations under state law, however, are between one year
and three years, depending on the severity of the offense. Fla. Stat. § 373.430(1)(a)–(c)
(identifying crimes relating to pollution, failure to comply with permit requirements, and fraud);



8
  United States v. Maury, 695 F.3d 227, 259 (3d Cir. 2012); United States v. Pruett, 681 F.3d 232,
243 (5th Cir. 2012); United States v. Ortiz, 427 F.3d 1278, 1283 (10th Cir. 2005); United States v.
Hanousek, 176 F.3d at 1120 (9th Cir. 1999).
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id. § 373.430(3)–(5) (setting degree of offense depending on the crime); id. § 775.15 (setting for
statute of limitations depending on the severity of the offense).

State law regarding criminal enforcement is therefore deficient also in this regard, making its
program less stringent than the federal one.

Although 40 C.F.R. § 233.41(d)(1) authorizes the EPA to approve a state program that has less
stringent penalties than available under federal law, 9 there is nothing in the Clean Water Act that
authorizes the EPA to approve a state program with an enforcement scheme that is less stringent
than the federal one in terms of criminal culpability, burden of proof and statutes of limitations.
To the contrary, these failures render the program non-approvable.

       (2) Public Participation (Enforcement), 40 C.F.R. § 233.41(b)(1)

In addition, pursuant to 40 C.F.R. § 233.41(b)(1), the State “shall provide for public participation
in the State enforcement process through either a right of citizen intervention or an assurance that
the State will (1) investigate citizen complaints, (2) not oppose citizen intervention, and
(3) provide public notice and comment on any proposed settlement of a State enforcement
action.” Id. § 230.41(e). The General Counsel provides a blanket statement that the State has
“authority” to comply with these requirements without citing any law or regulation providing
that authority. Assumption Application C at 11.

The General Counsel also relies on the MOA with the EPA to say it has provided assurance that
it will comply with 40 C.F.R. § 233.41(e)(2). Assumption Application C at 11. The MOA
merely states, “FDEP shall provide for public participation in the State 404 Permit Program
enforcement process pursuant to 40 C.F.R. § 233.41(e)(2).” Memorandum of Agreement
between Fla. Dep’t of Env’t Prot. & U.S. Env’t Prot. Agency at III.I (Jul. 31, 2020). FDEP,
however, has failed to identify any requirement in the state law or regulations to ensure
compliance with the requirements of 40 C.F.R. § 233.41(e)(2). Although assurances to the EPA
may be helpful, when they are not incorporated into state law, there is a question regarding the
extent to which the public is able to enforce those obligations.

       k. Failure to Address Effect of State Takings Law on Successful Implementation of
       Program, 40 C.F.R. § 233.12

The General Counsel Statement must contain a legal analysis of the effect of State law regarding
the prohibition on taking private property without just compensation on the successful


9
 Note that the State has claimed that this regulatory provision was “not applicable” to the State’s
application. Assumption Application B, app. j-3, at 54.
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implementation of the State’s program. 40 C.F.R. § 233.12(c). Rather than providing this
analysis, the Statement focuses on the notion that no matter how broadly Florida courts interpret
regulatory takings law, their decisions would be subject to review by the Supreme Court of the
United States. Assumption Application C at 12. This reductionist position completely dodges
the requirement to provide an actual analysis of the effect of Florida law on the prohibition
against takings, since the blanket statement that takings law is ultimately subject to U.S Supreme
Court review would apply to any state’s submission or statutory scheme. The claim also ignores
that the U.S. Supreme Court is a court of limited review, which only grants a select number of
petitions for certiorari each year. See Supreme Court: The Statistics, 131 Harv. L. Rev. 403, 410
tbl. II(B) (2017) (1.2% of petitions for certiorari were granted review in the 2016 Term).
“Review on a writ of certiorari is not a matter of right, but of judicial discretion” and it “will be
granted only for compelling reasons.” Sup. Ct. R. 10.

In addition to relying on a theoretical U.S. Supreme Court backstop, the General Counsel
emphasizes that under Florida law, even when a private property owner brings an as-applied
challenge to a regulation, that challenge can proceed without invalidating the underlying
regulation. Assumption Application C at 12. This analysis appears to suggest that as long as the
underlying regulatory program remains valid, takings law does not inhibit successful
implementation of Florida’s program. However, the real question is whether it is easier for
private property owners to bring regulatory takings cases pursuant to Florida law such that less
404 permit mitigation would occur under a State program as compared to a federal program.
The State has not answered that question.

Importantly, the General Counsel Statement completely fails to address the Bert J. Harris, Jr.,
Private Property Rights Protection Act, Fla. Stat. 70.001 et seq. (“Harris Act”), which Florida’s
legislature enacted “to provide a remedy for private landowners where their property has been
inordinately burdened by government action, but the government action does not amount to a
constitutional taking.” Cascar, LLC v. City of Coral Gables, 274 So. 3d 1231, 1234 (Fla. Dist.
Ct. App. 2019) (citing Fla. Stat. 70.001(1)) (emphasis added). The General Counsel failed to
flag, much less address, how this Act would not interfere with operation of a 404 program.
Without this explanation, the State has failed to meet the requirements of 40 C.F.R. § 233.12.

   2. Florida’s Scheme Does Not Ensure Protection of Species Listed Under the
      Endangered Species Act

Of particular consequence in Florida, the State’s assumption application does not comply with
the Clean Water Act’s 404(b)(1)’s no jeopardy requirement. The State wholly fails to
demonstrate how the state program would ensure no jeopardy to listed species. FDEP instead
relies on an anticipated, future programmatic biological opinion hoped to be produced from the
EPA’s ESA Section 7 consultation that would improperly punt all ESA determinations to state

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agencies. See Assumption Application B, app. j-2, at 5 (stating “coordination between the
USFWS and FDEP related to the proposed action’s effects on species will occur through the
technical assistance process, which is anticipated to be outlined in the USFWS’s biological
opinion based on information included in the biological assessment submitted by EPA”);
Memorandum of Understanding between Fla. Fish & Wildlife Conservation Comm’n, U.S. Fish
& Wildlife Servs., & the Fla. Dep’t of Env’t Prot., Aug. 5, 2020 (Exhibit 57).

Under a programmatic Section 7 consultation, the EPA must review Florida’s proposed criteria
and process for ensuring state issued permits will not cause jeopardy to listed species. More
importantly, the EPA may only approve Florida’s program if it determines the program fulfills
the no jeopardy requirement. 40 C.F.R. § 233.15(g). According to FDEP, “[b]ecause of the
terms and conditions anticipated in the Program assumption BiOp and its [Incidental Take
Statement (“ITS”)], the State 404 program would not issue a permit that would jeopardize the
continued existence of a species or adversely modify designated critical habitats.” Fla. Dep’t
Env’t Prot., ESA Biological Assessment for Clean Water Act Section 404 Assumption by the
State of Florida iv (Jul. 24, 2020) (Exhibit 58) [hereinafter “BA”]. FDEP’s application however
does not contain any such criteria or even the Biological Assessment. Without the criteria in
FDEP’s application of how it will achieve this requirement, the EPA cannot (1) determine
Florida’s application is complete, (2) determine whether Florida can fulfill the guidelines’ no
jeopardy mandate or (3) approve Florida’s assumption. See 40 C.F.R. §§ 233.1(a), 233.15(g);
Letter from Bonnie Malloy, supra.

Even if a programmatic biological opinion were produced prior to the EPA’s assumption
decision deadline, it was not part of FDEP’s application and has not been part of the
administrative review process or subject to notice and comment. 40 C.F.R. § 233.15(a), (e)
(requiring the EPA to provide a comment period of not less than 45 days on a state’s complete
application and provide a copy to U.S. Fish & Wildlife Service (“USFWS”) and National Marine
Fisheries Service (“NMFS”) to review and comment). The EPA would be ignoring its own
procedural regulations, and basic tenets of administrative law, to allow Florida to retroactively
complete its application and circumvent notice and comment requirements. The EPA simply
cannot approve Florida’s assumption application based on a biological opinion outside the




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public’s scrutiny, when the State is relying on that opinion to claim compliance with
requirements to assume jurisdiction over the 404 program. 10

Tellingly, in anticipation of Florida’s application, the EPA sought public comment on whether
consultation under ESA Section 7 is required when the EPA reviews a state or tribal request to
assume CWA § 404 duties. 85 Fed. Reg. 30,953 (May 21, 2020). The EPA’s former position
was that this was a non-discretionary decision and thus did not trigger ESA Section 7
consultation. Letter from Peter S. Silva, U.S. Env’t Prot. Agency, to Steven Brown, Env’t
Council of the States, Dec. 27, 2010 (Exhibit 59). Florida, however, urged the EPA to reverse
course, and it did.

While we agree that consultation should take place, 11 Florida’s proposal (now adopted by the
EPA) for how a programmatic biological opinion would be treated as ensuring no jeopardy is
gravely flawed. Moreover, the actual process Florida claims it will follow to ensure no jeopardy
has not been finalized, much less submitted for public review and comment. As a result, two
flaws fatal to Florida’s application emerge: (1) Florida has not demonstrated that its program will
ensure no jeopardy, and (2) the public has been deprived of an opportunity to review Florida’s
plan and so be able to comment on whether Florida’s proposal will ensure no jeopardy.

With over 130 listed species, more than 7,700 lakes (greater than 10 acres), 33 first-magnitude
springs, 11 million acres of wetlands, almost 1,200 miles of coastline, and approximately 27,561
linear miles of rivers and streams, water and biodiversity are two of Florida’s most prominent
features. 12 Section 7 consultation in Florida therefore will involve analyzing limitless projects
blanketing most of the State to determine their potential impacts on numerous listed species.
FDEP admits in its Biological Assessment that “[b]ecause of the statewide nature of this request,
the numerous covered species and diverse habitats, as well as lack of knowledge with respect to

10
   Moreover, similar to pesticide registrations, 404 program assumption has broad geographical
effects making ESA Section 7 consultation one of the most complex which should generate national
consultation procedures like public comment. See U.S. Fish & Wildlife Servs. & Nat’l Marine
Fisheries Serv., Endangered Species Consultation Handbook 5-3 to 5-4 (Mar. 1998) (Exhibit 60)
(Comparing 404 program assumption to pesticides registrations which generates national
consultation requests); U.S. Env’t Prot. Agency, et al, Enhancing Stakeholder Input in the Pesticide
Registration Review and ESA Consultation Processes and Development of Economically and
Technologically Feasible Reasonable and Prudent Alternatives, Doc. Id. EPA-HQ-OPP-2012-0442-
0038 (Mar. 19, 2013) (Exhibit 61) (providing pesticide registrations with public comment because of
ensuring protection of the species will benefit from the general public’s input).
11
   See Letter from Kristen L. Boyles, Earthjustice, to Kathy Hurld, U.S. Env’t Prot. Agency, Jul. 6,
2020 (Exhibit 62).
12
   See Fla. Fish & Wildlife Conservation Comm’n, Florida’s Official Endangered And Threatened
Species List, 4 (2018) (Exhibit 63); Purdum, supra; Fla. Dep’t of State, Quick Facts (Exhibit 64);
U.S. Geologic Survey, supra; Fla. Dep’t of Env’t Prot., 2016 Integrated Water Quality Assessment
for Florida 34 (2016) (Exhibit 65).
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where and what type of future permits may be requested, a meaningful site-specific and species-
specific analysis is not possible this BA.” Fla. Dep’t of Env’t Prot., ESA Biological Assessment
for Clean Water Act Section 404 Assumption by the State of Florida iv (Jul. 24, 2020) (Exhibit
58); see also Letter from James Murphy, Nat’l Wildlife Fed’n, to Kathy Hurld, U.S. Env’t Prot.
Agency, Jul. 6, 2020 (Exhibit 66). FDEP, however, expects a programmatic biological opinion
to be completed in only a few months’ time to allow the EPA to meet its assumption decision
deadline (which stems from the erroneous determination that Florida’s application was complete
when submitted).

ESA Section 7 consultation on whether the EPA’s approval of Florida’s assumption application
will jeopardize listed species is a complex, fact intensive analysis. ESA Section 7(a)(2) first
places a procedural obligation on the EPA to initiate consultation with FWS and NMFS “at the
earliest possible time” to determine what effects a state’s assumption of the Section 404 program
may have on endangered and threatened species and their critical habitats. ESA § 7(a)(2) next
places a substantive obligation on the EPA to ensure its actions will not jeopardize the continued
existence of endangered and threatened species or destroy or adversely modify their critical
habitats. 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14.

The ESA’s implementing regulations dictate the precise requirements for satisfying this
substantive obligation. Letter from Kristen L. Boyles, supra. To fulfill the ESA Section 7
consultation requirement, USFWS and NMFS must use the best scientific and commercial data
available. 16 U.S.C. § 1536(a)(2), (b)(4). Note that even mixed programmatic actions require
incidental take statements at the programmatic level if the actions are “reasonably certain to
cause take and are not subject to further section 7 consultation.” 50 C.F.R. § 402.14(i)(6). The
agency cannot merely list a state’s threatened and endangered species, dismiss further analysis as
requiring too much speculation, or punt all meaningful analysis to the state at some future time.

Florida, however, has proposed that USFWS and NMFS engage in a one-time consultation that
would only identify procedural requirements for state permitting under Section 404 needed to
support the USFWS’ determination that assumption would not result in jeopardy to any listed
species. Fla. Dep’t of Env’t Prot., EPA Approval of State Assumption of Clean Water Act
Section 404 Program: Streamlined Approach to Address Endangered Species Act Incidental
Take Coverage 1–2 (Exhibit 67). FDEP even provided a Biological Assessment to the EPA in
hopes to achieve this goal. FDEP’s Biological Assessment was never subject to notice and
comment during the State’s rulemaking process, nor has it been during the EPA’s consideration
of the State’s 404 program application.

Although referenced in Florida’s application, the Biological Assessment has proceeded in a
parallel process outside the public eye. Like the anticipated programmatic biological opinion,
the Biological Assessment is not part of FDEP’s application and therefore cannot be relied on to

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satisfy the no jeopardy mandate. Moreover, the Biological Assessment suffers numerous flaws
that render it inadequate to support a programmatic biological opinion.

At its core, the Biological Assessment fails to be as protective as the current federal process.
First, the Biological Assessment fails to provide site-specific information, thereby preventing the
intended state implementing agencies (FDEP and the Florida Fish and Wildlife Conservation
Commission (“FWCC”)) from even determining the effect of various specific permitting actions.
Without site-specific information, FDEP’s jeopardy analysis will be flawed. For example, the
Biological Assessment includes only about half a page on the state mammal, the critically
endangered Florida Panther, even though it is estimated that the current remaining population is
only 120–230 adult individuals 13 and is in danger of extinction. 14 With such little information,
how can FDEP which has no expertise in the subject be able, even at the project level, to conduct
the necessary analysis to ensure no jeopardy?

Additionally, the Biological Assessment provides very limited—almost nonexistent—
information about the cumulative impacts of the State’s assumption program. The Biological
Assessment fails to adequately address the environmental baseline, status of the species, effects
of the action, or reasonable and prudent measures designed to reduce any take identified.
Instead, these are all punted to the state agencies to decide at the project level. There are other
flaws contained in the Biological Assessment as well, including but limited to, lack of
information on what constitutes “suitable habitat;” unreasonably short timeframe for USFWS to
decide if it will comment; FDEP and FWCC will make effect determinations and assume no
comment from USFWS if there is silence (no duty to check); designation of the key deer and red
cockaded woodpecker as not regularly utilizing wetlands despite their state or county wetland
dependent designations. BA at 87, tbl. 3-1, 23.

While programmatic consultation allows consultation on an agency’s multiple actions on a
program, including a proposed program or regulation that provides a framework for future
proposed actions, 50 C.F.R. § 402.02, under Florida’s proposal, the truncated consultation would
essentially give the EPA wholesale approval from the USFWS and NMFS for specified and
foreseeable actions without any analysis of the effects of the whole action, jeopardy
determinations, or take limits, all in direct contravention to the ESA’s mandate, implementing
regulations, and numerous court holdings. See, e.g., Conner v. Burford, 848 F.2d 1441, 1453–54
(9th Cir. 1988); N. Slope Borough v. Andrus, 642 F.2d 589, 608 (D.C. Cir. 1980); Wild Fish
Conservancy v. Salazar, 628 F.3d 513, 521 (9th Cir. 2010); Forest Serv. Empls. for Env’t Ethics
v. U.S. Forest Serv., 726 F. Supp. 2d 1195, 1225–26 (D. Mont. 2010). Under such an approach,

13
   See U.S. Fish and Wildlife Serv., Florida Panther Population Estimate Updated, Feb. 22, 2017
(Exhibit 69); U.S. Fish and Wildlife Serv., Florida Panther Recovery Plan, 3rd rev. at viii (2008)
(Exhibit 69).
14
   See U.S. Fish and Wildlife Serv., Florida Panther 5-Year Review 19 (2009) (Exhibit 70).
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the USFWS and NMFS will have failed to fully consult on the action and the EPA will not
satisfy its burden to ensure that the proposed action is not likely to jeopardize listed species or
destroy or adversely modify critical habitat.

Indeed, even under a programmatic consultation, if assumption is approved, the jeopardy
analysis cannot end there. States like Florida must still ensure there will be no jeopardy to listed
species prior to the issuance of permits for the discharge of dredged or fill material pursuant to
the Clean Water Act’s 404(b)(1) guidelines. A state’s program must be at least as stringent as
the federal program, which expressly requires that both individual and general permits comply
with the ESA. Overarching programmatic consultation does not relieve the State of its
responsibility to determine at the site-specific permit level whether there will be no jeopardy to
listed species prior to the issuance of permits for the discharge of dredged or fill material
pursuant to the Clean Water Act’s 404(b)(1) guidelines. FDEP’s application however is silent on
how this will be accomplished.

What is known about the EPA’s Section 7 consultation process demonstrates that it is flawed in
other respects as well, rendering any potential resulting programmatic biological opinion
insufficient. First, NMFS made a critical error when failing to consider the entire area that will
be affected by Florida’s assumption. See 16 U.S.C. 1536(a)(2); 50 C.F.R. § 402.02.
Accordingly, NMFS is not engaging in the Section 7 consultation on Florida’s 404 assumption,
and the EPA will not satisfy its consultation duty. NMFS instead is merely “assum[ing] that the
EPA will make a ‘no effect’ determination for NMFS’ ESA-listed species that were originally
identified as part of this proposed assumption.” Id. This notion is based on NMFS’ recent
determination that “Endangered Species Act (ESA)-listed species under NMFS’ jurisdiction do
not occur in waters that are assumable by the state.” See Letter from Cathryne Tortorici, Nat’l
Marine Fisheries Serv., to Heather Mason, Fla. Dep’t of Env’t Prot., Apr. 15, 2020 (Exhibit
71). 15 NMFS’ jurisdictional determination however is inconsistent with federal law.

Section 7 consultation must occur for species and critical habitat that are in the “action area” and
“action area means all areas to be affected directly or indirectly by the Federal action and not
merely the immediate area involved in the action.” 50 C.F.R. 402.02(d). NMFS holds that all of
the species under its jurisdiction occur in waters that will be retained under the Corps’
jurisdiction and thus the agency need not consult. To the contrary, the “action area” isn’t limited
to the assumed waters, it also includes areas that would experience downstream impacts.
Without consulting NMFS, there will be no consideration of whether the no-jeopardy mandate in



15
  Based on NMFS’ determination, FDEP’s Memorandum of Understanding (MOU) with USFWS
and FWCC outlining their plan for state agencies’ technical assistance and limited federal oversight
excludes NMFS all together.
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the Clean Water Act’s 404(b)(1) Guidelines is achievable for NMFS’ species experiencing
downstream impacts.

Next, Florida’s proposal is also asking the EPA to delegate its obligations under ESA Section
7(a)(2) to non-federal parties. FDEP’s application and MOU with USFWS and FWCC lay out a
process whereby the EPA will rely on a future, abridged programmatic biological opinion that
merely instructs FDEP and FWCC to determine at the project level if an activity may affect
listed species or critical habitat, determine whether there will be jeopardy, and determine what
conditions may be necessary to ensure no jeopardy. FDEP’s proposal unlawfully delegates the
initial effects determination to FDEP (and likely the applicant who will be asked to identify
whether species are affected). These determinations must be made by a federal agency. See 16
U.S.C. § 1536(a)(2); Selkirk Conservation All. v. Forsgren, 336 F.3d 944, 955 (9th Cir. 2003)
(“[F]ederal agencies cannot delegate the protection of the environment to public-private
accords.”); Gerber v. Norton, 294 F.3d 173, 184–86 (D.C. Cir. 2002) (USFWS may not delegate
species protection obligations to a private permit applicant).

Yet FDEP’s application relies on FWCC’s assistance to determine impacts to listed species to
justify FDEP’s ability to adequately ensure no jeopardy to species and to satisfy the Clean Water
Act’s 404(b)(1) guidelines. See, e.g., Assumption Application B, app. (a)-1. FDEP’s application
and MOU with USFWS and FWCC creates a procedure for FDEP and FWCC to conduct the
necessary species analyses and in fact perform more functions than the Corps currently does
under the Federal 404 program. FDEP and FWCC will do initial determinations, determine the
adequacy of avoidance measures, and determine the effect of the project. FDEP is relying on
FWCC to “ease the transition of the State 404 Program, providing faster and more accurate
project reviews and effect determinations as compared to FDEP staff alone.” Assumption
Application B, app. j-2, at 9–10. While the MOU states USFWS’ position is “determinative,”
there is nothing requiring USFWS to act nor is the MOU incorporated by law. Id. Moreover,
USFWS’ oversight on future permits is limited and highly dependent on their ability—and
desire—to respond within the anticipated insanely tight timeclock restrictions. BA at 77.
Indeed, nothing in state law prevents FDEP from ignoring USFWS’s recommendations. 16

Lastly, the Florida Constitution grants FWCC only the power to regulate wildlife and freshwater
and marine life. Fla. Const, art. IV, § 9. FDEP has not demonstrated that it has the authority to
regulate species under state law that it now claims it would exercise in a state-assumed program.
In addition, under Florida law, FWCC is constitutionally barred from regulating water pollution.
“Unless provided by general law, [FWCC] shall have no authority to regulate matters relating to
air and water pollution.” Id. FWCC therefore cannot lawfully exercise its authority over species


16
   Indeed, the fact that some of FDEP’s, USFWS’, and FWCC’s duties and requirements only appear
in the MOU raises questions as to their enforceability by affected private citizens.
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regulation to act as an essential decision-maker in Section 404, which is a water pollution
program.

     3. FDEP Does Not Have Sufficient Resources to Adequately Implement a State 404
        Program

FDEP lacks the necessary the resources to properly implement, operate and enforce a State 404
program, particularly when FDEP has been unable to adequately resource its existing
obligations. The substantial impact the COVID-19 pandemic has had on state coffers only
strains FDEP’s resources further, undermining its baseless claim that it can take on a 404
program without a cent in additional resources. 17

FDEP’s application summarily asserts it can rely on existing resources to administer and enforce
a 404 program while failing to disclose, among other things: (1) FDEP’s failure to meet existing
regulatory obligations; (2) the significant budget cuts brought on by the global pandemic; and (3)
the resource status and needs of other state agencies on which FDEP expects to rely to fulfill
obligations under Section 404.

To determine the adequacy of Florida’s authority and ability to administer the Clean Water Act
Section 404 program, the EPA must assess the funding and manpower available for program
administration and the estimated workload. 40 C.F.R. § 233.1(a); 40 C.F.R. § 233.11. As raised
already to the EPA, the holes in FDEP’s application alone require the EPA to deny Florida’s
application or determine that FDEP’s application is incomplete and require an adequate funding
and staffing plan before resuming review of its application. See 40 C.F.R. § 233.11(d) (program
description must include “[a] description of the funding and manpower which will be available
for program administration”); Letter from Bonnie Malloy, supra.

FDEP’s fanciful plan entails “reallocat[ing] existing positions and staff time from elsewhere in
[FDEP]” (without demonstrating that FDEP has no competing duty to meet its “elsewhere”
obligations) and offset the workforce losses to existing programs with new “efficiencies
throughout [FDEP]” (without articulating what those efficiencies would be). Assumption
Application B, app. e., at 8. FDEP however only vaguely addresses these supposed
“efficiencies” in its application—with a few potential examples like online applications—but
fails to identify or quantify the workload or positions these basic efforts would eliminate or
quantify gains that might be realized.

17
   FDEP has also recently been given more new duties to complete with limited staff and resources.
Ryan Dailey, Florida DEP Gets New Duties, Including Septic Systems Oversight, Under New Law,
WFSU, Jun. 30, 2020 (Exhibit 72). The Florida legislature recently transferred authority of septic
tank inspection from the Florida Department of Health to FDEP. FDEP was also directed to update
its regulations that apply to storm water systems. Id.
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In short, FDEP asks the EPA to take its word that the agency will figure its way out of having to
allocate a single cent to operate and enforce an entire federal wetlands permitting program that
has cost other states millions of dollars to undertake. 18 This fails to demonstrate FDEP’s ability
to competently administer a state program, and calls into question the adequacy of any program
that would not require a penny more to run.

FDEP’s 404 Assumption Application likewise does not fully address or disclose all costs that
will necessarily be associated with administering a 404 Program. For example, FDEP fails to
address: initial resources needed to process all pending (160) applications at the time of
assumption, resource needs and costs required for compliance and enforcement of the pending
applications that are approved, sufficient staffing, an adequate audit process, costs associated
with reissuing general permits, the large area of permits where the claimed “85%” overlap of
work with the ERP Program will not be achieved, and several costs associated with
implementation. See Doug Fry Aff. (Nov. 2, 2020) (Exhibit 73).

More specifically, FDEP will have to take over an estimated 160 pending 404 permit
applications but has failed to even identify how many trained staff it has or will be needed to
address this sudden influx and the necessary compliance and enforcement which will
automatically follow. Id. at 5–8. FDEP has also not substantiated how they arrived at this 85%
overlap figure which would not apply to FDEP’s new workload of processing 404 permits for
activities permitted under the ERP Program by the Water Management Districts and delegated
local governments. Id. at 15. For these 404 permits, FDEP would not be processing the ERP
permit nor does it have the in-house expertise to do so. Id. at 15–17. The projects processed
under the ERP program by the Water Management Districts, for instance, are typically much
larger in size and scope (i.e., seawall versus 10,000 acre commercial development), require in
depth engineering review, involve hydrology expertise, and are more often located in inland
freshwater systems (opposed to FDEP’s experience with ERP in mainly coastal systems). Id.

The staffing numbers that FDEP has provided are unrealistically low, id. at 8–10, and have not
been supported with the underlying data necessary to evaluate them. See Assumption
Application B, app. e (tables are missing underlying data and limited methodology is unclear).
These estimates also failed to account for the time spent reviewing permits that were denied or
withdrawn. Id. at 8.

FDEP’s proposal also includes reliance on other state agencies, FWCC and the State Historic
Preservation Office (“SHPO”), to ensure protection of listed species and cultural resources.


18
  Compare 404 Assumption SERC with Fla. Dep’t of Env’t Prot., Statement of Estimated
Regulatory Cost, 62-330 (2012) (Exhibit 74).
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Memorandum of Understanding between Fla. Fish & Wildlife Conservation Comm’n, U.S. Fish
& Wildlife Servs., & the Fla. Dep’t of Env’t Prot., Aug. 5, 2020; Operating Agreement between
Fla. Dep’t of Env’t Prot. & the Fla. Div. of Hist. Ress.-State Hist. Pres. Officer Regarding the
State 404 Program, Aug. 6, 2020. However, Florida’s description of funding and manpower
contains no information regarding the funding and manpower, if any, available at either of those
state agencies to meet the obligations of an assumed 404 program. FDEP’s memorandums also
do not commit these agencies to increasing their budgets to implement the Florida Program.
Assumption Application B, app. j-1, j-2.

Interestingly, staff at both of those agencies have even expressed concern with FDEP’s plan and
their ability to administer the 404 program. See Email from Lisa Gregg, Special Activity
License Program, Fla. Fish & Wildlife Comm’n, to Jennifer Goff, Conservation Planning
Services, Fla. Fish & Wildlife Comm’n, Jan. 14, 2020, 11:26 EST (“FDEP permit processors
can’t keep up with their current workload now and appropriately consider the impacts of
proposed actions to fish and wildlife resources even if you hand it to them on a platter, much less
if you added to their workload.”); Operating Agreement between Fla. Dep’t of Env’t Prot. & the
Fla. Div. of Hist. Ress.-State Hist. Pres. Officer Regarding the State 404 Program at 9 (draft)
(rev’d May 29, 2020) (Exhibit 75) (in response to a 15-day response deadline for a permittee’
pre-review request SHPO employee stated “Providing consistent comments within 15 days may
not be feasible for our Compliance Section.”).

The unprecedented budget strains the State is now facing will make it impossible to recover any
semblance of staffing and funding that would make assumption of a Section 404 program
feasible any time soon. Tax revenues for the State plummeted in April, May and June 2020 as a
result of the pandemic. In July 2020, Governor DeSantis vetoed $1 billion in spending from the
2020–2021 budget in response to the crisis. In August 2020, Florida agencies were asked to cut
8.5% of their budgets to adjust for the anticipated $3.4 billion loss for Fiscal year 2020–2021
resulting from the pandemic. See Christine Sexton, Florida Agencies Asked to Cut 8.5 Percent
to Adjust for COVID-19, Tampa Bay Times, Aug. 12, 2020 (Exhibit 76); Fla. Off. of Econ. &
Demographic Rsch., Executive Summary: Revenue Estimating Conference for the General
Revenue Fund & Financial Outlook Statement (Aug. 14, 2020) (Exhibit 77).

Florida has not acknowledged these important facts, much less addressed how its state agencies
can be expected to do more—namely administer a new, complex Section 404 program—with so
much less. See, e.g., Doug Fry Aff. FDEP’s claim that it will be able to operate a Section 404
program without any additional funding from the State is untenable as further evidenced by the
millions of dollars (ranging from 2–3 million to as much as 18 million) other states pursuing




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assumption have estimated it to cost. 19 FDEP’s position can only mean it would treat a 404
program the same as its existing ERP program or suggests that FDEP simply will not adequately
implement, operate or enforce a Section 404 program. Both are indefensible and require the
EPA to deny FDEP’s assumption application.

     4. FDEP’s Enforcement Record Continues to Demonstrate an Incapacity to
        Adequately Enforce Existing Programs, Much Less Adopt New Ones

As was described above, FDEP was gutted in recent years. Editorial: The Rick Scott Record: An
Environmental Disaster, Tampa Bay Times, supra (observing that the Rick Scott administration
had reduced water management budgets, rushed through permitting, weakened enforcement,
caused widespread layoffs, provoked a brain drain of experts in the field, and replaced experts
with political appointees focused on advancing business interests rather than environmental
stewardship).

As a result, FDEP has been unable to meet its existing obligations to operate and enforce
programs already under its purview. This fact is amply demonstrated in the widespread impaired
waters throughout the State, as well as the recurring toxic algae crisis that has made national
headlines and FDEP’s grossly inadequate record of enforcing its existing programs. See, e.g.,
Doug Fry Aff. (Exhibit 73); PEER, Report on Enforcement Efforts by the Florida Department of
Environmental Protection: Calendar Year 2019 6 (2020) (Exhibit 81).

Year after year, analyses of FDEP’s enforcement record have demonstrated an inability or
unwillingness to meet enforcement obligations, ensure compliance with existing programs, and
ultimately provide requisite protection to the State’s valuable natural resources. See Press
Release, PEER, Florida Eco-Noncompliance Rises as Enforcement Wanes, Jun. 22, 2020
(Exhibit 82); PEER, Report on Enforcement Efforts By the Florida Department of
Environmental Protection Calendar Year 2019 (2020) (Exhibit 81); Press Release, PEER, Fewer
Florida Eco-Inspections Equals Less Compliance, Sept. 17, 2019 (Exhibit 83); PEER, Report on
Enforcement Efforts By the Florida Department of Environmental Protection Calendar Year
2018 (2019) (Exhibit 84); Press Release, PEER, Florida Racks up Second Worst Eco-
Enforcement in 30+ Years, Jul. 17, 2018 (Exhibit 85); PEER, Report on Enforcement Efforts By


19
  See, e.g., Va. Dept. of Env’t Quality, Study of Costs and Benefits of State Assumption of the
Federal § 404 Clean Water Act Permitting Program 2 (Dec. 2012), (Exhibit 78) (estimating
assumption to cost $18 million over the first 5 years and $3.4 million annually thereafter); Minnesota
Federal Clean Water Act Section 404 Permit Program Feasibility Study ix (Jan. 2017), (Exhibit 79)
(estimated cost increase for state agencies is 4.796 million per year plus a one-time $3 million cost
for developing online permitting systems); Az. Dep’t of Env’t Quality, Clean Water Act § 404
Assumption Roadmap Review Meeting 22 (Exhibit 80) (estimating assumption to cost $2.5 million
annually and to be funded by application fees).
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the Florida Department of Environmental Protection Calendar Year 2017 (2018) (Exhibit 86);
Press Release, PEER Florida Eco-Enforcement Still Scraping Bottom, Aug. 29, 2017 (Exhibit
87); PEER, Report on Enforcement Efforts By the Florida Department of Environmental
Protection Calendar Year 2016 (2017) (Exhibit 88).

FDEP’s own performance audits and employee testing show that it has failed in many respects to
effectively administer its existing ERP Program, the same program the state now touts as the
reason why it can so easily assume a 404 program without any additional resources. Internal
audit records and employee testing provided to Earthjustice in response to public records
requests demonstrate that FDEP has failed to adequately administer the ERP program and show
FDEP’s consistent inability to properly review permit applications and monitor and enforce
issued permits.

For example, in 2013, FDEP staff were tested along with staff from Water Management Districts
and specific counties in Florida to assess their skills in delineating wetlands. 2013 Training Test
Module Result Summary and Analysis (Exhibit 89) “Though each [FDEP] district tended to
have a few relatively high scores, the rest fell across a very wide range, often with the majority
being below the statewide average.” Id.

The same issues arise when reviewing the audit reports of FDEP staff’s ERP permits. For
example, the ERP Individual Permit Review for 2015 found that FDEP staff completed site
inspections when required in less than half of reviewed examples, most documentation of
wetlands impacts was “minimal,” and only 24% of projects reviewed that required mitigation
provided appropriate mitigation. Allyson Minick & Heather Mason, Submerged Lands & Env’t
Res. Coordination, Fla. Dep’t of Env’t Prot., 2015 ERP Individual Permit Reviews 13–14 (as
edited 2017) (Exhibit 90). More recent audits of individual permits continue this pattern: few
site inspections when required, inadequate mitigation required, and documentation of wetlands
impacts missing. See (Exhibit 91) (compilation of individual permit audits provided to
Earthjustice in response to public records requests).

Individual audits of compliance and enforcement activities for FDEP’s existing ERP program
that were provided to Earthjustice in response to public records requests are similarly littered
with examples of inadequate documentation, assessment of insufficient or inaccurate penalties,
requiring inappropriate or insufficient corrective actions. See (Exhibit 92) (compilation of
compliance and enforcement audits provided to Earthjustice in response to public records
requests)

Testimony during EPA’s public hearings on Florida’s assumption application also revealed
extensive concerns over FDEP’s failure to competently administer many of its other programs as
well, such as its Total Maximum Daily Loads Program, Basin Management Action Plans, and

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National Pollutant Discharge Elimination System Stormwater Program. Oct. 21, 2020, Hearing
Transcript; Oct. 27, 2020, Hearing Transcript.

The consequences of allowing an ill-equipped FDEP to administer the proposed Section 404
program are made all the more stark by the EPA’s decision to waive almost all oversight of
Florida’s program otherwise available under the Clean Water Act, see 33 U.S.C. § 1344(j)-(k),
that is not required to be retained under 40 C.F.R. § 233.51(b). Memorandum of Agreement
between Fla. Dep’t of Env’t Prot. & U.S. Env’t Prot. Agency at III(b) (Jul. 31, 2020). EPA has
not approved an assumption program in decades, and much has changed in the law and wetlands
science since the early 1990s. Never has a state with the vast waterways, wetlands and listed
species that Florida enjoys assumed the 404 program. For EPA to ensure this high-stakes
assumption program complies with Section 404, EPA would have to retain the maximum
monitoring and oversight possible for a minimum of two years before relinquishing its Section
404(j) authority.

In any event, the fundamental flaws in Florida’s proposed program, combined with its utter lack
of resources and capacity to undertake a Section 404 program, demonstrate that the application
must be denied.

   5. Florida Does Not Afford Comparable Access to the Courts As That Available Under
      Federal Law

Critical to citizen enforcement of a Section 404 program, Florida’s access to the courts is far
more restrictive than that allowed under federal law. In its description of the “Administrative
and Judicial Review” procedures available in Florida, FDEP fails to mention any of the State’s
several features that make Florida’s administrative and judicial review procedures far more
restrictive those available under federal law. Assumption Application B, app. b.

For example, Florida’s “Environmental Protection Act” only authorizes “a citizen of the state” to
maintain an action for injunctive relief to compel government enforcement of environmental
laws or against a person or non-governmental entity for violating our environmental laws. Fla.
Stat. § 403.412(2)(a) (emphasis added). Paragraph (7) similarly states that “[i]n a matter
pertaining to a federally delegated or approved program, a citizen of the state may initiate an
administrative proceeding under this subsection if the citizen meets the standing requirements for
judicial review of a case or controversy pursuant to Article III of the United States Constitution.”
Id. § 403.412(7) (emphasis added). The ability to intervene in proceedings brought under this
statute is also limited to “citizens of the state.” Id. § 403.412(5).

Federal law, on the other hand, authorizes citizen suits under the Clean Water Act by “any
citizen,” 33 U.S.C. § 1365(a) (authorizing suit alleging violation of limitations under the chapter

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or against EPA for failure to perform non-discretionary duty or act). The term “citizen” is
defined as “a person or persons having an interest which is or may be adversely affected.” 33
U.S.C. § 1365(g). Unlike the State’s law, federal law does not require the adversely affected
person to be a citizen of the state where the interest lies.

In addition, a litigant bringing an action under Fla. Stat. § 403.412 is subject to a mandatory fee-
shifting provision that has no analog under the Clean Water Act. Under Fla. Stat.
§ 403.412(2)(f), attorneys’ fees must be imposed in favor of any prevailing party and against the
losing party, notwithstanding the good faith or merit of the litigant’s position. While the State’s
statute exempts actions involving a state-issued National Pollution Discharge Elimination
System permit from this mandatory fee-shifting provision, there is no such exemption for actions
involving a Section 404 permit. Id. § 403.412(2)(f). Mandatory fee shifting under Fla. Stat.
§ 403.412 operates as a barrier to court access for litigants unwilling or unable to risk an adverse
fee award no matter the strength of their case.

The Clean Water Act’s citizen suit provisions, by contrast, do not require mandatory fee shifting
to the prevailing party. Rather, the court “may award costs of litigation (including reasonable
attorney and expert witness fees) to any prevailing or substantially prevailing party” as the court
deems appropriate. 33 U.S.C. § 1365(d) (emphasis added).

Florida’s Administrative Procedure Act also restricts access to courts as compared to federal law,
by severely limiting the ability to establish standing. To establish associational standing, for
example, organizations must demonstrate that a “substantial number” of their members “are
substantially affected” by the challenged conduct. See Florida Home Builders Ass’n v. U.S.
Dep’t of Labor, 412 So.2d 351 (Fla. 1982); Farmworker Rights Org., Inc. v. Dep’t of Health &
Rehab. Servs., 417 So.2d 753, 754–55 (Fla. 1st Dist. Ct. App. 1982) (to establish associational
standing under section 120.57(1) organization must demonstrate that “a substantial number of its
members, although not necessarily a majority, are substantially affected by the challenged rule,”
that “the subject matter of the challenged rule is within the association's general scope of interest
and activity,” and that “the relief requested is of a type appropriate for a trade association to
receive on behalf of its members.”); St. Johns Riverkeeper, Inc. v. St. Johns River Water Mgmt.,
54 So. 3d 1051, 1054 (Fla. Dist. Ct. App. 2011) (under Florida APA, associational standing
requires showing of harm to substantial interests of a substantial number of members; finding
standing under sections 120.569 and 120.57 where organization had 1,500 members, including
50 in the relevant county, and that there had been more than 1,100 member participant ecological
boat trips to the area); Friends of the Everglades, Inc. v. Bd. of Trustees of Int’l Imp. Tr. Fund,
595 So. 2d 186, 188 (Fla. Dist. Ct. App. 1992).

Under federal law, on the other hand, associational standing may be established on the basis of a
single member’s harms resulting from the challenged conduct. See Sierra Club v. Johnson, 436

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F.3d 1269, 1279 (11th Cir. 2006) (associational standing of Sierra Club satisfied by affidavit of
one member who suffered injury in fact).

Florida’s more restrictive access to the courts would deprive affected parties of the ability to
vindicate rights and ensure citizen enforcement of Section 404. This further demonstrates that
the State should not be permitted to assume the program.

   6. Florida Has Not Adequately Defined Assumable Waters vs. Retained Waters

As demonstrated above, the issue of identifying Florida’s assumable, versus retained, waters is a
contentious issue with enormous consequences for the protections that will be afforded to
Florida’s waterways. The Corps’ sudden retreat to an exceedingly restrictive view of retained
waters is unreasonable, and not based in fact. We object to Florida’s unduly expansive view of
assumable waters—and to the Corps’ unduly restrictive view of retained waters—and fully
incorporate the comments raised in our letter to the Corps on April 18, 2018, as well as in our
October 23, 2020, letter to EPA. Letter from Tania Galloni, Earthjustice, to Jason A. Kirk, U.S.
Army Corps of Eng’rs, Apr. 18, 2018, supra; Letter from Bonnie Malloy, supra.

The Corps’ failure to follow through on its 2018 notice and comment opportunity for
stakeholders to weigh in on this critical question, and the Corps’ failure to perform the requisite
navigability assessments contemplated with that public notice, undermines the validity of its
current view that so few waters belong on its retained list. To the contrary, federal law requires
that the Corps retain jurisdiction over many more important waterways in Florida. The Corps’
ceding jurisdiction over those waters to Florida for purposes of 404 assumption violates the
Rivers and Harbors Act and renders EPA approval of such a program untenable.

In addition, the Corps has advised in the MOA between FDEP and the Corps, 40 C.F.R. §233.14,
to provide a retained waters GIS layer to the FDEP. However, this information has not been
provided to the public, despite multiple requests, nor, to the undersigned’s knowledge, has it
been provided to the State.

The Corps has not indicated whether that GIS layer will simply identify retained waters, whether
it will actually depict their mean high water lines (MHWL)/ordinary high water marks (OHWM),
or the actual pre-determined location of the administrative boundary. It can be quite difficult for
staff and applicants to determine such lines, marks, and boundaries, particularly if an applicant’s
property is not located directly abutting the MHWL/OHWM (where those lines might be
discernable by an applicant without a survey), and can be costly where the lines/marks need to be
determined by a registered professional.




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The only information provided to the public and the EPA is a list of waters provided in FDEP’s
application. 404 Handbook B, app. A. This list however fails to list numerous waterbodies that
were previously on the Corps Retained Waters List in 2017 and that were submitted to the Corps
during its comment period in 2018 discussed above in section III. The Conservancy of
Southwest Florida and Waterkeepers Florida both submit comments addressing these missing
waters which are incorporated herein. Letter from Amber Crooks, Conservancy of Sw. Fla., to
Kelly Laycock, U.S. Env’t Prot. Agency, Nov. 2, 2020 (Exhibit 93); Letter from Rachel
Silverstein, Miami Waterkeeper, et al., to Kelly Laycock, U.S. Env’t Prot. Agency, Nov. 2, 2020
(Exhibit 94).

Lastly, Florida’s adoption of an only 300-foot buffer zone is unreasonable and inadequate. The
only other states to have assumed a 404 program have utilized the more protective 1,000 foot
buffer, and no less should be required of Florida in order to satisfy the Clean Water Act.

   7. Florida’s Waterways, Public Cannot Afford to Lose Existing Federal Safeguards

Florida’s unique, and exceptionally valuable, waterways require the maximum protection
available under federal law, not a reduction in protections that would follow from FDEP’s
assumption of Section 404. History has taught that the availability of NEPA review, and the
involvement of the Corps in wetlands permitting, have been essential to safeguarding precious
resources in Florida.

      a. NEPA Safeguards Are Essential Protecting Florida’s Wetlands

As stated above, Florida has touted the loss of NEPA review under an assumed state program as
a “benefit” and “cost-saving” measure for permit applicants. It is a massive net loss, however, to
the public and to protection of Florida’s waterways.

Enacted in response to mounting crises across the nation, NEPA promised to correct the blind
eye that American policymakers had long turned to environmental impacts of federal agency
actions. See S. Rep. No. 91-296, at 4–5 (1969) (“As a result of this failure to formulate a
comprehensive national policy, environmental decisionmaking largely continues to proceed as it
has in the past. Policy is established by default and inaction. Environmental problems are only
dealt with when they reach crisis proportions. Public desires and aspirations are seldom
consulted. Important decisions concerning the use and the shape of man’s future environment
continue to be made in small but steady increments which perpetuate rather than avoid the
recognized mistakes of previous decades.”). Congress recognized that “[t]raditional policies
were primarily designed to enhance the production of goods and to increase the gross national
product .... [b]ut [that], as a nation, we have paid a price for our material well-being.” Id. With
the understanding that “the Nation cannot continue to pay the price of past abuse,” id., Section

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101 of NEPA imposes on the national government an obligation “to create and maintain
conditions under which man and nature can exist in productive harmony, and fulfill the social,
economic, and other requirements of present and future generations of Americans.” NEPA
§ 101(a), codified at 42 U.S.C. § 4331(a). The government thus had the “continuing
responsibility” to, among other things, “assure for all Americans, safe, healthful, productive, and
esthetically and culturally pleasing surroundings.” Id. § 101(b)(2).

NEPA also looked to the future: Congress committed the federal government to “fulfill the
responsibilities of each generation as trustee of the environment for succeeding generations.” Id.
§ 101(b)(1). Prior to NEPA, federal policymaking did not systematically consider long-term
environmental degradation. Instead, the “pursuit of narrower, more immediate goals” had
fostered increasing “threats to the environment and the Nation’s life support system.” See S.
Rep. No. 91-296, at 8–9 (“The challenge of environmental management is, in essence, a
challenge of modern man to himself. The principal threats to the environment and the Nation’s
life support system are those that man has himself induced in the pursuit of material wealth,
greater productivity, and other important values. These threats—whether in the form of
pollution, crowding, ugliness, or in some other form—were not achieved intentionally. They
were the spinoff, the fallout, and the unanticipated consequences which resulted from the pursuit
of narrower, more immediate goals.”). NEPA was enacted as a change in course, forcing
policymakers to consider “the long-range implications of many of the critical environmental
problems” facing the nation. See id. at 8.

To fulfill its promises, NEPA mandated that federal agencies consider the environmental impacts
of their decisions. NEPA § 102. Congress directed federal agencies to meet three goals: First,
federal decisions must be informed by detailed environmental analyses. Second, decision
makers must develop, study, and consider alternative courses of actions allowing a comparison
of the potential environmental impacts of such alternatives. Id. § 102(2)(C)(iii), (E); see Pub. L.
No. 94-83 (1975) (amending section 102(2) of NEPA). And third, agencies must involve the
public in this evaluation and decisionmaking process.

To this end, NEPA requires that the government:

       utilize a systematic, interdisciplinary approach which will insure the integrated use
       of the natural and social sciences and the environmental design arts in planning and
       in decisionmaking which may have an impact on man’s environment[.]

NEPA § 102(2)(A). Agencies must also provide a “detailed statement” on the environmental
impacts of proposed decisions “significantly affecting the quality of the human environment”
(known as an environmental impact statement or EIS). Id. § 102(2)(C). Within that detailed
statement, agencies must disclose “any” unavoidable adverse environmental effects of the

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decision. Id. § 102(2)(C)(ii). And they must disclose “any irreversible and irretrievable
commitments of resources which would be involved in the proposed action should it be
implemented.” Id. § 102(2)(C)(v). Moreover, NEPA does not allow agencies to ignore analytic
gaps: agencies must find ways to properly weigh “unquantified environmental amenities and
values.” See id. § 102(2)(b).

NEPA directs federal decisionmakers to study and consider alternatives to their decisions,
allowing comparisons the environmental impacts of such alternatives. See id. § 102(2)(C)(iii),
(E); Pub. L. No. 94-83 (1975) (amending section 102(2) of NEPA). In particular, federal
agencies must “study, develop, and describe appropriate alternatives to recommended courses of
action” in “any proposal which involves unresolved conflicts concerning alternative uses of
available resources,” even if its impacts do not rise to the level requiring an EIS. NEPA §
102(2)(E). See Pub. L. No. 94-83 (1975) (amending section 102(2) of NEPA).

NEPA mandates inclusion of and disclosure to the public and other governmental entities of
environmental impact analyses. The statute broadly directs agencies to act “in cooperation” with
governmental entities and the public in the decision-making process. NEPA § 101(a). Further,
agencies must make available “advice and information useful in restoring, maintaining, and
enhancing the quality of the environment” to “States, counties, municipalities, institutions, and
individuals.” Id. § 102(2)(G).

Unfortunately, as explored in more detail herein, Florida’s proposed assumption of the Section
404 program conflicts with NEPA’s mandate. The proposal, if accepted, would lead Florida’s
agencies to make decisions with significant, and sometimes devastating, environmental impacts
without ever considering those impacts in advance. It would raise barriers to public
participation. And at the end of the day, it would lead to poor decisions, increased litigation, and
less transparency.

There are many examples where the NEPA process has been essential to improving proposed
projects that would otherwise have had devastating impacts in Florida. The 2005 draft EIS for
the Everglades Agricultural Area Reservoir, for example, was the document that first raised
issues related to water quality highlighting the need for additional stormwater treatment acreage
as part of the project. The approach to water quality has improved in the most recent iteration of
the project earlier this year as environmental groups and agencies acknowledged the importance
of adequately addressing this important issue. The Corps’ initial 2018 NEPA analyses helped
further refine areas of uncertainty associated with the project that once addressed will improve its
final design and performance. Letter from S. Ansley Samson, Everglades Law Ctr., & Shannon
Estenoz, Everglades Found, to Mary B. Neumayr, Council on Env’t Quality, Aug. 20, 2018
(Exhibit 95).


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The Combined Operations Plan for the southern portion of the Central and Southern Florida
(C&SF) Project involved three increments of changes to operations in the southern portion of the
C&SF Project (over 3+ years). Through the associated NEPA processes, environmental and
economic stakeholders in South Florida and the Florida Keys were able to articulate proposed
operational changes to improve environmental conditions in Florida Bay, relying in part on the
information made available in draft EISs and environmental assessments describing the proposed
changes. Stakeholders continue to raise these issues in ongoing discussions of a final operations
plan for recently constructed restoration infrastructure. Because of NEPA, agencies were fully
informed of the broad range of stakeholder perspectives and of uncertainties related to the extent
to which these projects will deliver the return on taxpayer investment they are intended to
produce when operated under certain conditions. Id.

Florida has no state statutory counterpart to NEPA. Approving a state 404 program in Florida
therefore deprives the public of the procedural protections and opportunity to participate that are
available under federal law through NEPA.

State-issued permits would not be held to NEPA standards, or be subject to challenge in federal
court for failing to comply with NEPA. The public would thus be deprived of necessary
safeguards to ensure vital protections.

NEPA safeguards under federal law have been vital to protecting wetlands in Florida when
federal agencies have fallen short of their obligations. In Florida Wildlife Federation v. United
States Army Corps of Engineers, 401 F. Supp. 2d 1298 (S.D. Fla. 2005), for example,
deficiencies in complying with the NEPA process for a major development with significant
impacts on wetlands planned for Palm Beach County ultimately resulted in modification and re-
location of the project to avoid those impacts. There are many such examples where, when the
federal government failed to meet NEPA obligations, the agency was held to account under
NEPA, resulting in better process and outcomes for Florida’s environment. (Exhibit 96)
(compilation of articles from Florida, Protect NEPA, https://protectnepa.org/success-
stories/florida (last visited Nov. 2, 2020)).

       b. The Corps Has Served As Essential Backstop to Harmful FDEP Permit
          Approvals

As testimony throughout EPA’s public hearings illuminated, the Corps has acted as a backstop
for FDEP decisions that were not sufficiently protective of the environment. Oct. 21, 2020,
Hearing Transcript; Oct. 27, 2020, Hearing Transcript. Whether it is the reduced potential for
local political pressure or application of the NEPA process, the Corps does not always agree with
FDEP on what is permittable activities. For example, in 2016, FDEP issued a permit for a
mitigation bank known as Long Bar Pointe for 260.8 acres along 2 miles of coastline fronting on

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Sarasota Bay to Long Bar Pointe. Fla. Dep’t of Env’t Prot., Notice of Intent to Issue
Environmental Resource/Mitigation Bank Permit, No. 338349-001, Apr. 28, 2016 (Exhibit 97).
This was a highly controversial project that resulted in the demotion and firing of two FDEP
employees who raised concerns over the permit application. Bruce Ritchie, DEP Employee
Suspended in 2012 Speaks Out About Her Experience—and the Future, Politico, Mar. 3, 2017
(Exhibit 98) (Former FDEP employee discussing her demotion and the permittee’s ability to
pressure FDEP); Kathy Prucnell, Environmentalist Appeals Long Bar-DEP Mitigation Permit,
Islander (last visited Oct. 31, 2020) (Exhibit 99); Kathy Prucnell, Trio of FISH, Waterkeeper,
McClash Challenge Long Bar Permit, FISH Blog, May 24, 2016 (Exhibit 100). Months after
FDEP’s permit approval, the Corps refused to permit the Long Bar Pointe Mitigation Bank
finding it did not have the potential to provide sufficient compensatory mitigation to compensate
for unavoidable impacts to waters of the United States. Letter from Donald K. Kinard, Army
Corps, to Pete Logan, Long Bar Pointe, Sept. 14, 2016 (Exhibit 101). The Corps denied the
mitigation bank application a second time on May 5, 2017. Letter from Donald K. Kinard, Army
Corps, to Pete Logan, Long Bar Pointe, May 5, 2017 (Exhibit 102); Hannah Morse, Corps
Denies Long Bar Pointe’s Second Mitigation Bank Proposal, Bradenton Herald, May 5, 2017
(Exhibit 103). In other words, the Corps did not think it could actually operate as a mitigation
bank.

Conclusion

Based on the foregoing, we respectfully urge EPA to deny Florida’s application.




Sincerely,




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December 22, 2020

Andrew Wheeler, Administrator
U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460
wheeler.andrew@epa.gov

       Re:     EPA Approval of Florida’s Application to Assume Administration of a
               Clean Water Act Program (Docket # EPA-HQ-OW-2018-0640-0001;
               EPA-HQ-OW-2018-0640); Effective Date, Failure to Codify

Dear Administrator Wheeler:

On December 17, 2020, you announced EPA’s approval of Florida’s request for authorization to
assume jurisdiction over permitting under Section 404(a) of the Clean Water Act of 1972
(“CWA”), 33 U.S.C. § 1344, in waters of the United States. On December 22, 2020, EPA’s
approval of the program was published in the Federal Register, stating that “Florida’s program
assumption will be applicable December 22, 2020.” 85 Fed. Reg. 83,553 (Dec. 22, 2020).

To the extent EPA intended to convey an immediate effective date for the transfer of 404
authority to the state, we write to advise you that an immediate effective date is in violation of
the Administrative Procedure Act (“APA”), 5 U.S.C. § 553(d). Section 553(d) provides that
“[t]he required publication or service of a substantive rule shall be made not less than 30 days
before its effective date.” Id. The only exceptions to the 30-day period between publication and
effective date occur when the rule is: (1) a substantive rule that “grants or recognizes an
exemption or relieves a restriction;” (2) an interpretive rule or statement of policy; or (3) “the
agency otherwise provides for good cause found and published with the rule.” Id. § 553(d)(1)–
(3). None of those exceptions apply here.

EPA regulations require that notice of a state program approval be published in the Federal
Register, and provide that transfer of an approved 404 program to the state “shall not be
considered effective until such notice appears in the Federal Register” and that the U.S. Army
Corps of Engineers “shall suspend issuance” of 404 permits in state-assumed waters “on such
effective date.” 40 C.F.R. § 233.15(h). The regulations do not authorize an immediate effective
date. To comply with the APA, the transfer of 404 authority to a state is not effective until thirty
days following publication of EPA’s approval in the Federal Register.




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Moreover, EPA’s December 22, 2020, approval notice fails to codify the state program in the
Code of Federal Regulations, 40 C.F.R. Subpart H – Approved State Programs. See 85 Fed.
Reg. 57,853 (Sept. 16, 2020) (“If EPA approves this program, EPA will also codify the approved
program in 40 CFR 233 subpart H.”). Codification is required for all documents of an agency
“having general applicability and legal effect ... and ... relied upon by the agency as authority.”
44 U.S.C. § 1510(a); 1 C.F.R. § 21.1.

The state program therefore does not have the force of law, and the authority to administer
Section 404 of the Clean Water Act in Florida remains with the U.S. Army Corps of Engineers.

Sincerely,




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                UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                 Washington, D.C. 20460




                                                                                      OFFICE OF
                                                                                   GENERAL COUNSEL
                                            December 28, 2020

Justin G. Wolfe
General Counsel
Florida Department of Environmental Protection
3900 Commonwealth Blvd M.S. 35
Tallahassee, FL 3239


Re:      Effective Date of EPA’s Approval of Florida’s Application to Assume Administration of the
         Clean Water Act Section 404 Program


Dear Mr. Wolfe:

As you know, on December 17, 2020, EPA approved Florida’s request for authorization to
assume jurisdiction over permitting under Section 404(g) of the Clean Water Act of 1972
(“CWA”), 33 U.S.C. § 1344, in waters of the United States. On December 22, 2020, EPA published
notification of its approval of the program in the Federal Register, which stated that “Florida’s program
assumption will be applicable December 22, 2020.” 85 Fed. Reg. 83,553 (Dec. 22, 2020). That same
day, EPA received a letter from Earthjustice questioning the effective date of Florida’s 404 assumption. I
am writing to reaffirm that, as of December 22, 2020, Florida’s program is in effect.

The applicability date of December 22, 2020 is consistent with the CWA, its implementing regulations,
and the Administrative Procedure Act (“APA”). CWA Section 404(h)(2)(A) provides that if EPA
determines, based on a state program submittal, that a state has the requisite authority to administer the
Section 404 program, EPA shall approve the program and so notify the state and the US Army Corps of
Engineers (“Corps”). As soon as the state notifies the Corps that it is administering the program, the
Corps must suspend issuance of permits for activities with respect to which the state may issue permits.
33 U.S.C. § 1344(h)(2)(A). On December 23, 2020, Florida notified the Corps that effective December
22, 2020, FDEP is administering the Section 404 program as approved by EPA.

EPA’s regulations implementing CWA Section 404(h)(2)(A) clarify the process through which a state
program becomes effective and ensure transparency through Federal Register publication. Specifically,
pursuant to EPA’s regulations, if EPA approves the state’s Section 404 program, EPA notifies the state
and the Corps of its decision and publishes notice in the Federal Register. Transfer of the program to the
state “shall not be considered effective until such notice appears in the Federal Register.” 40 C.F.R. §
233.15(h). Pursuant to the regulatory requirements, EPA notified the state and the Corps of its approval,
and the program became effective on December 22, 2020 (the date that notice was published in the
Federal Register).
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The applicability date of December 22, 2020 also is consistent with the requirements of the APA. Under
that statute, a “rule” includes “statements of general or particular applicability and future effect” that
“implement, interpret, or prescribe law or policy.” 5 U.S.C. § 551(4). By contrast, an “adjudication”
refers to an “agency process for the formulation of an ‘order.’” Id. at § 551(7). “[O]rder” means the
whole or part of a final disposition, whether affirmative, negative, injunctive, or declaratory in form, of an
agency in a matter other than rule making but including licensing . . . .” Id. § 551(6). Agencies may use
adjudications to apply general rules to address specialized or fact-specific questions. See SEC v. Chenery
Corp., 332 U.S. 194, 202 (1947). EPA’s approval of Florida’s Section 404 program was an adjudication,
not a rulemaking, that applied the existing requirements of CWA Section 404 and 40 C.F.R. part 233 in
assessing Florida’s application to assume the program. Therefore, the APA’s requirement that the
effective date of a rule generally be delayed for 30 days, 5 U.S.C. § 553(d), does not apply to EPA’s
approval. Rather, the adjudication was immediately effective pursuant to the program effective date
process laid out in the CWA and implementing regulations cited above.

For the same reason that the APA’s requirements related to a rule’s effective date do not apply to EPA’s
approval of Florida’s Section 404 program, the statutory and regulatory requirements requiring rule
codification also do not apply. The Federal Register Act requires codification in the Code of Federal
Regulations for agency documents “having general applicability and legal effect . . . and . . . relied upon
by the agency as authority.” 44 U.S.C. § 1510(a). EPA’s approval of Florida’s program is not an agency
rule “having general applicability and legal effect,” but rather is an adjudication that applies general rules
to Florida’s specific program assumption application. The C.F.R. codification requirement therefore does
not apply to EPA’s approval of Florida’s program.

EPA has stated that it intends to codify the approved program in the C.F.R. 85 Fed. Reg. 57,853 (Sept.
16, 2020) (“If EPA approves this program, EPA will also codify the approved
program in 40 C.F.R. 233 subpart H.”). However, as explained above, EPA’s approval has taken effect
pursuant to the relevant provisions of the CWA and EPA’s regulations and is not contingent upon the
forthcoming codification. EPA’s plan to codify the program is for the sole purpose of ensuring
transparency and clarity about Florida’s program for the public, as well as for consistency with the
Agency’s past practice in approving states’ applications for Section 404 program assumption, not because
its approval is a rule that requires C.F.R. publication. Because EPA is not required to codify its approval
in the C.F.R., and such codification is immaterial to the effective date of EPA’s approval, the fact that it is
not yet codified is irrelevant for purposes of the effective date of Florida’s Section 404 program.

Congratulations on Florida’s assumption of the Section 404 program. We look forward to cooperating
with you in EPA’s oversight capacity to ensure the protection of Florida’s aquatic resources consistent
with the requirements of the CWA. If you would like to discuss further any of the topics discussed in this
letter, please do not hesitate to contact me.


                                          Sincerely,



                                          David Fotouhi
                                          Acting General Counsel




                                                       2
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                         Exhibit F
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January 20, 2021
Via Email sawyers.andrew@epa.gov

Andrew Sawyers, Director
Office of Water
Environmental Protection Agency (EPA)
1200 Pennsylvania Ave., NW
Washington, D.C. 20460

       Re:     Request for Expedited Action; Ctr. for Biological Diversity, et al., v.
               Wheeler, No. 1:21-cv-119-RDM (D.D.C. Jan. 14, 2021)

Dear Director Sawyers:

        On January 14, 2021, the Center for Biological Diversity, Defenders of Wildlife, Sierra
Club, Conservancy of Southwest Florida, Florida Wildlife Federation, Miami Waterkeeper, and
St. Johns Riverkeeper (collectively, the “Plaintiffs”) initiated this litigation to challenge EPA’s
recent approval of the state of Florida’s application to administer a Clean Water Act Section 404
permitting program. 33 U.S.C. § 1344(g)–(h). (See Exhibit 1 (Complaint).) EPA transferred
authority to administer Section 404 to the state without giving the state program legal effect by
claiming the approval was an “adjudication” rather than a rule, and failing to codify the program.
The Administrative Procedure Act (“APA”) grants EPA authority to “postpone the effective date
of action taken by it, pending judicial review.” 5 U.S.C. § 705. We respectfully request that
EPA recognize that the transfer of authority was not lawful or, alternatively, if EPA lawfully
promulgates a rule approving and codifying the state program, that the agency postpone its
effective date.

         EPA’s approval of Florida’s program represents a significant and unlawful departure
from longstanding policy and practice. The decision has national implications, as Administrator
Andrew Wheeler encouraged other states to follow this model when he announced the decision. 1
First, it relies on an unlawful programmatic biological opinion and incidental take statement
authorizing an unknown amount of take for an unknown number of endangered species, while
extending protection from liability to the state and state permittees, all by relying on a patently
deficient and unenforceable technical assistance process not authorized by Congress. Second, it
authorizes a program that shields an entire class of violations from criminal liability by imposing
a higher mens rea standard than the negligence standard required by the Clean Water Act. 2

1
  U.S. Envtl. Prot. Agency, EPA Approves Florida’s Request to Administer the Clean Water Act
Section 404 Program, YouTube (Dec. 17, 2020), https://youtu.be/QLUr-sMRRmo.
2
  The Court of Appeals for the Ninth Circuit recently held that EPA abused its discretion
approving a state program on this basis alone. See Idaho Conservation League v. U.S. Envtl.
Prot. Agency, 820 F. App’x 627 (9th Cir. 2020). Florida’s program suffers a number of other
deficiencies as articulated in the complaint, including by asserting jurisdiction over an
unprecedented, and unlawful, breadth of waters based on unsupported changes to the Corps’
retained waters list. 33 C.F.R. §§ 329.14, 329.16.
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        If expedited relief is not granted, Plaintiffs in the pending litigation are likely to suffer
irreparable harm. While the state unlawfully administers this program, Plaintiffs, the public, and
federally recognized tribes are also denied other rights and remedies available under federal law,
including the National Environmental Policy Act, 42 U.S.C. §§ 4321 et seq., and the National
Historic Preservation Act, 4 U.S.C. §§ 300101 et seq.

                                  Request for Expedited Action

        EPA claims to have effectuated the transfer of 404 authority to the state based on a
December 22, 2020, notice approving the application effective immediately. (Exhibit 2.) EPA
did not publish its approval of the state application as a rule, however, and did not codify the
state program. Instead, EPA took the position that the action was an “adjudication,” and that
codification was optional. (Exhibit 3.) Adjudications, however, are case-specific, individual
determinations that are judicial in nature and apply retroactively to parties in the dispute, not to
the public at large. Safari Club Int’l v. Zinke, 878 F.3d 316, 332–33 (D.C. Cir. 2017). A rule, by
contrast, includes agency actions of general or particular applicability designed to implement the
law. 5 U.S.C. § 551(4). If an agency action “has the force of law,” then it is a rulemaking. Gen.
Motors Corp. v. E.P.A., 363 F.3d 442, 448 (D.C. Cir. 2004). Codification is required for all
documents of an agency “having general applicability and legal effect.” 3 44 U.S.C. § 1510(a).

        For the transfer to have legal effect, EPA would have to publish the approval of the state
program as a rule and codify it. See 49 Fed. Reg 38,947-01 (Michigan program approval
published as notice and regulation, codified); 59 Fed. Reg. 9,933-01 (New Jersey program
approval published as final rule, codified); 85 Fed. Reg. 57,853, 57,855 (Sept. 16, 2020)
(indicating Florida approval would be published and codified). EPA would also have to allow at
least 30 days between publication of the rule and its effective date. 5 U.S.C. § 553(d).

        Based on the foregoing, we respectfully request that EPA: (1) recognize that the transfer
of authority has not been legally effectuated, and so notify the public and the state; (2)
alternatively, publish the notice of approval and codification of the state program as a rule, and
postpone the effective date of that rule pending judicial review, 5 U.S.C. § 705; and (3) initiate
withdrawal of the approval in accordance with 33 U.S.C. § 1344(i), 40 CFR § 233.53(b)–(c).




3
  On January 15, 2021, EPA posted to its website a prepublication notice of a rule to codify the
state program. (Exhibit 4.) The agency adhered to the position that its prior approval of the
program was an adjudication rather than a rulemaking, and that the adjudication effectuated the
transfer of authority and gave legal effect to the state program. (Id.) EPA described the
anticipated codification of the program as “voluntary and ministerial” (id.) and stated that it did
“not affect Florida’s authority to administer the CWA 404 program” (id.). The codification rule
was not published to the Federal Register website for public inspection by the close of business
on January 19, 2021. It also would not cure the agency’s failure to promulgate the program
approval as a rule.
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                                       Factual Background

        In a December 27, 2010, letter, EPA articulated its position that Section 7 consultation
under the Endangered Species Act (“ESA”) is not required when the agency transfers authority
over Section 404 to a state. (Exhibit 5.) To support this position, EPA relied on National
Association of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 673 (2007), which held
that the consultation and no jeopardy requirements of Section 7 are not triggered by the transfer
of Section 402 National Pollutant Discharge Elimination System (“NPDES”) permitting
authority to a state because the transfer is not discretionary, but mandated, once certain criteria
are met. While EPA recognized some differences between Sections 402 and 404, EPA
concluded that the same reasoning applied to transfers of authority under Section 404. (Exhibit
5.)

        In 2019, Florida asked EPA to engage in ESA Section 7 consultation with U.S. Fish and
Wildlife Services (“USFWS”) and National Marine Fisheries Service (“NFMS”) for purposes of
its consideration of the state’s request to assume jurisdiction over the 404 program. Florida
made this request for the purpose of securing a programmatic biological opinion and incidental
take statement to shield the state and its permittees from incidental take liability without having
to follow the process set forth by Congress in Section 10 of the ESA.

        On May 21, 2020, EPA invited “public comment on whether it “should reconsider its
current position that consultation under Endangered Species Act (ESA) section 7 is not required
when the EPA approves a state or tribe’s request to assume the Clean Water Act (CWA) section
404 dredged and fill permit program under the CWA.” 85 Fed. Reg. 30,953.

       While that question was pending before EPA, on August 5, 2020, USFWS and Florida
agencies developed a “Memorandum of Understanding” (“MOU”) which provided:

       Upon assumption of the Section 404 Program, coordination between the USFWS
       and FDEP related to the proposed action’s effects on species will occur through the
       technical assistance process, which is anticipated to be outlined in the USFWS’s
       biological opinion based on information included in the biological assessment
       submitted by EPA.

       ***

       Incidental take for federally listed species will be handled in accordance with the
       Biological Assessment and Biological Opinion developed for this assumption.

(Exhibit 6 (emphasis added).)

       On August 20, 2020, Florida submitted its application to assume jurisdiction over the 404
program. The application included an MOU but did not include the technical assistance process
that was anticipated to be outlined in a forthcoming biological opinion. On August 28, 2020,
EPA deemed the application complete as of the date of submission, triggering a statutory 120-


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day deadline to approve or deny the application unless EPA and the state agreed to extend the
timeline. (Exhibit 7.) See 33 U.S.C. § 1344(h)(1); 40 C.F.R. § 233.15(a).

        On August 27, 2020, Assistant Administrator David Ross issued a memorandum
announcing that EPA had “reconsidered its prior position, articulated in 2010, that the decision to
approve a state or tribal CWA Section 404 program does not trigger ESA Section 7
consultation.” (Exhibit 8.) EPA explained that it had been persuaded by the state’s advocacy for
a one-time ESA Section 7 programmatic consultation in conjunction with EPA’s initial review of
an assumption application “as an efficient and legally-defensible approach to resolving the lack
of incidental take coverage for permittees and permitting agencies” by providing a programmatic
incidental take statement, preferable to the status quo of requiring permittees to “avoid adverse
impacts to listed species or otherwise seek an incidental take permit under ESA Section 10.”
(Id.)

       On September 2, 2020, EPA submitted an “ESA Biological Evaluation for Clean Water
Act Section 404 Assumption by the State of Florida” to USFWS to initiate formal consultation
on Florida’s application.

       On September 16, 2020, EPA issued a notice and request for comment on “Florida’s
Request to Assume Administration of a Clean Water Act Section 404 Program.” 85 Fed. Reg.
57,853. The opportunity to comment closed on November 2, 2020. Id.

       On October 21, and October 23, 2020, counsel for the Plaintiffs in this litigation urged
EPA to reconsider its determination that the state’s assumption application was complete as of
submission for three reasons: (1) the failure to demonstrate how the state would ensure no
jeopardy to listed species given its reliance on a “technical assistance” process to be outlined in a
programmatic biological opinion that was anticipated, but not yet in existence; (2) the failure to
adequately identify the waters over which the state would assume jurisdiction; and (3) the failure
to demonstrate adequate staffing and resources to administer the program, which the state
claimed would not require a penny in additional funding, even at a time when state coffers were
under serious strain from the economic impacts of a pandemic, requiring budget cuts. (Exhibit
9.)

        On November 2, 2020, Plaintiffs submitted extensive public comments identifying
deficiencies in the state program on many key matters, such as permit review, permit conditions,
general permits, emergency permits, compliance monitoring, and enforcement. In particular, we
noted the state’s failure to provide a criminal intent standard as stringent as that required by
federal law for violations of the permitting program. (Exhibit 10.)

        On November 17, 2020, more than two weeks after public comment closed, USFWS
issued the programmatic biological opinion and incidental take statement outlining the technical
assistance process on which the state relied. These documents were not made available for
public comment. The programmatic biological opinion failed to analyze the status of the species,
environmental baseline, effects of the action, or cumulative effects. 16 U.S.C. § 1536. The
incidental take statement failed to specify the amount or extent of incidental take, impose a limit
on incidental take, or specify a take-based trigger for reinitiating consultation, all in violation of

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the ESA. 16 U.S.C. § 1536(b)(4); 50 C.F.R. §§ 402.14(i)(1)–(4), 402.16(a). The incidental take
statement extended protection from liability not only to EPA, but also to the state and state
permittees so long as they complied with permit conditions created through the technical
assistance process that would largely be left in the hands of the state, contrary to federal law.

        On December 14, 2020, EPA requested comment on a proposed rule relating to
“Criminal Negligence Standard for State Clean Water Act 402 and 404 Programs.” 85 Fed. Reg.
80,713. EPA’s proposed rule purported to continue to require state programs to have criminal
intent standards as stringent as those provided by federal law, while adding that states could
adopt “any” criminal negligence standard. Public comment closed on January 13, 2020.

       On December 17, 2020, Administrator Andrew Wheeler announced approval of Florida’s
program at a press conference in Washington, D.C., and encouraged other states to follow
Florida’s example as a model. 4

       On December 22, 2020, EPA published notice of the approval, but failed to codify the
program. 85 Fed. Reg. 83,553. See 44 U.S.C. § 1510(a) (requiring codification of rules). EPA
purported to give the action immediate legal effect, but failed to articulate a lawful basis to do so.
5 U.S.C. § 553(d).

        On December 22, 2020, Plaintiffs notified EPA that its failure to codify the program and
afford the required 30-day period between publication and effective date meant that the state
program did not have the force of law and that the authority to administer the Section 404
program in Florida remained with the U.S. Army Corps of Engineers. (Exhibit 2.)

       On December 28, 2020, EPA responded with a letter to the state, asserting that its
December 22, 2020, action was an adjudication, rather than a rule, and that the adjudication did
not require a 30-day period between publication and effective date or codification. (Exhibit 3.)
EPA asserted that this action authorized the state to administer its program.

       On January 14, 2021, Plaintiffs filed the currently pending action challenging EPA’s
decision and related actions as unlawful. Ctr. for Biological Diversity, et al., v. Wheeler, No.
1:21-cv-119-RDM (D.D.C. January 14, 2021). (See Exhibit 1.)

                                    APA Section 705 Request

         Should EPA lawfully promulgate a rule authorizing the state program, Plaintiffs in the
pending litigation respectfully request a postponement of the rule’s effective date pending
judicial review. To qualify for a Section 705 stay, Plaintiffs must establish that they are likely to
succeed on the merits of their claims, that they will suffer irreparable harm absent preliminary
relief, that the balance of equities weighs in their favor, and that a preliminary injunction would
be in the public interest. In re Public Service Company of New Hampshire, 1977 WL 45581, at
*6 (E.A.B. Aug. 12, 1977). Plaintiffs have met this standard.

4
 U.S. Envtl. Prot. Agency, EPA Approves Florida’s Request to Administer the Clean Water Act
Section 404 Program, YouTube (Dec. 17, 2020), https://youtu.be/QLUr-sMRRmo.
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   1. Likelihood of Success on the Merits.

         Plaintiffs are likely to succeed on the merits of their claims that EPA’s approval of the
state program violates federal law. For purposes of this stay request, Plaintiffs focus on two,
critical violations. First, EPA’s approval was unlawful because the state’s application failed to
demonstrate the authority to ensure “no jeopardy” to listed species and relied on an anticipated
programmatic biological opinion and incidental statement that, when finally issued, did not
comply with federal law. In addition, the agency failed to provide the public with an opportunity
to comment on those elements of the state’s application, which were submitted to EPA after the
public comment period had ended. Second, EPA’s approval was unlawful because it allowed the
state to eliminate an entire class of permit violations from criminal liability, thereby allowing the
state to administer the program without demonstrating the enforcement authority required by
federal law.

   A. USFWS’ Programmatic Biological Opinion and Incidental Take Statement, on
      Which EPA’s Approval Relied, Are Unlawful.

        EPA’s approval of the state program relied on an unlawful programmatic biological
opinion and incidental take statement that failed to include the amount or extent of take,
monitoring measures, or reasonable terms and conditions. Additionally, the incidental take
statement extends take liability coverage for the state and state permittees for the life of the
program through an unlawful and unauthorized “technical assistance” process that gives the state
the authority to make all meaningful decisions affecting listed species.

       Congress enacted the ESA to, among other things, “provide a means whereby the
ecosystems upon which endangered species and threatened species depend may be conserved
[and] provide a program for the conservation of such endangered species and threatened
species.” 16 U.S.C. § 1531(2)(b). An “examination of the language, history, and structure [of
the ESA] indicates beyond doubt that Congress intended endangered species to be afforded the
highest of priorities.” Tenn. Valley Auth. v. Hill, 437 U.S. 153, 174 (1978).

        The ESA prohibits any person, including private parties, states, and federal agencies,
from “taking” an endangered species and authorizes suits to enforce the ESA and its
implementing regulations. 16 U.S.C. §§ 1538(a)(1)(B), 1540(g)(1). Congress created two
distinct paths to ensure that actions do not jeopardize the survival and recovery of protected
species, and which can exempt parties’ otherwise lawful actions from incidental take liability:
(1) Section 7, Interagency Cooperation, which applies to federal agency actions, id. § 1536; and
(2) Section 10, Exceptions, which applies to non-federal actions, id. § 1539. Congress enacted
these mechanisms to provide protection from liability only so long as the specific measures
developed by Congress to ensure protection of species were followed. USFWS’ approach here
does not comply with either.

        When conducting a programmatic biological opinion, an incidental take statement is not
required. 50 C.F.R. § 402.14(i)(6). However, if a federal action undergoing consultation
includes an “incidental take statement” then it must specify the amount and extent of incidental
take of the listed species that may occur without causing jeopardy or adverse modification,

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include “terms and conditions,” and provide for monitoring of take. 16 U.S.C. § 1536(b)(4); 50
C.F.R. § 402.14(i)(1)–(3). The statement must specify the permissible level of taking (or
“trigger”) and specify the impacts such taking will have on affected species. 16 U.S.C.
§ 1536(b)(4); 50 C.F.R. § 402.14(i)(1)(i). This “trigger” denotes an unacceptable level of take
that invalidates the safe harbor that extends take liability coverage and requires the federal
agencies to immediately reinitiate consultation. 50 C.F.R. §§ 402.14(i)(4), 402.16(a). The
“trigger” must be rational and cannot be an amount of take that causes jeopardy. Id.
§ 402.14(i)(4); Ctr. for Biological Diversity v. Salazar, 695 F.3d 893, 911 (9th Cir. 2012).

         Section 7 prohibits federal agencies from taking actions that would cause jeopardy to
protected species or adversely modify their critical habitat. 16 U.S.C. § 1536(a)(2). To achieve
this substantive mandate, the federal action agency must engage in consultation with USFWS,
the National Marine Fisheries Service, or both (the “consulting agencies”) if their actions may
affect listed species or their designated critical habitat. If the consulting agency determines that
no jeopardy will result from the federal agency’s action, but it will result in incidental take, then
it may offer take liability coverage through an incidental take statement, so long as the federal
agency and its permittees comply with the terms and conditions of the incidental take statement.
Id. § 1536(a)(2), (o)(2). 5

        The Section 10 review process is much more stringent. It often requires applicants to
conduct biological studies and gather appropriate data (including species population surveys,
species distribution information, and/or habitat modeling and distribution) to obtain the
“thorough, up-to-date biological information” required. (Exhibit 11.) To obtain incidental take
coverage, an applicant must create a “robust analysis” of its activities’ impact on listed species,
which is more than a mere “tally of how many individuals (or surrogate, e.g., acres of habitat)
will be taken.” (Id.) The Section 10 process also requires USFWS to comply with other federal
laws, including the National Environmental Policy Act and National Historic Preservation Act.
(Id.) And it requires USFWS to comply with the ESA, conducting intra-agency consultation to
ensure its approval of an HCP and incidental take permit does not jeopardize listed species. (Id.)

        On August 27, 2020, EPA reversed its longstanding position that consideration of a state
assumption application did not trigger the Section 7 requirements of the ESA and adopted
Florida’s preferred approach of a one-time consultation at the time of initial review. As EPA
acknowledged, Florida sought this reversal so that the state and its permittees could circumvent
Section 10 of the ESA and still obtain protection from liability for incidental take. On November
17, 2020, USFWS delivered what the state sought: USFWS used its Section 7 consultation with
EPA to issue a programmatic biological opinion and incidental take statement purporting to
insulate the state and state permittees from take liability, so long as state permit conditions were
met. However, the consultation established no guidelines or requirements on what those permit


5
  See also 50 C.F.R. § 402.01 (Section 7 directs federal agencies to consult to further the
purposes of the ESA); id. § 402.11(b) (applicant for federal permit may ask federal agency to
engage in consultation); id. § 402.14(a) (federal agency Section 7 duty to determine whether its
actions may affect listed species or critical habitat); id. § 402.15 (federal agency duties following
issuance of biological opinion).
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conditions must contain. Neither did the statement specify the impacts of incidental take.
USFWS’ actions were unlawful, rending EPA’s approval unlawful on this basis as well.

         USFWS’ programmatic biological opinion failed to meet the requirements of the ESA.
To start, USFWS wholly failed to assess the risk of jeopardy to species at the programmatic
level, the very task for which consultation was required. (Exhibit 12.) 50 C.F.R. § 402.14(c)(4)
(programmatic biological opinion does not relieve the agency “of the requirements for
considering the effects of the action or actions as a whole.”). USFWS sidestepped any
meaningful assessment and instead took the circular position that EPA’s approval of the state
program would result in no jeopardy at a programmatic level because state permits would
presumably be required to result in no jeopardy at the permit level. (Id.)

        The incidental take statement acknowledged that USFWS did not know which species
would be taken, the locations of take, or how many members of listed species would be harmed,
killed, or otherwise taken as a result of state permits authorizing the discharge of dredged and fill
material in waters of the United States. (Id.) While federal regulations required the agency to
specify the impacts of the action, 50 C.F.R. § 402.14(I)(1)(I), here USFWS instead relied on
EPA’s biological evaluation for a generic discussion of impacts to species. (Id.) USFWS then
expressly added that, “[w]hile the BE provided a detailed analysis of typical impacts related to
stressors to ESA-listed species, inability to anticipate the locations of future State 404 permit
applications did not allow the Service to conduct site- and species-specific analyses to estimate
the number of individuals that might be affected by the permitted activities.” (Id.) The
incidental take statement failed to include any method for recording or monitoring incidental
take or to consider the cumulative impact of individual permit decisions. (Id.) It also failed to
require EPA to implement take minimization measures. (Id.)

        An incidental take statement serves as a check on a biological opinion’s assumptions and
conclusions regarding the extent and amount of authorized take. 50 C.F.R. § 402.14(i)(1). See
also Salazar, 695 F.3d at 910–11 (explaining purpose of ITS is to “serve[] as a check on the
agency’s original decision that the incidental take of listed species resulting from the proposed
action will not [jeopardize the continued existence of the species]” (second alteration in original)
(citation omitted)).

        The incidental take statement here failed to identify the amount and extent of incidental
take of listed species that was expected to occur and that would be authorized under the terms of
the ITS. (Id.) While USFWS may use surrogates to establish take limits in certain
circumstances, the incidental take statement here made no such attempt. (Id.) Having failed to
set a take limit, the incidental take statement then failed to set a trigger for reinitiating
consultation based on exceeding that limit. (Id.)

       USFWS then went a step further. It extended take liability coverage not only to the
consulting federal agency (EPA), but also to the state and its permittees through an unlawful
process where the state—and not USFWS or any other federal agency—is driving ESA




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decisions. Under the “technical assistance” 6 process set forth by the programmatic biological
opinion, it is the state that has the primary role in deciding whether a permit action will
jeopardize the survival and recovery of protected species or adversely modify their critical
habitat; deciding what effects a permit action will have on listed species; and defining what
protective measures, if any, would be required to mitigate those harms. (Exhibit 12.) EPA and
USFWS are obligated to provide very little, if any, oversight on the state’s actions. (Id.) 7 There
is no Congressional authority to use Section 7 consultation in this way.

         Section 7 requires federal agencies to determine the effects of their actions, to consult
with USFWS if their actions may adversely affect protected species, and to obtain take liability
coverage through an incidental take statement, so long as the federal agency and its permittees
comply with the terms and conditions of the incidental take statement. 16 U.S.C. § 1536(a)(2),
(o)(2). 8 At a programmatic level, Section 7 allows agencies to “tier” site-specific biological
opinions to a programmatic biological opinion. Gifford Pinchot Task Force v. U.S. Fish &
Wildlife Serv., 378 F.3d 1059, 1063 (9th Cir.), amended, 387 F.3d 968 (9th Cir. 2004)
(permitting tiering to programmatic biological opinion); Native Ecosystems Council v. Krueger,
63 F. Supp. 3d 1246, 1250 (D. Mont. 2014), aff’d sub nom. Native Ecosystems Council v.
Marten, 883 F.3d 783 (9th Cir. 2018) (requiring federal agency to obtain site-specific biological
opinion); Forest Serv. Emps. for Envtl. Ethics v. U.S. Forest Serv., 726 F. Supp. 2d 1195, 1231–
32 (D. Mont. 2010) (systemic deferral of site-specific biological opinions unlawful).

        Section 7 does not, however, authorize USFWS to allow a state to step in the shoes of a
federal agency to conduct site-specific analyses, determine effects on species, set incidental take
limits, and establish protection measures. See Ctr. for Biological Diversity v. U.S. Fish &
Wildlife Serv., 900 F. Supp. 2d 1151, 1154–55 (D. Nev. 2012), aff’d, 807 F.3d 1031 (9th Cir.
2015) (tiered ESA process included Section 7 programmatic biological opinion site-specific

6
  Although the ESA Section 7 Consultation Handbook—a USFWS guidance document cited in
the biological opinion—includes technical assistance as a preliminary step available for federal
action agencies, it is entirely directed at early discussions with federal action agencies about the
presence or absence of species, recommendations for additional studies the federal action agency
should conduct, notification of candidate species, and assisting federal action agencies outside
the United States. (Exhibit 13). It does not discuss or authorize a Section 7 technical assistance
process for a state action agency.
7
  See, e.g., (Exhibit 15 at 19 (Programmatic Biological Opinion) (“In some cases, depending
upon the project, USFWS may submit recommendations to FDEP/FWC. In other cases, the
species coordination lead will compile a package of proposed measures and transmit it to
USFWS for their review and comment.”); id. at 18 (“USFWS will review and may suggest
modifications or recommend additional protective measures, as needed.”); id. at 26 (USFWS
may or may not comment on preliminary protection measures); id. at 27 (USFWS will provide
recommendations as needed…”).)
8
  See also 50 C.F.R. § 402.01 (Section 7 directs federal agencies to consult to further the
purposes of the ESA); id. § 402.11(b) (applicant for federal permit may ask federal agency to
engage in consultation); id. § 402.14(a) (federal agency Section 7 duty to determine whether its
actions may affect listed species or critical habitat); id. § 402.15 (federal agency duties following
issuance of biological opinion).
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Section 10 incidental take permits for non-federal entities). There is no indication that Congress
intended for Section 7 to give states such authority, much less so as an intentional workaround to
Section 10 of the ESA, which Congress enacted to address exemptions from take liability for
state actions. 16 U.S.C. § 1539(a)(1)(B). (Accord Exhibit 11 (USFWS, HCP Handbook at 3-5
(Section 10 applies to “any State”).)

       Instead of complying with the law, USFWS crafted an unlawful, unauthorized shortcut to
the ESA’s federal regulatory regime because the agency and the state in close coordination
determined the shortcut was worth the payout: obtaining take coverage for all state 404 permits
without the robust analysis required by federal law to ensure species protection at the permit-
level. USFWS’ action was therefore arbitrary, capricious, not in accordance with the law, and in
excess of statutory authority, as was EPA’s reliance on it to approve the state program. 5 U.S.C.
§ 706.

   B. EPA Denied Notice and Comment Opportunity on Technical Assistance Process, a
      Key Element of the State’s Application.

        EPA’s determination that the state met the Clean Water Act’s “no jeopardy” requirement
relied on three elements of the state’s August 20, 2020, application: (1) an unexecuted MOU
between USFWS and state agencies; (2) state regulations that would take effect once assumption
was approved; and (3) the state’s program description. (See Exhibit 14 (EPA Response to
Comments on State of Florida’s Program Submission Requesting to Assume Administration of a
Clean Water Act Section 404 Program 19 (Dec. 16, 2020) [hereinafter “Response”]).) All three
relied on a “technical assistance” process developed by the programmatic biological opinion,
which did not exist at the time EPA made its “completeness determination” and was not
completed until after the public’s opportunity for notice and comment ended.

       To lawfully approve Florida’s program, EPA was required to determine that the state had
demonstrated the authority to issue permits which “apply, and assure compliance with, any
applicable requirements of this section, including, but not limited to, the guidelines established
under subsection (b)(1) of this section.” 33 U.S.C. § 1344(h)(1)(A)(i). The 404(b)(1)
Guidelines, in turn, required the state to demonstrate that state-issued permits would result in no
jeopardy to listed species. 40 C.F.R. §§ 230.10(b)(3), 233.11(a)–(c).

        The MOU provided that USFWS would give “technical assistance” to state agencies for
purposes of ensuring no jeopardy to listed species. What this process would entail, however, was
not defined. Instead, the MOU stated that “the technical assistance” process was “anticipated to
be outlined in the USFWS’ biological opinion based on information included in the biological
assessment submitted by EPA.” (Exhibit 6.) The MOU further provided that “[i]ncidental take
for federally listed species will be handled in accordance with the Biological Assessment and
Biological Opinion developed for this assumption.” (Id.) The MOU acknowledged that the state
would rely on the expertise of USFWS, while imposing no duty on the Service to lend that
expertise. (Id.) Neither USFWS’ programmatic biological opinion nor EPA’s biological
assessment (later titled biological evaluation) was submitted with the state’s application. Indeed,
neither existed at the time.


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        The state-promulgated regulations, too, provided that compliance would be accomplished
through, and determined by, the forthcoming “consultation … or technical assistance” process
between the state and USFWS. See Fla. Admin. Code § 62-331.051 (applicants for individual
permits will be required to provide “data and information for purposes of reviewing impacts to
state and federal listed species, including compliance with any applicable requirements resulting
from consultation with, or technical assistance by,” the state agencies and USFWS); id. § 62-
331.053(3)(a) (no permit shall be issued that causes jeopardy to listed species or results in
adverse modification of critical habitat as determined by compliance with “any requirements
resulting from consultation with, or technical assistance by” the state agencies and USFWS); id.
§ 62-331.010(5) (404 Handbook §§ 1.3.33 (requiring compliance with requirements resulting
from the “technical assistance” process); id. § 5.2.3 (referring to the “technical assistance”
process)). By relying on processes that had not yet been articulated or produced, these
regulations too did not provide an adequate basis for EPA to find the state had met the “no
jeopardy” requirement.

        Finally, the program description incorporated the MOU and provided a two-page
summary of the process the state intended to follow. (Exhibit 15 (Program Description, App. a-1
at 21-23).) While the program description discussed what it contended were binding obligations
on USFWS to assist the state and provide recommendations on a project-by-project basis,
nothing in the MOU, state-promulgated regulations, or any other document submitted with the
state application imposed any such duties on USFWS. (See id. (federal agency “will” assist in
effect determination, USFWS “will” review applications and provide recommendations).) The
state’s program description had no legal effect and certainly, it could neither authorize nor
require a federal agency to act.

        The public had a right to comment on a complete program application. 5 U.S.C. § 553;
40 C.F.R. § 233.15(e)(1). Public notice and comment rights are (1) intended to improve the
quality of agency rulemaking by ensuring that regulations are tested by exposure to diverse
public comment; (2) an essential component of fairness to affected parties; and (3) an
opportunity for parties to develop evidence in the record to support their objections to a rule,
which in turn enhances the quality of judicial review. Small Refiner Lead Phase-Down Task
Force v. U.S. Env’t Prot. Agency, 705 F.2d 506, 547 (D.C. Cir. 1983) (internal citations and
quotation marks omitted). The core of the state’s demonstration that it had authority to operate a
404 program that would not jeopardize protected species was the “technical assistance” process
in the programmatic biological opinion. Without access to the programmatic biological opinion,
the public was denied this opportunity, left in the dark and unable to comment on the “technical
assistance” scheme that EPA relied upon to approve the program.

        In response to comments objecting to the denial of an opportunity to comment on the
technical assistance process laid out in the biological opinion, EPA relied on Cooling Water
Intake Structure Coalition v. U.S. Environmental Protection Agency, to argue that because “there
is no independent right to public comment with regard to consultations conducted under § 7(a)(2)
of the ESA” there was no violation here. 898 F.3d 173 (2d Cir. 2018), amended, 905 F.3d 49, 78
(2d Cir. 2018). (Exhibit 14.) EPA’s position misses the boat. The question is not whether there
is an abstract right to comment on a biological opinion. The question is whether the public was
afforded a right to comment on Florida’s complete application, when that application relied on a

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component that did not exist, and was not made available, during the public comment period.
While there may not be an independent basis for notice and comment on biological opinions
under the ESA, there is a right to comment on a state’s assumption application. EPA denied the
Plaintiffs that right.

       Permitting the public only to comment on an incomplete application undermined the
agency’s rulemaking by precluding meaningful testing, denied fairness to affected parties, and
precluded the opportunity to develop evidence in the record for judicial review. 5 U.S.C. § 553;
Small Refiner Lead Phase-Down Task Force, 705 F.2d at 547.

    C. EPA’s Approval Violated the Clean Water Act Because the State Program Failed to
       Meet Minimum Federal Standards Regarding Enforcement.

        Before the EPA could lawfully approve the state 404 program, the agency was also
required to determine that the state would have authority “[t]o abate violations of the permit or
the permit program, including civil and criminal penalties and other ways and means of
enforcement.” 33 U.S.C. § 1344(h)(1)(G). Specifically, EPA regulations required that “the
burden of proof and degree of knowledge or intent required under State law for establishing
violations under … this section shall be no greater than the burden of proof or degree of
knowledge or intent EPA must bear when it brings an action under the Act.” 40 C.F.R. §
233.41(b)(2). See also id. § 233.1(d) (state 404 program must “be conducted in accordance”
with Clean Water Act and implementing regulations, and “may not impose any less stringent
requirements for any purpose”).

       Plaintiffs are likely to succeed on their claim that EPA unlawfully approved the state
program because the state requires a degree of knowledge or intent that is “greater than” that
required under the Clean Water Act. See Idaho Conservation League v. U.S. Envtl. Prot.
Agency, 820 F. App’x 627 (9th Cir. 2020) (EPA abused its discretion in approving a state
delegated program with a mens rea standard greater than intent standard required of the EPA).
By requiring a higher degree of intent to establish Section 404 violations, the state does not
recognize an entire class of criminal violations that exist under federal law. The inability to
abate an entire class of violations of permits and of the permitting program undermines the
deterrent effect of the Clean Water Act’s strict provisions, and thereby reduces protections for
wetlands and the ecosystems, protected species, and communities that rely on them. EPA’s
approval of the state’s program notwithstanding the patent failures to meet this minimum federal
standard was arbitrary and capricious and not in accordance with the law.

        Congress enacted the Clean Water Act “to restore and maintain the chemical, physical,
and biological integrity of the Nation’s waters” and attain “water quality which provides for the
protection and propagation of fish, shellfish and wildlife and provides for recreation” in response
to decades of failures by states to protect and clean waters of the United States. 33 U.S.C.
§ 1251(a). 9 Before that time, federal laws protecting the Nation’s waters were limited to

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  Montgomery Envtl. Coal. v. Costle, 646 F.2d 568, 574 (D.C. Cir. 1980); H.R. 11,896, 92nd
Cong. (1971) & S. 2770, 92nd Cong. (1971) (Clean Water Act bills were written to expand
federal authority and control to control and eliminate water pollution across the country).
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providing assistance to states in an attempt to incentivize them to do the right thing—an
approach that had failed. US. Envtl. Prot. Agency v. California, 426 U.S. 200, 202-09 (1976);
Am. Paper Inst., Inc. v. U.S. Envtl. Pro. Agency, 890 F.2d 869, 870-71 (7th Cir. 1989).
Congress made plain that the Clean Water Act set minimum federal standards for all states to
follow. States retained only the flexibility to be more, but never less, protective than the Clean
Water Act’s foundational protections. See 33 U.S.C. § 1311(b)(1)(C); PUD No. 1, of Jefferson
Cty. v. Wash. Dep’t of Ecology, 511 U.S. 700, 705–07 (1994).

        Section 404 is an essential component of the Clean Water Act, in that it regulates the
discharge of dredged and fill material into waters of the United States, including wetlands. The
Clean Water Act recognizes that the degradation and destruction of wetlands is “among the most
severe environmental impacts.” See 33 U.S.C. § 1251; 40 C.F.R. § 230.1(a). Many
developments and similar projects in Florida require 404 permits because of the state’s extensive
wetlands in waters of the United States. Particular care is required because Florida’s wetlands
are also vital to hundreds of threatened and endangered species, filter drinking water into the
aquifer, provide resiliency from hurricanes, and support the state’s economy.

        The Clean Water Act prohibits the discharge of dredged or fill material where there is a
less environmentally damaging alternative that is practicable. 40 C.F.R. § 230.10(a). It further
prohibits any discharge that would contribute to violation of water quality standards; violate any
applicable toxic effluent standard or prohibition; jeopardize the continued existence of ESA-
listed species; result in likely destruction or adverse modification of critical habitat; or violate
any requirement by the Secretary of Commerce to protect a marine sanctuary. Id. § 230.10(b).
The Clean Water Act prohibits the permitting of any discharge “which will cause or contribute to
significant degradation of the waters of the United States” as determined based on factual
findings, evaluations, and tests required under the Section 404(b)(1) Guidelines, “with special
emphasis on the persistence and permanence of the effects outlined in” the Guidelines. Id.
§ 230.10(c). Lastly, the Clean Water Act prohibits discharge of dredged or fill material “unless
appropriate and practicable steps have been taken which will minimize potential adverse impacts
of the discharge on the aquatic ecosystem.” Id. § 230.10(d).

        To ensure compliance with these provisions, when a person violates 33 U.S.C. § 1344 by
discharging dredged and fill material in the waters of the United States without a 404 permit, or
without complying with the terms of a 404 permit, the Clean Water Act authorizes civil and
criminal enforcement. Id. § 1319. Enforcement serves as a critical safeguard and deterrent to
violations of the Clean Water Act. See Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC),
Inc., 528 U.S. 167, 185; United States v. Earth Sciences, Inc., 599 F.2d 368, 374 (10th Cir. 1978)
(“The [Clean Water] Act would be severely weakened if only intentional acts were proscribed.
We will not interpret it that narrowly, particularly when the legislative history is clear Congress
intended strong regulatory enforcement.”).

        Congress spoke directly and unambiguously to the mens rea requirement for Clean Water
Act violations when stating that “[a]ny person who … negligently violates” a permit issued by
the Corps or a state under Section 404 “shall be punished.” U.S.C. § 1319(c)(1). The standard is
simple negligence. See United States v. Maury, 695 F.3d 227, 259 (3d Cir. 2012) (interpreting
the plain language of “negligence” to mean ordinary negligence); United States v. Pruett, 681

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F.3d 232, 243 (5th Cir. 2012) (same); United States v. Ortiz, 427 F.3d 1278, 1283 (10th Cir.
2005) (same); United States v. Hanousek, 176 F.3d 1116, 1120 (9th Cir. 1999) (same). The
simple negligence standard expressly applies to 404 permits violations whether those permits are
issued by the Corps or a state. 33 U.S.C. § 1319(c)(1)(A).

         The intent standard employed by Florida, on the other hand, is gross or culpable
(criminal) negligence. See Fla. Stat. §§ 373.430(1)(a), 373.430(3)–(4) (requiring willfulness,
reckless indifference, or gross careless disregard to establish criminal liability for a pollution
offense); id. §§ 373.430(1)(b)–(c), 373.430(5) (requiring willfulness to establish criminal
liability for permit violations and false statements). In Florida, culpable negligence is defined as
“reckless indifference or grossly careless disregard of the safety of others.” State v. Greene, 348
So. 2d 3, 4 (Fla. 1977). It has also been defined as “a gross and flagrant character, evincing
reckless disregard for human life or of the safety of persons exposed to its dangerous effects;” or
“the entire want of care which would raise the presumption of indifference to consequences;” or
“reckless indifference to the rights of others, which is equivalent to an intentional violation of
them.” Id. Unlike simple negligence, culpable negligence encompasses threatened or actual
harm to others and can be the basis for violent crimes such as manslaughter. Such a high bar
would exclude an entire class of permit violations that are subject to criminal penalty under
federal law. This is not what Congress intended.

        Authorizing the state to require a higher mens rea standard undermines the deterrent
effect of the enforcement program Congress enacted in the Clean Water Act. It also shields
those who commit criminal violations of Section 404 in Florida from accountability.

         EPA was aware of this defect in the state’s application early on, and the matter was also
brought to the agency’s attention during the public comment period. EPA approved the
application anyway. In its response to comments, EPA relied on two, unavailing arguments:
First, it claimed that Section 404(h) of the Clean Water Act does not “use the words ‘all
applicable,’ ‘same,’ or any phrase specific to any mens rea standard, let alone the Federal
standard, as it did in other parts of [Clean Water Act] Sections 404(h).” (Exhibit 14 (Response at
75).) Second, EPA argued that the “general language used to address required state and tribe
authorities to abate violations, and the absence of any citation to CWA Section 309, indicates
that Congress allowed for variability between state or tribal approaches to certain aspects of
enforcement.” (Id. (Response at 75).)

        In addition to violating the plain language of the statute, EPA’s position is entirely
inconsistent with its own regulation on the topic, 40 C.F.R. § 233.41(b)(2), which requires that
the mens rea for state programs be “no greater” than that under federal law. 10 It also allows a
state program to be less stringent than federal law, in violation of 40 C.F.R. § 233.1(d).
Moreover, although Section 404(h) may not refer explicitly to Section 319(c) in describing the

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   Indeed, since 1984, the EPA has required that mens rea standards in state programs under the
section 402 and 404 programs be at least as stringent as the standards EPA must meet. See 40
C.F.R. § 123.27(b); id. § 233.41(b)(2) (“[t]he degree of knowledge or intent required under State
law for establishing violations under … this section shall be no greater than the … degree of
knowledge or intent EPA must bear when it brings an action under the Act”).
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requirements for a state-approved program, that does not mean the opposite is true. Section
319(c) in fact explicitly establishes criminal penalties for negligent violations of any 404 permit
issued by the Corps or a state. 33 U.S.C. § 1319(c)(1)(A). See, e.g., United States v. Maury,
695 F. 3d at 246, 256–58 (affirming court’s jury instruction on simple negligence, rather than
gross negligence, in enforcement action under New Jersey-issued NPDES permit issued pursuant
to assumed section 402 program; court cited plain language of statute noting when Congress
intends a higher mens rea requirement in other provisions of the Act it explicitly state so). Since
404 permits may only be issued by a state pursuant to an EPA-approved state assumed program,
the plain statutory language requires that state 404 programs have a baseline negligence standard
for criminal liability.

        EPA’s statement that it “interprets the Agency’s implementing regulations for CWA
Section 404 to allow for approved state and tribal programs to have different approaches to
criminal enforcement” cannot be squared with the plain language of the agency’s own regulation
requiring that the mens rea for state 404 enforcement programs be “no greater” than that under
federal law. 40 C.F.R. § 233.41(b)(2). As discussed above, the only flexibility afforded by the
Clean Water Act is a one-way ratchet, allowing states to be more, not less, protective.

         EPA argues that this novel interpretation of its own regulation is consistent with the
Court of Appeals for the D.C. Circuit’s decision in Natural Res. Defense Council, Inc. v. U.S.
Envtl. Prot. Agency (NRDC), 859 F.2d 156, 181 (D.C. Cir. 1988). NRDC, however, was not a
case about the criminal intent necessary to establish a violation. It was a case about the penalties
that a state program might impose after finding a violation. Id. at 180.

        Here, EPA approved a program with less stringent enforcement capacity than the federal
floor. This authorizes a state program that is harder to enforce because of a higher mens rea
standard than under federal law. EPA’s interpretation creates the very scenario the agency
sought to avoid in NRDC: allowing state-assumed programs with higher mens rea standards
would be less effective and require EPA to step in to ensure compliance with the Clean Water
Act.

        The same is true of Akiak Native Community. v. U.S. Environmental Protection Agency,
625 F.3d 1162 (9th Cir. 2010), on which EPA also relied. Id. at 1171–72 (declining to find
inadequate enforcement authority where a state lacked authority to impose administrative
penalties available to the EPA). Like NRDC, Akiak did not involve criminal liability for Clean
Water Act violations. It involved a challenge to Alaska’s inability to assess civil penalties
administratively compared to the federal Section 402 program. Akiak, 625 F. 3d at 1171. EPA
regulations allow EPA flexibility when it comes to a state program’s civil penalties, 40 C.F.R.
§ 233.41(d)(1), but that flexibility does not extend to the criminal intent standard.

        Here, by contrast, EPA’s action allows Florida, and would allow other states, to exclude
an entire class of permit violations from criminal liability. At issue is not how a state might
abate criminal violations, or what enforcement action a state might take against such a violation,
but the very definition of what constitutes a criminal violation in the first place. There is nothing
in the CWA that authorizes a state program to decline to recognize an entire class of criminal
violations at all. To permit this would be to allow a state 404 program to legalize activity that is

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patently unlawful under the Clean Water Act. This conflicts with the plain language of 33
U.S.C. § 1319(c) (establishing negligent actions as criminal violations of the 404 program) and
the requirement that state programs demonstrate the authority to “abate violations” under the
Act.

        EPA’s approval of such a program also undermines the deterrent effect that Congress
sought by prohibiting negligent violations of Section 404 and the incentives to ensure full
compliance with the permitting program. Ordinary negligence is the lowest form of criminal
mens rea aside from strict liability. It is the failure to use care that a reasonably prudent and
careful person would under similar circumstances. United States v. Hanousek, 176 F.3d at 1120.
This mens rea standard allows robust criminal enforcement of permit violations—and therefore
greater environmental protections—because it sets a lower bar the government must meet to
bring and prevail in an enforcement action and promotes compliance through deterrence.

        Nor can the EPA’s action be saved by a new rule the agency proposed on December 14,
2020. (Exhibit 14 (Response at 76).) First, the EPA’s proposed rule was not the law when EPA
approved Florida’s program on December 17, 2020. The public comment period, alone, did not
conclude until January 13, 2021. Second, the EPA concedes that the proposed rule “is based on
the interpretation of the CWA outlined” in its response to comments on Florida’s application,
demonstrating that it rendered a decision on Florida’s application based on an agency
interpretation and regulatory change not lawfully adopted by the agency. Third, the rule is
unreasonable on its face and if adopted will not withstand challenge. It proposes to maintain the
requirement that a state’s criminal intent standard be as stringent as EPA’s, but then purports to
create an exception that allows states to adopt any negligence standard of their choosing. 85 Fed.
Reg. 80,713, 80,717–18. Both things cannot be true. Fourth, the rule conflicts with the plain
meaning of Section 1319. 33 U.S.C. § 1319.

        EPA’s new interpretation would also allow states to implement inconsistent and contrary
levels of water resource protections through differing levels of mens rea. This contradicts the
basic policy and purpose of Congress to provide a minimum baseline of water protections across
the nation. Indeed, the Supreme Court has directed that one state’s permitting cannot interfere
with another state’s implementation and achievement of its water Clean Water Act standards and
protections. See Arkansas v. Oklahoma, 503 U.S. 91 (1992). Like in Arkansas, a different mens
rea in an upstream or bordering state could negatively affect a downstream state’s ability to
obtain equal and adequate enforcement of standards and permit requirements.

        Plaintiffs are therefore likely to succeed on their claim that EPA’s approval of the state
program was unlawful, as it did not meet the minimum standards of the Clean Water Act and is
not as stringent as federal law.

   2. Absent preliminary relief, Plaintiffs are likely to suffer irreparable harm before the
      conclusion of this litigation.

       For harm to be irreparable, the harm must be “certain, great, actual, and imminent.”
Seeger v. U.S. Dep’t of Defense, 306 F. Supp. 3d 265, 291 (D.D.C. 2018). Parties need not
show absolutely certainty that the threatened harm will occur but must show certainty in

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increased risk that the threatened harm will happen. See Conservation Law Found. v. Ross, 422
F. Supp. 3d 12, 33 (D.D.C. 2019) (finding irreparable harm to plaintiffs’ ability to observe
whales if certain ocean areas were opened to gillnet fishing, where such opening “is likely” to
shift fishing to the locations at issue and “thus increase the risk of … whales becoming entangled
in the gear”). Furthermore, parties can establish irreparable harm “even though the precise scope
of that harm may not be fully known” because of the government’s failure to conduct an
environmental evaluation. Brady Campaign to Prevent Gun Violence v. Salazar, 612 F.Supp.2d
1, 25 (D.D.C. 2009).

         Plaintiffs in the pending litigation are at risk of irreparable harm by the state’s unlawful
operation of the state 404 program. The state is currently considering permits that are reasonably
expected to fill precious wetlands that serve as habitat for threatened and endangered species,
and their issuance is imminent. Because the programmatic biological opinion and incidental take
statement are fatally flawed, permits issued pursuant to these are likely not to receive necessary
protections to which they are entitled under federal law. The EPA’s failure to properly analyze
whether its approval of the state’s assumption will cause jeopardy to listed species at a
programmatic level and whether the state 404 program will ensure no jeopardy at the permit
level, leaves species without the proper protections to ensure their survival and recovery.
USFWS’s improper incidental take statement, relied on by EPA, exacerbates these harms by
providing a blank check for the take of listed species. Moreover, because of the state’s
weakened enforcement regime, there is less deterrence for permit violations, which in turn
increases the risk of harm.

        For example, the state is currently considering a 404 permit application for Troyer Mine,
which would destroy 214 acres of wetlands that are part of a conservation area to protect Lee
County’s shallow aquifers, and are within the consultation areas for many endangered and
threatened species, including the Florida panther, Florida bonneted bat, red cockaded
woodpecker, Audubon’s crested caracara, the Florida grasshopper sparrow, the Everglade snail
kite, and the Florida scrub jay. (Exhibit 16.) In fact, 90% of the project site is in Primary Zone
habitat for the critically endangered Florida panther, meaning it is habitat essential for the
continued survival and recovery of the species. (Id.) Panthers are one of the most endangered
species on the planet, with only 120 to 230 adults remaining in the wild. (Id.) Habitat loss is one
of the primary risks for panther survival, as are vehicular collisions. (Id.) The Troyer Mine
project would result in an estimated 2,089 daily truck trips to and from the site. (Id.)

        Plaintiffs have reason to believe that issuance of this permit is imminent, because there is
no open public comment period, and the state already issued a state-level Environmental
Resources Permit (“ERP”) authorizing the project. In its 404 application, the state averred that
existing state requirements overlap by roughly 85% with federal requirements. (Exhibit 17
(State Application (B), subpart (d) at 2).) While Plaintiffs strongly disagree, from the state’s
point of view, the issuance of the ERP permit demonstrates that the project meets about 85% of
the criteria for a 404 permit. The state has also consistently indicated that its goal in assuming
jurisdiction over the 404 program is to issue permits faster, and to as great an extent as possible,
in alignment with the rapid processing schedule for state permits. 44 Fla. Admin. Reg. 2321
(May 11, 2018).


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        The loss of these wetlands and the impacts to panthers and their habitat would irreparably
harm Amber Crooks, a member and employee of Plaintiff Conservancy of Southwest Florida.
Ms. Crooks regularly hikes, camps, and tries to observe wildlife, including panthers, less than
three miles away in Corkscrew Regional Ecosystem Watershed, which also is located within
panther habitat. (Exhibit 16.) This is only one of the many projects that if granted would cause
irreparable harm to Ms. Crooks’ use and enjoyment of Florida’s natural environment because of
their impacts on wetlands, water quality, and species and their habitat. (Id.)

        Dr. Rachel Silverstein, a member and employee of Miami Waterkeeper, will suffer
irreparable harm from the state’s anticipated issuance of the Port 1850 LLC project. The Port
1850 project would fill 4.21 acres of mangrove wetlands in Fort Lauderdale, Florida. (Exhibit
18.) The 404 permit application for this project has been transferred to the state. (Id.) As with
Troyer Mine, the state has already granted the project’s ERP permit. There is no open public
comment period. It is therefore reasonable to believe that issuance of the 404 permit is
imminent.

         Mangroves wetlands like those set to be destroyed by the Port 1850 project provide
critical habitat for endangered species. (Id.) Destruction of these mangroves wetlands will also
harm threatened Johnson’s seagrass, which has been found directly abutting the project area.
(Id.) Destruction of mangroves releases large amounts of sediment and nutrients, which can be
fatal to seagrasses by causing shading, suffocation, or eutrophication, which can lead to algae
blooms. (Id.) Many protected species rely on seagrass for their survival, including the manatee,
American crocodile, loggerhead sea turtle, hawksbill sea turtle, leatherback sea turtle, Kemp’s
ridley sea turtle, roseate tern, wood stork, and bald eagle. (Id.) Harm to sea turtles is of
particular concern because this part of South Florida is home to one of the world’s largest
loggerhead rookeries and increasing green and leatherback turtle breeding populations. (Id.)

        The harms that will likely result from the Port 1850 LLC project will negatively impact
Dr. Silverstein’s ability to enjoy boating and diving at the mouth of Port Everglades, which is
only two miles from the project, where she enjoys observing listed corals and marine wildlife.
(Id.)

        The state’s likely issuance of these permits pursuant to an unlawful 404 program,
operating pursuant to an unlawful ESA biological opinion and incidental take statement, is likely
to irreparably harm these species and their habitat. Even the loss of a few individual members of
an endangered species can constitute irreparable harm. Am. Rivers v. U.S. Army Corp of
Eng’rs, 271 F. Supp. 2d 230, 259 (D.D.C. 2003). The Supreme Court has recognized that
environmental damage, “by its nature, can seldom be adequately remedied by money damages
and is often permanent or at least of long duration, i.e., irreparable.” Amoco Prod. Co. v. Vill. of
Gambell, 480 U.S. 531, 545 (1987); see also Brady Campaign to Prevent Gun Violence, 612 F.
Supp. 2d at 25 (“[E]nvironmental and aesthetic injuries are irreparable.”). The permanent loss of
these wetlands will have a substantially adverse effect on scenery, wildlife, recreation, and other
environmental values. Nat’l Wildlife Fed’n v. Burford, 835 F.2d 305, 324 (D.C. Cir. 1987).

       The ESA “has been regarded as the most comprehensive legislation for the preservation
of endangered species ever enacted by any nation.” Oceana, Inc. v. Pritzker, 75 F. Supp. 3d,

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469, 474 (D.D.C. 2014) (internal quotations omitted). One critical component of that protection
is ensuring that actions federal agencies undertake, including in issuing 404 permits and approval
of a state’s assumption of the 404 program, “do not jeopardize endangered wildlife and flora.”
Id. Here, the EPA and USFWS have not performed this necessary analysis at the programmatic-
level. Instead, they have punted the analysis to the state to determine impacts, take limits, and
protection measures in a piecemeal fashion at the permit-level through a process not authorized
by Congress. The process does not require the critical analyses contemplated by Section 10 to
ensure the full protections afforded to imperiled species under federal law when actions are
carried out by state actors and private citizens. Yet permittees will enjoy protection from
incidental take as long as they comply with their 404 permit conditions. This broad take
coverage, combined with reduced liability for permit violations under the state enforcement
scheme, will reduce incentives to strictly comply with federal law.

         For purposes of assessing irreparable harm, it is also appropriate to consider the obstacles
organizations will face to accomplish their primary mission if preliminary relief is not granted.
League of Women Voters, 838 F. 3d at 8 (finding irreparable injury to the League from obstacles
to their voter registration efforts due to upcoming election); Brady Campaign to Prevent Gun
Violence, 612 F.Supp.2d at 24 (granting preliminary injunction finding procedural violation,
while not sufficient alone to establish irreparable injury, is “certainly a relevant consideration”
and courts have not hesitated to find likelihood of irreparable injury when it is combined with an
alleged environmental or aesthetic injury); Fund for Animals v. Norton, 281 F. Supp. 2d 209,
219-222 (D.D.C. 2003) (finding procedural harm from NEPA violation bolstered plaintiffs’ case
for a preliminary injunction when combined with alleged irreparable aesthetic injuries and
granted injunction).

        To show irreparable organizational harm for preliminary relief, there is a two-part test:
1) an organization is harmed if the “actions taken by [the defendant] have perceptibly impaired
the [organization’s] programs,” and 2) if so, the organization must then also show that the
defendant's actions “directly conflict with the organization's mission.” Id. (brackets in original)
(internal quotes omitted).

       Plaintiffs and their members will be irreparably harmed because EPA’s approval not only
authorizes a state program that does not meet federal requirements, it also deprives those who are
adversely affected by 404 permits of rights and remedies available under federal law. Primary
among these is the inability to access the state courts to challenge permits in a manner
comparable to the ability to access federal courts.

       Under federal law, associational standing may be established on the basis of a single
member’s harms resulting from the challenged conduct. See Sierra Club v. Johnson, 436 F.3d
1269, 1279 (11th Cir. 2006) (associational standing of Sierra Club satisfied by affidavit of one
member who suffered injury in fact). In Florida that is not the case. To establish standing in
Florida, an organization is required, among other things, to demonstrate that a “substantial




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number” of its members would be harmed by the challenged action. 11 Plaintiffs in the pending
litigation have hundreds and thousands of members. Demonstrating that a substantial number of
those members would be affected by a particular permit would be difficult, if not impossible.
Even state-based organizations, such as Plaintiff Florida Wildlife Federation, have been denied
access to sue based on this onerous standing requirement. See Fla. Wildlife Fed’n v. Fla. Dep’t
of Envtl. Prot., Case No. 14-1644RP, 2014 WL 4627151 at *5, 14 (Fla. Div. of Admin. Hearings
Sept. 11, 2014) (finding that even if 20 members of Plaintiff were harmed by proposed rule, this
was not a substantial number and therefore Plaintiff lacked standing; applying a more relaxed
standard for standing than that applied to permit challenges).

        In addition, permit challenges under Florida law require an extraordinary expenditure of
funds, and the risk of mandatory fee awards, not present under federal law. Permit challenges
under Florida law are not based on an administrative record, and, as a result, require challengers
to expend large sums of money to retain expert witnesses and develop evidence. (Exhibits 16,
18, 19 and 20.) Litigation to seek a remedy for permit violations is even more fraught, as
Plaintiffs would be subject to a mandatory attorney-fee shifting provision should they fail to
prevail. Fla. Stat. § 403.412(2)(f). With the reduced deterrent effect of state law caused by the
absence of criminal liability for negligent violations, more violations of state-issued 404 permits
can be expected to occur. However, Plaintiffs will be deprived of access to the courts to hold
permit violators accountable, which will irreparably harm Plaintiffs’ ability to protect
endangered species and enforce 404 requirements. (Exhibits 16, 18, 19, and 20.)

        The inability to challenge unlawful permits, and to seek accountability for permit
violations, undermines the Plaintiffs’ ability to fulfill their missions, and access remedies to
protect their institutional and members’ interests. (Exhibits 16, 18, 19, and 20.) These are
cognizable irreparable organizational harms. See NAACP v. USPS, 2020 WL 5995032 (D.D.C.
Oct. 10, 2020) (finding that delay in mail ballots caused irreparable harm to organization that has
civic engagement program designed to encourage citizens to be fully engaged in democratic
process, and that defendant’s actions making activities of the organization more difficult resulted
in irreparable injury to Plaintiff).


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   See Fla. Home Builders Ass’n v. U.S. Dep’t of Labor, 412 So.2d 351 (Fla. 1982); Farmworker
Rights Org., Inc. v. Dep’t of Health & Rehab. Servs., 417 So.2d 753, 754–55 (Fla. 1st Dist. Ct.
App. 1982) (to establish associational standing under section 120.57(1) organization must
demonstrate that “a substantial number of its members, although not necessarily a majority, are
substantially affected by the challenged rule,” that “the subject matter of the challenged rule is
within the association's general scope of interest and activity,” and that “the relief requested is of
a type appropriate for a trade association to receive on behalf of its members.”); St. Johns
Riverkeeper, Inc. v. St. Johns River Water Mgmt., 54 So.3d 1051, 1054 (Fla. Dist. Ct. App.
2011) (under Florida APA, associational standing requires showing of harm to substantial
interests of a substantial number of members; finding standing under sections 120.569 and
120.57 where organization had 1,500 members, including 50 in the relevant county, and that
there had been more than 1,100 member participant ecological boat trips to the area); Friends of
the Everglades, Inc. v. Bd. of Trustees of Int’l Imp. Tr. Fund, 595 So. 2d 186, 188 (Fla. Dist. Ct.
App. 1992).
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        Lastly, absent preliminary relief, Plaintiff organizations will be deprived of rights and
remedies available under the National Environmental Policy Act (“NEPA”), which does not
apply to state-issued permits, during the pendency of this litigation. (Exhibits 16, 18, 19, and
20.) So long as the legality of the state program is in question, Plaintiffs should not be denied
rights under NEPA, which are available while the program is administered by the Corps. (Id.)
NEPA provides an essential opportunity to environmental advocates to participate in receiving,
reviewing, submitting, and assessing information available to federal agencies before they issue a
404 permit. The same information is essential to assessing the lawfulness of the agency’s
ultimate action and may provide the underpinning for a challenge when federal requirements are
not met. (Id.) Plaintiffs rely on the NEPA process to assess the risks to their organizational
interests and missions, and to advocate for adequate protections to avoid or mitigate those risks.
(Id.) Should they be denied access to the NEPA process during the pendency of this litigation,
the Plaintiffs’ ability to carry out their missions will be significantly impaired, causing
irreparable harm. (Id.)

        Being deprived of information that impairs Plaintiffs from implementing their mission
constitutes irreparable harm. Citizens for Responsibility and Ethics in Washington v. U.S. Dep’t
of Homeland Security, 387 F. Supp. 3d 33 (D.D.C. 2019) (Plaintiff, with mission to provide free
and low-cost legal services to underserved immigrant children, was irreparably harmed by
DHS’s inability to link unaccompanied children to family members, which hurt ability of
Plaintiff to provide advice and consult with clients). Not only do these harms perceptibly impair
the work of Plaintiffs, but they also directly conflict with the missions of Plaintiffs. (Exhibits 16,
18, 19, and 20.) See League of Women Voters, 838 F. 3d at 8.

   3. The Balance of Equities and Public Interest Favor Issuance of a Stay.

        The Supreme Court has held that when there is environmental injury, the balance of harm
favors preliminary relief because “[e]nvironmental injury, by its nature, can seldom be
adequately remedied by money damages and is often permanent or at least of long duration, i.e.,
irreparable.” Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 545 (1987). Thus, the
public has a strong interest in “preservation of the natural environment.” Nat’l Wildlife Fed’n v.
Andrus, 440 F. Supp. 1245, 1256 (D.D.C. 1977). This interest is particularly strong in this case
where the impacts of development will be felt in some of the nation’s most prized wetlands
recognized for their incredible biodiversity and value in providing clean drinking water, storm
resiliency, and economic value.

        When weighing the balance of equities, it is imperative “to balance the competing claims
of injury and the effect an injunction would have on each party.” Fed. Maritime Comm’n v. City
of Los Angeles, 607 F. Supp. 2d 192, 203 (D.D.C. 2009). Courts have looked to the harms that
will befall the parties with or in the absence of a preliminary injunction, and whether such harms
“would be certain and substantial.” Sherley v. Sebelius, 644 F. 3d 388, 398-99 (D.C. Cir. 2011)
(finding that balance of equities tilted against preliminary injunction where the Court was
uncertain that the Plaintiffs would face a “significant additional burden” without the preliminary
injunction, but the hardship imposed on others “would be certain and substantial”).



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        EPA’s approval of the state 404 program represents a radical departure from prior policy
and practice and is ultimately inconsistent with federal law. The balance of equities weigh in
favor of maintaining the status quo pending judicial review. This would allow the 404 program
to continue to operate as it has for decades, a process to which the public and all affected parties
are accustomed and which is consistent with federal law. The “primary purpose of a preliminary
injunction is to preserve the object of the controversy in its then existing condition – to preserve
the status quo.” Aamer v. Obama, 742 F. 3d 1023, 1043 (D.C. Cir. 2014) (internal quotations
omitted).

        As demonstrated above, Plaintiffs in the pending litigation will suffer irreparable harm if
a stay is not granted. Those harms are both substantive, affecting protection for listed species,
and procedural, affecting the ability to challenge unlawful actions through an inadequate, and
often inaccessible state judicial process. Here, EPA and the other interested federal agencies will
only be required to maintain the status quo, continuing to administer the Section 404 program in
Florida as they have for decades.

        Issuance of a stay is also in the public interest because it would ensure the full protection
of the Clean Water Act for wetlands and other waters of the United States in Florida that would
otherwise be in jeopardy of irreparable harm through the permitting of dredge and fill under an
inadequate and unlawful state program. It would also ensure protection of protected species that
rely on those wetlands for feeding grounds, nurseries, and homes.

        Beyond the interests of the Plaintiffs in the pending litigation, and those of the public writ
large, a stay would also ensure that any permitting decisions impacting the sacred sites, cultural
resources, and historic sites of tribes remain subject to the government-to-government
consultation that is required when Section 404 is administered by the federal government, rather
than a state.

        Pursuant to EPA’s consultation with tribes during its consideration of Florida’s
application, impacted tribes voiced significant concerns as to whether EPA’s process complied
with the trust responsibility imposed by NEPA, executive orders, and the National Historic
Preservation Act. Some raised concerns that EPA conducted a hollow, lightning-speed
consultation that (1) completely excluded two federally recognized tribes—the Seminole Nation
of Oklahoma and the Jena Band of Choctaw Indians; (2) provided tribes three business days over
a holiday weekend to review and comment on a draft programmatic agreement that did not
include tribes as signatories; (3) adopted whole cloth a state-level memorandum of agreement
created behind a curtain that excluded most tribes with rights in the state; and (4) applied a
presumption that non-reservation lands are not “Indian Country” pursuant to 18 U.S.C. § 1151,
unless proven otherwise. (Exhibits 21–24.) EPA’s actions upended the longstanding federal-
tribal consultation framework and left several substantive issues raised by the tribes unresolved.

        By issuing a stay, EPA would ensure the rights of the tribes to engage in consultation on
404 matters affecting their interests pending resolution of the claims in this litigation.
Menominee Indian Tribe of Wisconsin v. Envtl. Prot. Agency, 947 F.3d 1065, 1074 (7th Cir.
2020), reh’g denied (May 8, 2020). The tribal right to consultation is invaluable because damage
to or destruction of any sacred lands or culturally significant sites would almost by definition

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constitute irreparable harm. Quechan Tribe of Fort Yuma Indian Reservation v. U.S. Dep’t of
Interior, 755 F. Supp. 2d 1104, 1120 (S.D. Cal. 2010); Comanche Nation v. United States, No.
CIV-08-849-D, 2008 WL 4426621, at *19 (W.D. Okla. Sept. 23, 2008) (harm to project would
“pale in comparison to the prospect of irreparable harm to sacred lands and centuries-old
religious traditions which would occur absent injunctive relief”). For the Miccosukee Tribe of
Indians of Florida, for example, “[t]he entire way of life of the Tribe and its members, including
their cultural, religious, economic, and historical identity, is based upon the Everglades and upon
the preservation of the Everglades in its natural state.” (Exhibit 23; see also Exhibit 25
(explaining that state assumption “has placed several obstacles in the way of the Menominee
Tribe in [its] efforts to protect [its] cultural, historic, and environmental resources currently
under threat of impairment and destruction by the proposed state-permitted mine”).)

         Protection of these sacred sites also benefits the public because “[t]he importance of these
sites transcends their spiritual value to the Tribes and, instead, evidences their cultural
significance to the general public.” Co. River Indian Tribes v. Marsh, 605 F. Supp. 1425, 1440
(C.D. Cal. 1985). Moreover, if the transfer and operation of the state program goes ahead, the
Tribes’ legally protected procedural interest in consultation could effectively be lost. Quechan,
755 F. Supp. 2d at 1120. Tribes affected by Florida’s 404 assumption application should not
lose these important federal rights while the legality of that program approval remains in
question, particularly in light of the tribes’ stated, and unresolved, concerns with the state’s
application and EPA’s consultation process.

        Lastly, there is a “strong public interest in meticulous compliance with the law by public
officials.” Fund for Animals v. Espy, 814 F. Supp. 142, 152 (D.D.C. 1993). See also Citizen’s
Alert Regarding the Env’t v. U.S. Dep’t of Justice, No. 95-CV-1702 (GK), 1995 WL 748246, at
*12 (D.D.C. 1995) (“Issuance of a preliminary injunction here would thus directly serve the
public interest by ensuring that federal agencies thoroughly consider the environmental
consequences…”); Fund for Animals, 814 F. Supp. at 152 (“[A] public interest expressed by
Congress was frustrated by approval of this proposal” without compliance with environmental
law). In sum, there is “no question” that the public has an interest in having Congress’
environmental mandates “carried out accurately and completely.” Brady Campaign to Prevent
Gun Violence, 612 F. Supp. 2d at 26.

        In light of all the foregoing, the balance of the equities and public interest favor issuance
of the requested stay.

                                            Conclusion

         For the reasons expressed above, Plaintiffs in the pending litigation respectfully request
that EPA recognize that the transfer of authority was not lawful or, alternatively, if EPA lawfully
promulgates a rule approving and codifying the state program, that the agency postpone its
effective date. For the reasons stated in the Complaint, Plaintiffs further request that EPA
initiate withdrawal of the approval in accordance with 33 U.S.C. § 1344(i).




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                                                     Sincerely,


                                                     _________________________
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                                                     CHRISTINA I. REICHERT*
                                                     Fla. Bar No. 0114257
                                                     Earthjustice
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                                                     /s/ Bonnie Malloy
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cc:     Tom Wall, Director, Office of Wetlands, Oceans and Watersheds, EPA,
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         Robert Anderson, Principal Deputy Solicitor, U.S. Department of Interior,
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                         Exhibit G
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                               DEPARTMENT OF THE ARMY
                          CORPS OF ENGINEERS, JACKSONVILLE DISTRICT
                            1520 ROYAL PALM SQUARE BLVD, SUITE 310
                                     FORT MYERS, FL 33919

                                      May 30, 2019
Regulatory Division
West Branch
Mining Team

                               PUBLIC NOTICE
                   Permit Application No. SAJ-2008-03793 (SP-WDD)

TO WHOM IT MAY CONCERN: The Jacksonville District of the U.S. Army Corps of
Engineers (Corps) has received an application for a Department of the Army permit
pursuant to Section 404 of the Clean Water Act (33 U.S.C. §1344) as described below:

APPLICANT:            Troyer Brothers Florida LLC
                      c/o Mr. Aaron Troyer
                      14700 Troyer Brothers Road
                      Fort Myers, FL 33913

WATERWAY AND LOCATION: The project would affect waters of the United States
associated with the Big Cypress Swamp Watershed (HUC 03090204). The project site
is located at 14700 Troyer Brothers Road south of State Road 82 in Section 33,
Township 45 South, Range 27 East and Sections 4, 9, 16, & 21, Township 46 South,
Range 27 East, Fort Myers, Lee County, Florida.

Directions to the site are as follows: From I-75 exit Dr. Martin Luther King Jr. Blvd (SR
82) and head southeast for approximately 13.80 miles to Troyer Brothers Road and
head south approximately 0.02 miles. Project site begins at this location and heads
south.

APPROXIMATE CENTRAL COORDINATES: Latitude                        26.489385°
                                 Longitude                       -81.621884°

PROJECT PURPOSE:

Basic: Construction of a new limestone mine

Overall: Construction of a new limestone mine and associated rock processing and
ancillary operations in Lee County for construction purposes.

EXISTING CONDITIONS: The wetland and surface water system is a freshwater
system. The predominant existing land use on the 1803.51-acre project site is row
crops/fallow row crops (FLUCCS 214/261). Additional land uses include residential
(FLUCCS 110), commercial and services (FLUCCS 140), pine flatwoods (FLUCCS
411), live oak (FLUCCS 427), ditches (FLUCCS 510), mixed wetland hardwoods
(FLUCCS 617), willow (FLUCCS 618), hydric melaleuca (FLUCCS 619), cypress
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(FLUCCS 621/624), hydric pine flatwoods (FLUCCS 625), freshwater marshes
(FLUCCS 641), borrow areas (FLUCCS 742), spoil areas (FLUCCS 743), and roads
and highways (FLUCCS 814) The existing area surrounding the project area consists
of agricultural and mining land uses.

PROPOSED WORK: The applicant seeks authorization to discharge dredged or fill
material to construct and operate an FDOT-quality limerock aggregate and fill dirt mine
and processing facility, including the extraction of 256,000 cubic yards of aggregate
from the 1803.50+/- acres project site. Approximately 202.79 acres of permanent
wetland impacts and 10.8 acres of temporary wetland impacts are proposed to
jurisdictional wetlands.

AVOIDANCE AND MINIMIZATION INFORMATION – The applicant has provided the
following information in support of efforts to avoid and/or minimize impacts to the
aquatic environment:

“This particular site was selected due to the fact that it can be economically mined
without adversely impacting the overall water quality and natural water supply within this
region, or significantly impacting other natural attributes associated with the wetlands
and wildlife habitat that exists on this site and on the surrounding conservation lands.
Impacts to wetlands are unavoidable due to the need for the size of the mining
excavation area to provide an economically justifiable mine while placing the location of
the proposed mine pit north to provide an extensive distance buffer between the mine
operation area and nearby residences and businesses. Impacts to higher quality
wetlands were avoided as much as practicable.”

COMPENSATORY MITIGATION – The applicant has offered the following
compensatory mitigation plan to offset unavoidable functional loss to the aquatic
environment:

“Onsite enhancement and restoration totaling 941.03 acres is proposed to mitigate for
wetland impacts.”

The Corps notes that the project is within the service areas of five federally-approved
wetland mitigation banks and will consider the mitigation hierarchy described in the
2008 Compensatory Mitigation Rule in its review of this project.

CULTURAL RESOURCES: The Corps is not aware of any known historic properties
within the permit area. By copy of this public notice, the Corps is providing information
for review. Our final determination relative to historic resource impacts is subject to
review by and coordination with the State Historic Preservation Officer and those
federally recognized tribes with concerns in Florida and the Permit Area.

ENDANGERED SPECIES: The project site is within the consultation areas for the
Florida Panther (Puma concolor coryi), Florida bonneted bat (Eumops floridanus), Red
cockaded woodpecker (Picoides borealis), Audubon’s crested caracara (Polyborus

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plancus audubonii), the Florida grasshopper sparrow (Armnodramus savannarum
floridanus), the Everglade snail kite (Rostrhamus sociabilis plumbeus), and the Florida
scrub jay (Aphelocoma coerulescens). Additionally, the site has suitable habitat for the
eastern indigo snake (Drymarchon corais couperi) and the wood stork (Mycteria
americana).

The Corps has determined the proposed project “may affect” the Florida panther (Puma
concolor coryi). This determination is based on use of the Panther Key (February 19,
2007). The Corps will request initiation of formal consultation with the Fish and Wildlife
Service pursuant to Section 7 of the Endangered Species Act by separate letter.

The Corps has determined the proposed project “may affect” the Florida bonneted bat
(Eumops floridanus). This determination is based on the project impacts occurring
within the consultation area (2013). The Corps will request initiation of formal
consultation with the Fish and Wildlife Service pursuant to Section 7 of the Endangered
Species Act by separate letter.

The Corps has determined the proposed project “may affect, but is not likely to
adversely affect” the red-cockaded woodpecker (Picoides borealis), Audubon’s
crested caracara (Polyborus plancus audubonii), the Florida grasshopper
sparrow (Armnodramus savannarum floridanus), the Everglade snail kite
(Rostrhamus sociabilis plumbeus), and the Florida scrub jay (Aphelocoma
coerulescens). This determination is based on the project impacts occurring
within the consultation area. The Corps will request initiation of informal
consultation with the Fish and Wildlife Service pursuant to Section 7 of the
Endangered Species Act by separate letter.

The Corps has determined the proposed project “may affect” the eastern indigo snake
(Drymarchon corais couperi). This determination was based on use of the Eastern
Indigo Snake Programmatic Concurrence Key (August 1, 2017). The Corps will request
initiation of formal consultation with the Fish and Wildlife Service pursuant to Section 7
of the Endangered Species Act by separate letter.

The Corps has determined the proposed project “may affect, but is not likely to
adversely affect” the wood stork (Mycteria Americana) or its designated critical habitat.
This determination was based on use of the U.S. Fish and Wildlife Service (FWS) wood
stork key dated May 18, 2010. No further consultation is necessary.

NOTE: This public notice is being issued based on information furnished by the
applicant. This information has not been verified or evaluated to ensure compliance
with laws and regulation governing the regulatory program. The jurisdictional line has
not been verified by Corps personnel.

AUTHORIZATION FROM OTHER AGENCIES: Water Quality Certification may be
required from the Florida Department of Environmental Protection and/or one of the
state Water Management Districts.

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COMMENTS regarding the potential authorization of the work proposed should be
submitted in writing to the attention of the District Engineer through the Mining Permits
Section, 1520 Royal Palm Square Blvd, Suite 310, Fort Myers, FL 33919 within 30 days
from the date of this notice.

The decision whether to issue or deny this permit application will be based on the
information received from this public notice and the evaluation of the probable impact to
the associated wetlands. This is based on an analysis of the applicant's avoidance and
minimization efforts for the project, as well as the compensatory mitigation proposed.

QUESTIONS concerning this application should be directed to the project manager,
William DeFrance, in writing at the Fort Myers Permits Section, 1520 Royal Palm
Square Blvd, Suite 310, Fort Myers, FL 33919; by electronic mail at
William.D.DeFrance@usace.army.mil; or, by telephone at (239) 334-1975 x0002.

IMPACT ON NATURAL RESOURCES: Coordination with U.S. Fish and Wildlife
Service, Environmental Protection Agency (EPA), the National Marine Fisheries
Services, and other Federal, State, and local agencies, environmental groups, and
concerned citizens generally yields pertinent environmental information that is
instrumental in determining the impact the proposed action will have on the natural
resources of the area.

EVALUATION: The decision whether to issue a permit will be based on an evaluation of
the probable impact including cumulative impacts of the proposed activity on the public
interest. That decision will reflect the national concern for both protection and utilization
of important resources. The benefits, which reasonably may be expected to accrue from
the proposal, must be balanced against its reasonably foreseeable detriments. All
factors which may be relevant to the proposal will be considered including cumulative
impacts thereof; among these are conservation, economics, esthetics, general
environmental concerns, wetlands, historical properties, fish and wildlife values, flood
hazards, floodplain values, land use, navigation, shoreline erosion and accretion,
recreation, water supply and conservation, water quality, energy needs, safety, food,
and fiber production, mineral needs, considerations of property ownership, and in
general, the needs and welfare of the people. Evaluation of the impact of the activity on
the public interest will also include application of the guidelines promulgated by the
Administrator, EPA, under authority of Section 404(b) of the Clean Water Act or the
criteria established under authority of Section 102(a) of the Marine Protection Research
and Sanctuaries Act of 1972. A permit will be granted unless its issuance is found to be
contrary to the public interest.

The US Army Corps of Engineers (Corps) is soliciting comments from the public;
Federal, State, and local agencies and officials; Indian Tribes; and other Interested
parties in order to consider and evaluate the impacts of this proposed activity. Any
comments received will be considered by the Corps to determine whether to issue,
modify, condition, or deny a permit for this proposal. To make this determination,

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comments are used to assess impacts to endangered species, historic properties, water
quality, general environmental effects, and the other public interest factors listed above.
Comments are also used to determine the need for a public hearing and to determine
the overall public interest of the proposed activity.

COASTAL ZONE MANAGEMENT CONSISTENCY: In Florida, the State approval
constitutes compliance with the approved Coastal Zone Management Plan. In Puerto
Rico, a Coastal Zone Management Consistency Concurrence is required from the
Puerto Rico Planning Board. In the Virgin Islands, the Department of Planning and
Natural Resources permit constitutes compliance with the Coastal Zone Management
Plan.

REQUEST FOR PUBLIC HEARING: Any person may request a public hearing. The
request must be submitted in writing to the District Engineer within the designated
comment period of the notice and must state the specific reasons for requesting the
public hearing.




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                             Case 1:21-cv-00119-RDM                                                             Document 31-1              Filed 03/05/21      Page 136 of 242
SECT,a,/S: 28 snd 33 SECT,a,/S: • 9, 16, snd 21
TOWNSHIP- 45 S                                      TOWNSHIP: 46 S                                                                                                                                                                   N.T.S.
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                                                         Vicinity Map                                                                                     Location Map                                                       Moy 23, 2019 1: 04: 05 p.m.
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                                       Troyer Brothers Agricultural Property                                                                             ~ DEXBENDER
                                                                                                                                                        -'-1::j E NVIRO NMEN TAL CON SULT/N G
                                                                                                                                                                    FORT MYERS 239-334-3680
Case 1:21-cv-00119-RDM   Document 31-1   Filed 03/05/21   Page 137 of 242




                                                                            Troyer Brothers Agriculfural Property
            Case 1:21-cv-00119-RDM           Document 31-1        Filed 03/05/21     Page 138 of 242

                                       ........
                                                     Troyer Brothers Agricultural Property

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                                                                          COE Jurisdictional Wetlands to be
                                                                          Permanently Impacted (202.79 ac.)


                                                                          COE Jurisdictional Wetlands to be
                                                                          Temporarily Impacted (10.8 ac.)




                                                                 □
                                                                          COE Jurisdictional Wetlands to be
                                                                          Avoided (594.24 ac.)




                                                     Notes:
                                                       1. Properly and project boundaries are approximate and were
                                                          obtained from Morris - Depew Associates.
                                                       2. Mapping based on photointerpretation of 2015 aerial
                                                          photography and ground truthing in February 2016.
                                                       3. Delineation of jurisdictional wetlands approved by FDEP
                                                          in April 2009.
                                                       4. FLUCCS and impact acreages reflect overall property.

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Matchline                                                                                  February 27, 2019 3 : 09: 15 p.m.
                                                                                           Drawing: HGS1COLORIMPACT.OWG


          Color Coded                                       ~ DEXBENDER
       Impact Map - Sheet 1                                 LJ:::jENVIRONMENTAL CONSULTING
                                                                   FORT MYERS 239- 334- 3680
             Case 1:21-cv-00119-RDM        Document 31-1      Filed 03/05/21     Page 139 of 242



Match line




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                                                                   COE Jurisdictional Wetlands to be
                                                                   Permanently Impacted (202.79 ac.)

                                                                   COE Jurisdictional Wetlands to be
                                                                   Temporarily Impacted (10.8 ac.)




                                                          □
                                                                   COE Jurisdictional Wetlands to be
                                                                   Avoided (594.24 ac.)




                                                 Notes:
                                                   1. Property and project boundaries ore approximate and were
                                                      obtained from Morris - Depew Associates.
                                                   2. Mapping based on photointerpretation of 2015 aerial
                                                      photography and ground truthing in February 2016.
                                                   3. Delineation of jurisdictional wetlands approved by FDEP
                                                      in April 2009.
                                                   4. FLUCCS and impact acreages reflect overall property.



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                                                      P£R.JI/J' US£ ONLY, .NOJ' FOR COHSJ'ROCJ'/ON
                                                                                       February 27, 2019 3:09:15 p.m.
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           Color Coded                                   ~ DEXBENDER
        Impact Map - Sheet 2                            "'-J:::jE NVIRONMENTAL CONSULTING
                                                               FORT MYERS 239- 334-3680
          Case 1:21-cv-00119-RDM    Document 31-1          Filed 03/05/21         Page 140 of 242
                    Troyer Brothers Agricultural Property




                                                                140
                                                             (12.44 ac.)




                                                          5100
                                                        (0.99 ac.)


                                                             214
                                                          {15.45ac.)


                                                                 814
                                                             (25.41 ac.)



                                                          5100
                                                        {0.38 ac.)




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                                                                 5100
                                                               (0.90 ac.)



                                                                  214
                                                              (17.57 ac.)




                                                                            814
                                                              743
                                   MATCHLINEA              {0.40 ac.)
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                                                            rr. ~r. W                   February 26, 2019 2:02:27 p.m.
SCALE     FEET       P.ERJIIJ" US£ OHI,Y, HOJ" .FOR COHSJ"Ru"CJ".dJ..                 OtQWlrlg: HGS11MP-V.U-8.5X11.DWG




        Impact Map - Sheet 1                           ~ DEXBENDER
                                                       LJ:::f ENVJRONMEN7AL CON SULTIN G
                                                               FORT MYERS 239-334- 3680
                    Case 1:21-cv-00119-RDM                                                                Document 31-1                     Filed 03/05/21          Page 141 of 242
                                                         Troyer Brothers Agricultural Property
                                                                                                                                                                                     ,_
                                                                                                                                             MATCHLINEA                        (0.40 ac.)
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SCALE           FEET                                         P.ERJ:IIJ' US£ OHI,Y, HOJ' .FOR COHSJ'.RUCJ'IOH                                                                   DtQWlrlg: HGS11MP-v.t:T-8.5X11.DWG



            Impact Map - Sheet 2                                                                                                        Q D EXB ENDER
                                                                                                                                        ~     ENWRONMENlAL CONSULTTNG
                                                                                                                                              FORT MYERS 239- 334- 3680
                             Case 1:21-cv-00119-RDM                                                                                Document 31-1                      Filed 03/05/21               Page 142 of 242
                                                                           Troyer Brothers Agricultural Property
                                         ♦       ♦       •       •         •       •       •       •       •       +       •       +   •
                                     •       •       ♦       •       •         •       •       •       •       •       •       •                                                             (36,69 ac.)
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                                               510D                                                                                                                        5100
                                             (2.35 ac.)                                                                                                                  (1.50 ac.)



                                                                         743                                                                                743
                                         5100                                                                                        -5100               (1.11 ac.)
                                                                                                                                   (5.61 ac.)                                                                                                                    814




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                                                       5100                                                                                                                                                                             (0.63 ac)
                                                     (1.55 ac.)                                                                                                                                                                                              •
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                     Impact Map - Sheet 3                                                                                                                    Q DEXBENDER
                                                                                                                                                             -'t=J ENVIRONME N TAL C ONSULTING
                                                                                                                                                                        FORT MYERS 239- 334-3680
              Case 1:21-cv-00119-RDM                          Document 31-1                   Filed 03/05/21                                        Page 143 of 242
                              Troyer Brothers Agricultural Property
                      MATCHLINE C                                                                                                                                               .
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  SCALE       FEET             P.E.RNI7' l/S.E O.N.lY, HO:/' .FO.R COHS7'Rl/C7'IOH                                                                              DtQWlrlg: HGS11MP-WET-8.5X11.DWG



          Impact Map - Sheet 4                                                        Q D EXB ENDER
                                                                                   ~                   EN~RONMEN TALCONSULTTNG
                                                                                                       FORT MYERS 239- 334- 3680
           Case 1:21-cv-00119-RDM                           Document 31-1          Filed 03/05/21          Page 144 of 242
                                Troyer Brothers Agricultural Property
                                           •
                                                                                       MATCHLINE D



                               .• . . .                                                                          5100
                                                                                                               {1.52 ac,)




                                                                                                 5100
                           • • • (67.21 ac,),. • • • ,. •
                                                                                               (1.15ac.)



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                                                                  {4.19 ac.)


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          • (13.80 ac,)
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SCALE     FEET                    P..i'.RNI:J' US..i' OHI,Y, HO:J' .FO.R COHS:J'.RUC:J'IOH                     DtQWlrlg: HGS11MP-WET-8.5X11.DWG



        Impact Map - Sheet 5                                                   Q DEXBENDER
                                                                               ~     EN~RONMENTAL CONSULTTNG
                                                                                     FORT MYERS 239- 334-3680
          Case 1:21-cv-00119-RDM   Document 31-1    Filed 03/05/21                                     Page 145 of 242
                    Troyer Brothers Agricultural Property
                                             MATCHLINE E •            •
                                                                           . • • .• . . . .            +       +       +        •
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                                             Corkscrew Road

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SCALE     FEET       P£RNI7' US£ OHI,Y, HO:/' .FOR COHS:/'RUC:/'IOH                                                    Dtawlrlg: HGS11MP-v.D'-8.5X11.DWG




        Impact Map - Sheet 6                    r;J..DEXBENDER
                                               6t:=j E N VIRONMEN TAL CONSULTING
                                                      FORT MYERS 239- 334- 3680
           Case 1:21-cv-00119-RDM Document 31-1 Filed 03/05/21 Page 146 of 242
SECTIONS: 28 snd 33
TOWNSHP- 45 S
                      Troyer Brothers Agricultural Property
RANGE: 27E
SECTIONS: • 9, ~ snd 21
TOWNSHP- 46 S
RANQE: 27E

                FLUCCS        Description                                         Acreage
                110           Residential                                         9.00 ac.
                140           Commercial and Services                             12.44 ac.
                214           Row Crops                                           702.88 ac.
                261           Fallow Crop Land                                    132.22 ac.
                261HE2        Hydrlc Fallow Crop Land Invaded by Exotics (26-50%) 5.34 ac.
                411E          Pine Flatwoods Invaded by Exotlcs{5-9%)             3.69 ac.
                411E1         Pine Flatwoods Invaded by Exotlcs(10-25%)           16.76 ac.
                411E2         Pine Flatwoods Invaded by Exotics(26-50%)           17.37 ac.
                427E1         Live Oak Invaded by Exotics( 10-25%)                2.51 ac.
                5100          Ditches                                             42.76 ac.
                617E          Mixed Wetland Hardwoods Invaded by Exotlcs(5-9%)    6.20 ac.
                617E1         Mixed Wetland Hardwoods Invaded by Exotlcs(10•25%) 34.78 ac.
                617E2         Mixed Wetland Hardwoods Invaded by Exotlcs(26-50%) 21.38 ac.
                617E3         Mixed Wetland Hardwoods Invaded by Exotlcs(51-75%) 33.41 ac.
                618E          WIiiow Invaded by Exotlcs(5-9%)                     2.77 ac.
                618E2         WIiiow Invaded by Exotlcs(26-50%)                   2.61 ac.
                619M          Hydrlc Melaleuca                                    9.44 ac.
                621E          Cypress Invaded by Exotlcs(5-9%)                    4.09 ac.
                621E1         Cypress Invaded by Exotlcs(10-25%)                  199.31 ac.
                621E2         Cypress Invaded by Exotlcs(26-50%)                  18.84 ac.
                624E          Cypress - Pine Invaded by Exotlcs(5..S%)            9.03 ac.
                624E1         Cypress - Pine Invaded by Exotlcs(10-25%)           20.00 ac.
                625E          Hydrlc Pine Flatwoods Invaded by Exotlcs(5-9%)      62.97 ac.
                625E1         Hydrlc Pine Flatwoods Invaded by Exotlcs(10-25%)    17.88 ac.
                641E          Freshwater Marshes Invaded by Exotlcs(S-9%)         9.90 ac.
                641E1         Freshwater Marshes Invaded by Exotics(10-25%)       305.20 ac.
                742           Borrow Areas                                        1.91 ac.
                743           Berms                                               73.40 ac.
                814           Roads and Highways                            Total  25.41 ac.
                                                                                  1,803.5 ac.


      -          Wetland Dredge (134.46 ac.)              •   ..   ♦   ...     Wetland Preserve (594.24 ac.)



      ~ WeUand Fill (68.33 ac,)                                              - Upland Preserve (39.98 ac.)
                                                                             -
      -          Temporary Impact (10,8 ac.)     Notes:
                                                   1. Property and project boundaries are approximate and were
                                                      obtained from Morris- Depew Associates.
                                                   2. Mapping based on photoln terpretation o f 2015 aerial
                                                      phot ography and ground truthlng in February 2016.
                                                   3. Delineation of Jurisdictional wetlands approved by FOEP
                                                      in April 2009.
                                                   4. FLUCCS and impac t acreages reflect overall property.

                          P.ERJl'I:/' US£ OHI,Y, HO:/' .FOR COHS:/'.RUC:/'IOH                    or!°wt~~arJc~fiM~~~.:.~~~~~,.g·~
                                                              Q DEXBENDER
          Impact Map - Sheet 7                            .tt:::fE N VIRONME N TA L coNsuLnNG
                                                                       FORT MYERS 239- 334- 3680
          Case 1:21-cv-00119-RDM    Document 31-1           Filed 03/05/21            Page 147 of 242
                    Troyer Brothers Agricultural Property




                                                                140
                                                             (12.44 ac.)




                                                          510D
                                                        (0.99 ac.)


                                                               214
                                                           (15.45 ac.}


                                                                    814
                                                              (25.41 ac.)




                                                           51 0D
                                                        (0.38 ac.)




                                                                                W-2




                                                                     510D
                                                                   (0.90 ac.)



                                                                    214
                                                              (17.57 ac.)




                                                                                814
                                                               743
                                   MATCHLINEA               {0.40 ac.)
                                                510D
0   300     600
SCALE     FEET

        Wetland Map - Sheet 1                          ~           DEXBENDER
                                                       -'-f:=j ENVIRONMENTAL CONSULTING
                                                               FORT MYERS 239- 334- 3680
          Case 1:21-cv-00119-RDM   Document 31-1   Filed 03/05/21        Page 148 of 242
                    Troyer Brothers Agricultural Property
                                                                                     I-
                                                    MATCHLINEA                    (0.40 ac.)
                                                                 5100
                                                               (0A3 ac.)




                                                                                          214
                                                                                    (12.89 ac.)




                                                                    743
                                                                 (0.57 ac.)




                                                                                          214
                                                                                     (8.13 ac.)

                                                                                          5100
                                                                                        (0.74 ac.)
                                                       W-5A
                                                                              110
                                                                           (9.00 ac.)

                                                                                                 5100
                                                                                               (0.49 ac.)

                                                                                         742
                                                                                    (0,58 a ~ . )
                                                                              261
                                                                           (17.31 ac.)
                                                                                                            814
                                                                                               W-68




                                                                        261
                                                                (36.69 ac.)
                                                         MATCHLINEB
                                                                                        743
                                                                              ~            \
0   300     600
SCALE     FEET


    Wetland Map - Sheet 2                      ~     DEXBENDER
                                               -'-t=J ENVIRONMENTAL CONSULTING
                                                     FORT MYERS 239- 334- 3680
              Case 1:21-cv-00119-RDM                       Document 31-1                      Filed 03/05/21              Page 149 of 242
                                  Troyer Brothers Agricultural Property
                                                                                                                     (36,69 ac.)
                                                                                                       MATCHLINE B




                                                                                                                                                         814



                                              261
                                           (34.74 ac.)

                                                                                                 214
                                                                      5100                                S10D
                                                                    (0.27 ac.)                          (0.60 ac.)


617E3

                                                                                                            5100
                                                                                                          {0.74 ac.)


                                                            214

                       510D                                                                         5100
                     (2.35 ac.)                                                                  (1 .50 ac.)



                                  743                                               743
                 5100                                        -5100               (1.11 ac.)
                                                           {5,61 ac.)                                                                                    814
                                                                                                                                            641E
                                                                                                                                          (0.83 ac.)

                                                                                     743
                                                                                  (15.19 ac.)
                                                     214

                           5100
                         (1.55 ac.)

                                                                                                                                             214
                                                                                                                                          (11 .60 ac.)




                          MATCHUNEC

 0      300     600
  SCALE       FEET                    P.ERJII:/' US£ OHI,Y, HO:/' .FOR COHS:/'RUC:/'IOH                                            or!°wt~;arJc~fiM~~~~~~~~~,.g-~
                                                                                      ~         DEXBENDER
        Wetland Map - Sheet 3                                                        ~ E N VIRONMEN TAL coNsuLnNG
                                                                                                FORT MYERS 239- 334- 3680
             Case 1:21-cv-00119-RDM                        Document 31-1        Filed 03/05/21   Page 150 of 242
                             Troyer Brothers Agricultural Property
                     MATCHLINE C                3.15 ac.




743



                                    21•


                                                                                                                             814
                               5100
                             (0.45 ac.)




                                                    510D
                                                  (3.27 ac.)




 743


                                              214
                                          (637.23 ac.)



              510D




                                                                                                                               814
                                                                                                 510D




                                                                                214




                                                                     618E               MATCHUNED
                                                                   (0.90 ac.)

0      300      600

 SCALE       FEET             P.ERNI:/' US£ OH.lY, HO:/' .FOR COHS:/'RUC:/'IOH                          or!°wt~~arJc~fiM~~1k;.:.~~~~l,.g-~
                                                                            ~         DEXBENDER
       Wetland Map - Sheet 4                                             -'-f:j ENVIRONME N TAL c oNsuLnNG
                                                                                  FORT MYERS 239- 334- 3680
          Case 1:21-cv-00119-RDM   Document 31-1         Filed 03/05/21           Page 151 of 242
                    Troyer Brothers Agricultural Property
                                                             MATCHLINE D



                                                                                        5100
                                                                                      (1.52 ac.)




                                                                       5100
                                                                    (1 .15 ac.)




                                                                         214
                                                                                                    814




                                           5100
                                         (4.19 ac.)


                             214                                  214




                                                                                                    814




                                               MATCHLINE E




0   300     600

SCALE     FEET


    Wetland Map - Sheet 5                             r;J..DEXBENDER
                                                      1-J::jE N VIRONME N TAL CONSULTING
                                                           FORT MYERS 239- 334- 3680
          Case 1:21-cv-00119-RDM   Document 31-1     Filed 03/05/21          Page 152 of 242
                    Troyer Brothers Agricultural Property
                                              MATCHLINEE




                                                                  261
                                                               (43.48 ac.)




                                              Corkscrew Road

0   300     600

SCALE     FEET       P.ERNI:/' US£ OHI,Y, HO:/' .FOR COHS:/'RUC:/'IOH            or!°w~~~arJc~fiM~~~.:.~~~~l,.g-~
                                                 ~      DEXBENDER
    Wetland Map - Sheet 6                       ~ E N VIRONMENTAL coNsuLnNG
                                                       FORT MYERS 239- 334-3680
           Case 1:21-cv-00119-RDM          Document 31-1         Filed 03/05/21       Page 153 of 242
                           Troyer Brothers Agricultural Property
SECTIONS: 28 snd 33
TOWNSHP:     45 S
RANGE: 27E
SECTIONS: .( 9, ~ snd 21
TOWNSHP- 48 S
RANGE: 27E

                 FLUCCS        Description                                         Acreage
                 110           Residential                                         9.00ac.
                 140           Commercial and Services                             12.44 ac.
                 214           Row Crops                                           702.88 ac.
                 261           Fallow Crop Land                                    132.22 ac.
                 261HE2        Hydric Fallow Crop Land Invaded by Exotics (26-50%) 5.34 ac.
                 411E          Pine Flatwoods Invaded by Exotics(5-9%)             3.69 ac.
                 411E1         Pine Flatwoods Invaded by Exotics(10-25%)           16.76 ac.
                 411E2         Pine Flatwoods Invaded by Exotics(26-50%)           17.37 ac.
                 427E1         Live Oak Invaded by Exotics( 10-25%)                2.51 ac.
                 510D          Ditches                                             42.76 ac.
                 617E          Mixed Wetland Hardwoods Invaded by Exotics(5-9%)    6.20 ac.
                 617E1         Mixed Wetland Hardwoods Invaded by Exotics(10-25%) 34.78 ac.
                 617E2         Mixed Wetland Hardwoods Invaded by Exotics(26-50%) 21 .38 ac.
                 617E3         Mixed Wetland Hardwoods Invaded by Exotics(51-75%) 33.41 ac.
                 618E          Willow Invaded by Exotics(5-9%)                     2.77 ac.
                 618E2         Willow Invaded by Exotics(26-50%)                   2.61 ac.
                 619M          Hydric Melaleuca                                    9.44 ac.
                 621E          Cypress Invaded by Exotics(5-9%)                    4.09 ac.
                 621E1         Cypress Invaded by Exotics(10-25%)                  199.31 ac.
                 621E2         Cypress Invaded by Exotics(26-50%)                  18.84 ac.
                 624E          Cypress - Pine Invaded by Exotics(5-9%)             9.03 ac.
                 624E1         Cypress - Pine Invaded by Exotics(10-25%)           20.00 ac.
                 625E          Hydric Pine Flatwoods Invaded by Exotics(5-9%)      62.97 ac.
                 625E1         Hydric Pine Flatwoods Invaded by Exotics(10-25%)    17.88 ac.
                 641E          Freshwater Marshes Invaded by Exotics(5-9%)         9.90 ac.
                 641E1         Freshwater Marshes Invaded by Exotics(10-25%)       305.20 ac.
                 742           Borrow Areas                                        1.91 ac.
                 743           Berms                                               73.40 ac.
                 814           Roads and Highways                            Total 25.41 ac.
                                                                                   1,803.5 ac.



                             ~              COE Jurisdictional Wetland (807.82 ac.)



Notes:
  1. Property and project boundaries ore approximate and were
     obtained from Morris Depew Associates.
  2. Mopping based on photointerpretotion of 20 15 aerial
     photography and ground truthing in February 2016.
  3. Delineation of jurisdictional wetlands approved by FDEP
     in April 2009.
  4. Fl.UCCS and impact acreages reflect overall property.




                                                             ~     DEX BEND ER
       Wetland Map - Sheet 7                                ~ENVIRONMENTAL coNsuLTJNG
                                                                   FORT MYERS 239 334 3680
Case 1:21-cv-00119-RDM   Document 31-1   Filed 03/05/21   Page 154 of 242




                         Exhibit H
    Case 1:21-cv-00119-RDM              Document 31-1          Filed 03/05/21       Page 155 of 242




July 11, 2019

William DeFrance, Project Manager                                                           Sent via email
US Army Corps of Engineers
1520 Royal Palm Square Blvd.
Suite 310
Fort Myers, FL 33919

Larry Williams, Field Supervisor
US Fish and Wildlife Service
1339 20th Street
Vero Beach, FL 32960

        RE: Troyer Mine, Lee County (SAJ-2008-03793)

Dear Mr. DeFrance and Mr. Williams:

The Conservancy of Southwest Florida, on behalf of our more than 7,000 members, writes with
concerns regarding the proposed Troyer Mine (SAJ-2008-03793). This large project, at over
1,800 acres, is proposed in the heart of Lee County panther habitat and would sever flowways
that sustain the Flint Pen Strand. As the Troyer site is surrounded by the Airport Mitigation Park,
Sam Galloway Tract Preserve, Imperial Marsh Preserve, and Corkscrew Regional Mitigation
Bank, the project also jeopardizes adjacent public preserved lands and regional water resources.

Project Proposes Significant and Adverse Impacts to Listed Species and Their Habitats

We are concerned that the proposed Troyer Mine may adversely affect several listed species.
Listed species that have been observed on the site include: Audubon crested caracara, bald eagle,
wood stork, Florida sandhill crane, roseate spoonbill, limpkin, little blue heron, snowy egret, tri-
colored heron, white ibis, American alligator, and Big Cypress fox squirrel. In addition, the site
contains viable habitat for a number of additional listed species, including the Everglades snail
kite, the Florida black bear, and the Florida panther.1 Furthermore, this site is considered
essential habitat for the critically endangered Florida panther (about 90% of the site is Primary
Zone priority panther habitat, with the remainder being Secondary Zone panther habitat). The
mine is proposed adjacent to public lands which are also heavily utilized by the panther and other
listed species. The project may adversely affect the panther and other federally-listed species
listed under the Endangered Species Act (ESA).

1
 Lee County Division of Environmental Sciences, 2018. Staff Report from Department of Community
Developments, Division of Environmental Sciences for Troyer Brothers MEPD. June 8, 2018. P. 5-8.
    Case 1:21-cv-00119-RDM                Document 31-1           Filed 03/05/21         Page 156 of 242
                                                                           Conservancy of Southwest Florida 2
                                                                  Troyer Mine, Lee County (SAJ-2008-03793)


Impacts to Crested Caracara

The Conservancy is concerned about adverse impacts from the proposed Troyer Mine on crested
caracaras, including an observation of a foraging caracara in the northern row crops near the
entrance to Troyer Farms.2 While no nests were yet found onsite, suitable habitat is located on-
site, particularly between Wetlands W-3 and W-4 that are both slated to be removed.1 With no
change in site design, the project will not only disturb and harass present caracaras, but will also
result in loss of occupied habitat within established caracara territories.

The applicant should conduct caracara surveys, consistent with U.S. Fish and Wildlife Survey
policy, to account for any nests that are off-site but where the project falls within the 1,500 meter
protective buffer area.3

A prime objective for caracara recovery is to “protect and enhance currently occupied habitat.”4
Likewise, the USFWS Species Conservation Guidelines require protection practices within the
primary zone and secondary zone habitats, such as conservation of pasture and grassland
habitats. Habitat loss within this area, as well as the disturbance from mining activities within the
area, threaten to harm and harass caracaras. FWS guidelines stipulate that “new construction
[within the management zones] that will increase the level of disturbance may adversely affect
caracaras.” 5

Therefore, the ACOE and FWS should determine that the project ‘may adversely affect’ the
crested caracara and initiate formal consultation to ensure impacts to nesting and foraging
caracaras are avoided and minimized.

Impacts to Wood Storks

The proposed Troyer Mine is also within the Core Foraging Area (CFA) of three active wood
stork colonies (Exhibit A). Endangered wood storks rely on the hundreds of acres of freshwater
marsh and hydric pine flatwoods within the proposed mine site and will be adversely affected by
the proposed impacts to 214 acres of wetlands and irrigation ditches on the site.

Not only will the project impact occupied habitat on-site, it will also create an ongoing
disturbance impact with the dragline and blasting operating up to 24 hours a day, six days a
week, with a total operation of 35 years.2

Although the applicant is offering to create littoral wetlands around the mining pits as part of
their mitigation required by Lee County, the success of these created habitats and their ability to
provide long-term and viable foraging habitat has been questioned by the FWS (Enclosure letter

2
  Lee County Division of Environmental Sciences, 2010. Staff Report from Department of Community
Developments, Division of Environmental Sciences for Troyer Brothers MEPD. November 2, 2010. P. 4.
3
  US Fish and Wildlife Service, 2017. USFWS Crested Caracara Draft Survey Protocol – Additional Guidance.
4
  Multi-Species Recovery Plan for Florida Audubon’s Crested Caracara. P. 4-233.
5
  US Fish and Wildlife Service, April 20, 2004. South Florida Ecological Services Office, Species Conservation
Guidelines, Audubon’s Crested Caracara. P. 3.
    Case 1:21-cv-00119-RDM              Document 31-1           Filed 03/05/21        Page 157 of 242
                                                                        Conservancy of Southwest Florida 3
                                                               Troyer Mine, Lee County (SAJ-2008-03793)

by U.S. Fish and Wildlife Service to Troyer Mine RAI).6 In fact, the FWS states that this type of
created habitat results in high fish numbers; however, these numbers are not a reliable indicator
of quality foraging habitat for wading birds.6 For these types of created habitats, efficacy is
negatively affected by loss of organic muck, lack of emergent vegetation diversity, uniform
surfaces that lack habitat refuge, and damaging wave energy, etc.7

Impacts that may result in take, such as loss of wetlands, should be adequately compensated with
tried-and-true and scientifically-supported measures. Thus, the FWS may wish to withhold full
compensatory credit until the time that these techniques are fully proven.

Impacts to Florida Panther

The Conservancy is very concerned that the proposed Troyer Mine will jeopardize the
endangered Florida panther and its habitat. The project will directly destroy 907.6 acres of
essential habitat necessary to sustain the panther population, even at its current critically-low
status.8 Additional acreage of panther habitat on site will be degraded and fragmented.

The proposed mining site is located entirely within Primary and Secondary Habitat Zones and
91% of the site is Adult Breeding Habitat for the Florida panther, an area, which as the FWS
acknowledges, “supports the breeding population of panthers” (Exhibit B).9 Kautz et al. (2006)8
is considered best available science and recognizes the habitat areas delineated in the study as
crucial for Florida panther recovery.10 The area defined as the Primary Zone is the minimum
“space to support a population that is barely viable demographically as long as the habitat base
remains stable” and therefore advocates for a “no net loss of landscape function or carrying
capacity.” 8 The delineated habitat zones are essential to long-term viability, survival, and
recovery of the species, yet this project proposes to destroy hundreds of acres of habitat.
Loss of habitat, particularly in the Lee-Collier area where fragmentation, isolation, and
degradation of habitat have been occurring rapidly, will have devastating individual and
cumulative effects.

The Florida Panther Recovery Plan indicates that while loss and fragmentation of habitat is the
leading threat to the survival of the species, panthers also “avoid areas within their home range
with intensification of disturbance”.10 Being directly adjacent to heavily utilized wildlife habitat,
this intensification of use has the potential to seriously impact both the function and value of
these areas for the Florida panther and wildlife in general.



6
  US Fish and Wildlife Service, 2009. Letter from US Fish and Wildlife Service to US Army Corps of Engineers
regarding Troyer Mine. August 14, 2009. P. 7.
7
  US Army Corps of Engineers, 2009. Final Supplemental Environmental Impact Statement on Rock Mining in the
Lake Belt Region of Miami-Dad County, Florida, as cited in US Fish and Wildlife Service, 2009. Letter from US
Fish and Wildlife Service to US Army Corps of Engineers regarding Troyer Mine. August 14, 2009. P.7.
8
  Kautz, et al (2006). How much is enough? Landscape-scale conservation for the Florida panther. Biological
Conservation: Vol. 130, p. 118-133. P. 131.
9
  US Fish and Wildlife Service, 2009. Letter from US Fish and Wildlife Service to US Army Corps of Engineers
regarding Troyer Mine. August 14, 2009. P. 2.
10
   US Fish and Wildlife Service, 2008. Florida Panther Recovery Plan, 3rd Revision.
      Case 1:21-cv-00119-RDM               Document 31-1          Filed 03/05/21        Page 158 of 242
                                                                           Conservancy of Southwest Florida 4
                                                                  Troyer Mine, Lee County (SAJ-2008-03793)

Glare and light trespass from the mine site will also be detrimental to established Florida panther
habitat and the functionality of conservation lands, which is directly adjacent to the mine, as a
panther corridor. Artificial lighting is known to have negative effects on wildlife behavior.10
The application of this principle on as large a scale as the Troyer Brothers Mine suggests, the
lights from the mine site may impact the panther’s use of adjacent conservation habitat areas,
especially given the possibility of the mine operating 24 hours during emergency situations.
These habitat impacts are the unavoidable result of intensification and increased human activity
of any mining operation and especially in this case where the mine proposes direct impacts to
established panther habitat.

Mining impacts such as blasting, equipment noise, dust, and bright lights could cause increased
disturbance and the excavation of mine pits will result in direct and permanent habitat loss,
fragmentation of established travel routes, and an increase in incidental vehicular deaths of this
endangered species from truck and vehicle traffic generated by the project. The mine operation
will significantly increase the number of trucks using SR82 creating a negative and incompatible
impact on the existing residents in this area, as well as burden State Road 82/ Immokalee Road
by adding 2,089 truck trips daily.

Due to the large loss of habitat acreage and indirect effect of panther mortality due to increased
traffic, the project should be denied as proposed. The ACOE and FWS should determine that this
project adversely impacts the Florida panther, and initiate formal consultation to avoid and
minimize impacts to this species.


Project Proposes Significant and Adverse Impacts to Flowways and Water Resources

Mining within this area of Lee County creates many potential impacts to groundwater
availability and impacts to natural areas. These potential impacts include increased evaporation
for lakes created for mining, lowered water table, and adjacent wetlands being drained due to
seepage from wetlands into the mines. Limerock mining does irreparable damage to groundwater
and flowway patterns and levels (Exhibit C), which can never be restored once a property is
mined.

The applicant claims that wetland impacts have been avoided and minimized due to selection of
this site which they state “can be... mined without adversely impacting the overall water quality
and natural water supply within this region, or significantly impacting other attributes associated
with the wetlands and wildlife habitat that exists on this site and on the surrounding conservation
lands.”11 As explained above, the project will adversely impact listed species. The project will
also have negative impacts on water resources as well, as explained below. Therefore, the
applicant has not adequately avoided and minimized impacts and does not adequately met the
requirements of the Clean Water Act.




11
     Army Corps of Engineers, 2019. Troyer Brothers Florida LLC. Public Notice. May 30, 2019.
     Case 1:21-cv-00119-RDM            Document 31-1          Filed 03/05/21       Page 159 of 242
                                                                       Conservancy of Southwest Florida 5
                                                              Troyer Mine, Lee County (SAJ-2008-03793)

Increased Evaporation

The applicant intends to create one 781 acre mining pit, representing 45% of the overall
property. In the dry season when most evaporation occurs, the mine lake elevations decreases
resulting in a much lower than normal water elevation.

For example, the nearby Bell Road Mine, which has two lakes of approximately 30 feet in depth,
is already impacting the adjacent landowners due to evaporation. In the dry season the Bell Mine
lake elevation is lower than the groundwater which causes groundwater to be drawn towards it.
The lowering of the lake elevation is caused by evaporation of the lake water being much greater
than that from the soils above the aquifer in the area.12

The county funded 2009 DHI hydrology report looked at four different land use change scenarios
which involved the impact of mining. On page 12 of the report it states “This modeling has
indicated, in general, that the annual averaged ET (evapotranspiration) rates from the DR/GR
Area would be higher with greater areal coverage of mining pits. The surface water outflow rate
(runoff) from the DR/GR Area was lower in all the scenarios compared to the ECM (existing
conditions model), which is likely related to the greater mining pit coverage. These results are
expected due to the higher ET losses and the lower runoff from mining pits and its effects on the
surface water flow in neighboring areas.”13 Decreasing water flow to the DR/GR area as
predicted by this model would be detrimental.

The evidence confirms that the larger Troyer mine lakes will have a significant adverse impact to
the adjacent land owners and conservation lands.

Lowered Water Table

The funded Lee County Report by DHI states that the creation of mine lakes will lower the dry
season groundwater elevation around them and decrease the flow to the Density
Reduction/Groundwater Resource area.13 Creation of the mine lake will lower the areas
groundwater elevation in the dry season greater than normal. This will greatly impact the
ecology of the DR/GR; plants and animals which have sensitive ecologic requirements during
the dry season will also be greatly impacted. Construction of the mine may lower the water table
23 inches further than normal in the dry season in the north part of the property.12

Impacts to Wetlands

A change of the water table by creation of mine lakes would have an adverse impact on the
existing farm lands and wetland areas. The wetland ecosystem depends on the water levels not to
go lower than three to six inches below the low point natural hydro-period.12 Lowering the water
table several inches by the mining lakes would have adverse impact upon the wetlands. 14

12
   Dannemiller, Gary (2018). Hydrologic Opinion Report on Impact of Proposed Troyer Mining Upon Adjacent
Property, Lee County, Florida.
13
   DHI (2009).Comprehensive Hydrological Study of the Lee County Southeastern Density Reduction/Groundwater
Resource (DR/GR) Area.
14
   Richardson, Vepraskas. Wetland Soils, p 29
   Case 1:21-cv-00119-RDM           Document 31-1        Filed 03/05/21      Page 160 of 242
                                                                  Conservancy of Southwest Florida 6
                                                         Troyer Mine, Lee County (SAJ-2008-03793)


The Troyer lands are adjacent to a number of conservation tracts, and the proposed mining has
the potential to disrupt and alter hydrology on the adjacent wetlands and uplands.

Besides the impact to the wetlands on adjacent conservation lands, the project is proposing to
impact 214 acres of wetlands. Although the applicant plans mitigation, they have not adequately
demonstrated avoidance and minimization of these impacts. Further, we are concerned about the
impact the direct removal of wetlands will have on wildlife, especially wading birds. As stated
previously, no set of conditions can be crafted that will successfully mitigate for the damage
caused by the proposed mine.

Impacts to Flowways and Water Quality

A water quality issues at the proposed Troyer mine lake has already been anticipated and
“resolved” by approving a variance the applicant petitioned with the Bureau of Mining and
Mineral Regulation, Department of Environmental Protection, State of Florida. The original
petition for variance occurred on February 11, 2009 and it was approved on April 5, 2011. The
projected future violation would be for not meeting the dissolved oxygen levels in the lower part
of the proposed lakes as required by Sections 373.414(17) and 403.201(1)(a, F.S., and 62-
302.530(31), F.A.C. These sections provide for minimum standards for the dissolved oxygen
levels in surface waters made by the State of Florida. Creation of deep, large lakes (up to 110
feet deep) brings additional water quality problems.12 This resolution, crafted nearly a decade
ago, does not adequately address or solve the problems created by allowing these deep pits.

Impacts to Surrounding Environmentally-Sensitive Lands and Community Character

The Troyer property is located within Lee County’s 83,000 acre DR/GR area. Although this
planning area designation is a local one, the DR/GR aims to reduce density, preserve wildlife
habitat, and protect vital groundwater resources, which supply over 80% of Lee County’s public
drinking water and also make up the headwaters of the Estero River, Flint Pen Strand, and the
Imperial River/Spring Creek Watersheds. This is a significant environmentally-sensitive area
with thousands of acres of preserved lands, and critical natural resources.

Impacts to Surrounding Public and Conservation Lands

The DR/GR area also contains several significant publicly-owned lands and conservation lands.
The proposed project site itself is surrounded by several regionally significant conservation
lands. The site is bounded to the west by the Sam Galloway Tract at the Imperial Marsh
Preserve (a 400-acre preserve), and to the east by the Corkscrew Regional Mitigation Bank (a
632-acre preserve), and the Airport Mitigation Park (a 6,000-acre preserve which also connects
south to the Flint Pen Strand Preserve and the Corkscrew Regional Ecosystem Watershed)
(Exhibit D).

The Conservancy is concerned that the location of this project will jeopardize the functionality of
these preserves, both in regards to disturbance affecting its value as wildlife habitat, as well as
the hydrological impacts of the mine on these wetland areas. Together with the permanent
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physical barrier created by the mining lakes and intensified activity, the proposed project will
create a barrier between the preserve lands that encompass it. Due to these impacts, the project
should be denied as proposed.

Impacts to Surrounding Rural Residential Communities

In addition to public lands, there are a number of rural residential communities in close
proximity to the proposed mine. The impacts from locating a mine site so close to these small,
rural communities adjacent to the property and along Corkscrew Road is inappropriate and will
result in negative impacts to those communities which could change the character of these rural
communities. Outside of the DR/GR, but adjacent to the northern boundary of the proposed site,
the Lehigh Acres residential community is a more urbanized area, but will be subject to similar
impacts like increased truck traffic and noise pollution. Due to the location of the mine and the
impacts of its truck traffic, the mine is highly controversial, and also poses a threat to public
health and safety.

Troyer Mine Proposes Individual and Cumulative Significant Impacts and Requires EISs

The proposed Troyer Mine, in addition to other reasonably foreseeable actions in the area, pose
unacceptable affects both on an individual and a cumulative basis. An individual EIS for the
Troyer Mine, as well as a cumulative EIS for mining in the area, is critically needed.

As outlined in the sections above, the Troyer Mine, as an individual project, will significantly
impact the human environment, as defined under 40 C.F.R. § 1508.27. The mine will have
impacts not just at the site, but also on adjacent landowners and regionally-significant natural
resources. As mining will permanently impact the landscape and hydrology of the area, these
impacts are immediate, as well as long-lasting. In all of these contexts,15 the affect is severe16:
public health and safety is compromised through truck traffic and water resource changes,17
farmlands and wetlands and ecologically critical areas will be impacted,18 the proposed project is
controversial,19 the effect of post-mining land use on water resources and wildlife is not known,20
and listed species under the ESA are adversely affected.21

The Council on Environmental Quality has identified that “the increased use of EAs rather than
EISs in recent years could exacerbate the cumulative effects problem” and “because EAs focus
on whether effects are significant, they tend to underestimate the cumulative effects of their
projects.”22

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   40 C.F.R. § 1508.27(a).
16
   40 C.F.R. § 1508.27(b).
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   40 C.F.R. § 1508.27(b)(2).
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   40 C.F.R. § 1508.27(b)(3).
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   40 C.F.R. § 1508.27(b)(4).
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   40 C.F.R. § 1508.27(b)(5); US Army Corps of Engineers, Determination to Conduct an Environmental Impact
Statement on Limestone Mining Adjacent to Regional Preserved Lands Within the Lee-Collier Limestone Resource
Area. P. 4.
21
   40 C.F.R. § 1508.27(b)(9).
22
   Council on Environmental Quality, Executive Office of the President, January 1997. Considering Cumulative
Effects Under the National Environmental Policy Act. P. 4.
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                                                         Troyer Mine, Lee County (SAJ-2008-03793)


As each individual action by the ACOE requires a NEPA analysis, we request that the NEPA
analysis for the Troyer Mine be elevated and that an EIS be completed. However, an EIS
completed just for the Troyer Mine is insufficient. A cumulative EIS, as was originally proposed
by the ACOE in 2010 for mining impacts beyond the scope of the Troyer Mine EIS (and of
which included Troyer Mine in its proposed EIS analysis), is necessary to adequately review the
effects to the human environment–most specifically the impacts of the loss of tens of thousands
of acres of Florida panther habitat in this area. This review, with a scope that includes, at
minimum, the geographic range of the entire DR/GR and adjoining Collier County areas and also
includes stakeholder participation, is necessary to meet the intent of the CWA, ESA, and NEPA.
We request that the Troyer Mine receive an individual EIS, as well as that the cumulative EIS is
also completed.

In conclusion, we ask that:
     Due to the adverse impacts to the Florida panther and other listed species, wildlife
       movements, water resources, and adjacent preserved lands, the project be denied as
       proposed;
         An individual EIS for the Troyer Mine is pursued; and
          A cumulative EIS for development and mining impacts to critical natural resources and
          other NEPA factors is pursued by ACOE, in partnership with FWS.

Thank you for your consideration of our letter. Also, we request a written response. If you would
like to discuss this matter further, please contact me at (239) 262-0304 ext. 267.


Sincerely,




Kelly McNab
Environmental Planning Specialist


cc:       Nicole Johnson, Conservancy of Southwest Florida
          Amber Crooks, Conservancy of Southwest Florida
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                              Exhibit A
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                                                   Conservancy of Southwest Florida 10
                                          Troyer Mine, Lee County (SAJ-2008-03793)

                              Exhibit B
Case 1:21-cv-00119-RDM   Document 31-1    Filed 03/05/21    Page 165 of 242
                                                   Conservancy of Southwest Florida 11
                                          Troyer Mine, Lee County (SAJ-2008-03793)

                              Exhibit C
Case 1:21-cv-00119-RDM   Document 31-1    Filed 03/05/21    Page 166 of 242
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                                          Troyer Mine, Lee County (SAJ-2008-03793)

                              Exhibit D
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                         Exhibit I
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                         Exhibit K
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                                                                   CONSERVANCY
                                                                   of Southwest Florida
                                                                   OUR WATER, LAND, WILDLIFE, FUTURE.
                Protecting Southwest Florida's unique natural environment and quality of life ... now and forever.


 February 2, 2018                                                                                     Sent as email & USPS


 Robert Tewis, Project Manager
 U.S. Army Corps of Engineers, Fort Myers Permits Section
 1520 Royal Palm Square Boulevard, Suite 310
 Fort Myers, Florida 33919


 Larry Williams, State Supervisor
 US Fish and Wildlife Service
 1339 20th St.
 Vero Beach, FL 32960-3559


 RE: SAJ-2008-00210 (SP-RMT) Rural Lands West (FKA Town of Big Cypress)


 Dear Mr. Robert Tewis and Mr. Larry Williams:


· On behalf of the Conservancy of Southwest Florida and our over 7,000 supporting families, we
 write regarding the application for a new town in eastern Collier County called Rural Lands
 West (formerly known as Town of Big Cypress), #SAJ-2008-00210.


 The Rural Lands West project is proposed on critical lands for state and federally listed species,
 particularly the endangered Florida panther (see Exhibit A). This project will add about 10,000
 new residences on a currently rural landscape, and would impact over 300 acres of wetlands
 within the Shaggy Cypress and Camp Keais Strand wetland systems. The project is within the
 Camp Keais Strand, a major flowway between CREW and the Florida Panther National Wildlife
 Refuge. It is located within an impaired WBID, and is upstream of the Outstanding Florida
 Waters of the Fakahatchee Strand, as well as the Picayune Strand Everglades Restoration
 project.


 We continue to have serious concerns regarding this project because of its.magnitude and
 location, and we do not believe the project meets the requirements ofthe Endangered Species
 Act or Clean Water Act.




       j\- ':-CHARITY****              Conservancy of Southwest Florida has been awarded Charity Navigator's prestigious 4-Star top rating for good
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       1495 Smiih Preserve Way I Naples, Flofida 34102 I 239 .262.0304 I Fax 239 .262 .0672 I www.conservancy.org
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                                                              SAJ-2008-:00210 (SP-RMT) Rural Lands West

First and foremost, there are practicable design modifications and alternatives that could be
made to reduce impacts to wetlands and essential habitats. The applicant owns property to the
north of this application that would avoid the most valuable Florida panther habitat, and would
also have fewer direct and secondary impacts to wetlands (Exhibit B). We have proposed this
alternative solution to your agencies and to the applicant as early as our March ·2, 2010 letter.
However, instead of making these necessary improvements, the project has grown in size,
adding additional impact area that encircles the Shaggy Cypress system, and ballooning the
wetland impacts from approximately 60 acres to 300 acres. The project has increased the
destruction of 3,700 acres of panther habitat to approximately 4,100 acres.


The current footprint is about 75% Primary Panther Zone habitat, which are the top priority
lands supporting the existing panther population and should be avoided per the best available
science and the USFWS's own Panther Recovery Plan.


Additional best available panther science by Frakes et al. 1 also demonstrates the project area
should be avoided. Exhibit A shows the Rural Lands West footprint with the Kautz et al 2006
zones and the Frakes et al 2015 Adult Breeding Habitat overlain.


Further, Exhibit C demonstrates how the Rural Lands West project will adversely change Adult
Breeding Habitat if it were to be permitted. The left side shows the current panther habitat
value, and the right side shows the Frakes et al model re-run with the Rural Lands West project
in place. The warmer the color, as depicted with reds, oranges, and yellows, the higher the
value to adult breeding panthers. Blue and gray colors depict lower value habitat for adult
breeding panthers.


As you can see, when considering the impacts from the Rural Lands West. project, lands well
beyond the 4,000+ acres of impact would become more marginal for the panther, including a
significant decrease in the value of lands within the Shaggy Cypress and the Camp Keais Strand
(which is one of only two existing south-to-north panther corridors).


Although the applicants propose a panther crossing aiming to allow continued access into
Shaggy Cypress north of Oil Well Road, these lands will be degraded from some of the highest
value panther habitat lands to marginal value. Most strikingly, the 600 acres of wetlands within
the project footprint that are south of Oil Well Road, that will also become surrounded by
intense development and human presence, would go from high value lands to no value.


1 Frakes et al. 2015. Landscape Analysis of Adult Florida Panther Habitat. PLoS ONE, 10 (7):e0133044.

DOI :10.1371/journal.pone.0133044.P.15.
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                                                     SAJ-2008-00210 (SP-RMT) Rural Lands West

Researcher Dr. Robert Frakes calculates that Rural Lands West will, in effect, eliminate 14
square kilome.ters of Adult Breeding Panther habitat as a result of direct and indirect effects, as
shown in Exhibit D.


This modeling provides additional evidence to show why the project, as proposed, does not
comply with the Endangered Species Act and threatens the Florida panther with jeopardy. Not
only is the project proposed in an area inappropriate for development due to panther
utilization, but the lands proposed as mitigation -including large portions of a critical corridor
and flowway- will become more degraded and fragmented. Further, there are additional
modifications that must be made to be more consistent with the Clean Water Act and
Endangered Species Act available to the applicant (Exhibit B). We reiterate our prior request to
deny this project as proposed.


We appreciate the upcoming Service meeting and hope to discuss this project and other related
issues. We would like to request a similar meeting with Army Corps of Engineers in the near
future as well. We look forward to reviewing this science-based information together as we
continue to discuss solutions to better protect our state's official mammal, other imperiled
species, and the quality and quantity of our water resources.


This letter is in addition to our letter dated August 15, 2017. We ask that you include all ofthe
administrative record for Town of Big Cypress to the administrative record for Rural Lands West
project, including all of the Conservancy's prior letters and submittals.


If you have any questions, please feel free to contact me at (239) 262-0304, ext. 286. Thank you
for considering our comments.


Sincerely,



Amber Crooks
Environmental Policy Manager


Cc: Muriel Blaisdell, Army Corps of Engineers
   Roxanna Hinzm an, US Fish and W ildlife Service
   Chuck Kelso, US Fish and Wildlife Service
   Kenneth McDonald, US Fish and Wildlife Service
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                                                        SAJ-2008-00210 (SP-RMT) Rural Lands West




                                                 Exhibit A


                         Rural Lands West - Panther Habitat




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                                        SAJ-2008-00210 (SP-RMT) Rural Lands West




                                Exhibit B




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                                                           Conservancy of Southwest Florida
                                                SAJ-2008-00210 (SP-RMT) Rural Lands West



                                         Exhibit C




                   Panther Habitat Value IP)                                       Panther Habitat Value IP)
                   Before Development                                              After Development
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                               Maps by Dr. Frakes
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                                                                        Conservancy of Southwest Florida 17
                                                             SAJ-2008-00210 (SP-RMT) Rural Lands West


                                                      Exhibit D




                                               Rural Lands West
                                    Pre-Development      Post-Development
No. of cells                               60                    60
Total p•                                 36.372               23.496
Change_P                                                      -12.876
"" loss of P                                                    35.4
MinimumP                                 0.028                 0.018
MaximumP                                 0.994                 0.994
Ave_P                                    0.606                 0.392
Std. Dev.                                0.368                 0.302
Total panther habitat
inRLW(km 2      t                               40                     26
Habitat loss (km      2)
                                                                       14
% Habitat loss                                                        35.0

All values were calculated usln:the Florida panther landscape habitat model (Frakes et al. 2015}.
•Each of the 60 grid cetls within the Rlw study area has a P value (probability of panther use) assigned by the model.
Total P is the sum of P values for all cells.
1 Using a cutoff point of P:::0.338 {Frakes et al. 201S).
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                         Exhibit L
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November 25, 2020

Robert Tewis, Army Corps of Engineers
Robert.M.Tewis@usace.army.mil

Jewelene Harris, South Florida Water Management District
jsharris@sfwmd.gov


Dear Mr. Tewis and Ms. Harris,

The Conservancy of Southwest Florida, on behalf of it’s more than 7,000 members, is writing to provide
comment on Permit Application No. SAJ-2006-06656-(SP-RMT) for Babcock Ranch Holdings.1


We draw your attention to several specific issues that have not been appropriately addressed by the
applicant and are critical in your review of this application. The first area of concern is the potential
impacts to crested caracara, particularly their nest sites. While we understand the applicant had
indicated it would be difficult to rework site plans, modification of the design should be the priority in
order to avoid impacts to the Threatened caracara. This has not been done by Babcock Ranch Holdings
and we ask that you direct them to do so. We are requesting a hearing on this project to fully address
these issues.

We cannot stress strongly enough that mitigation should only be an option after avoidance and
minimization have been exhausted, and we do not believe the applicant has explored those options fully.
The caracara Primary Zone buffer is particularly important, and must be avoided not just if practicable
but if possible. If avoidance is impossible, any activity in those areas must be minimized to the greatest
extent practicable, which includes avoiding construction during breeding season. The caracara is non-
migratory uses their territory year round, and has strong nesting site fidelity.2 Although breeding activity
can occur from September through June, the primary breeding season is considered November through
April.3 Nest initiation and egg-laying peak from December through February. Caracaras construct new



1 This is also Application 200526-3536 for the South Florida Water Management District
2 Morrison, J.L. 2001. Recommended management practices and survey protocols for Audubon’s crested caracaras (Caracara cheriway

audubonii) in Florida. Technical Report No. 18. Florida Fish and Wildlife Conservation Commission, Tallahassee, Florida. P. 4.
3 US Fish and Wildlife service, 2004. South Florida Ecological Services Office, Species Conservation Guidelines South Florida, Audubon’s

Crested Caracara. April 20, 2004. P. 6.
         Case 1:21-cv-00119-RDM                     Document 31-1                           Conservancy
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nests each nesting season, often in the same tree as the previous year.4 Thus, as surveying efforts
continue we note that the US Fish and Wildlife Services guidelines state that “a nest should not be
considered abandoned until it is not used for three consecutive breeding seasons or no other active nests
are found within 0.5 km (0.31 mi) of the nest.”5 This map shows the caracara nests that had activity in
2019 and 2020 as provided by the applicant to the South Florida Water Management District as part of
their application.




4 US Fish and Wildlife service, 2004. South Florida Ecological Services Office, Species Conservation Guidelines South Florida, Audubon’s

Crested Caracara. April 20, 2004. P. 1.
5 US Fish and Wildlife service, 2004. South Florida Ecological Services Office, Species Conservation Guidelines South Florida, Audubon’s

Crested Caracara. April 20, 2004. P. 7.
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The second concern we want to raise is the impact on the Florida bonneted bat. Florida bonneted bats
are different from most
other Florida bat species
because they appear to be
reproductively active
through most of the year,
and their large size makes
them capable of foraging
long distances from their
roost6. Consequently, this
species is vulnerable to
disturbances around the
roost during a greater
portion of the year and
considerations about
foraging habitat extend
further than the localized
roost. Note that the
protected species
assessment dated August
2017 states “[w]idely
scattered pine tree snags
with potential bonneted
bat cavities were
observed.”

The bonneted bat was
listed in 2013, but we do
not see in the Biological
Opinions for this site to-
date, including the
amendment in August 9, 2019, that a consultation was completed for this species. The United States
Fish and Wildlife Service updated their consultation key for the bat, and Figure 1 shows the consultation
area, of which this project falls within.7 Before this application can be approved, the applicant needs to
provide information to the agencies to determine if there are foraging or roosting bonneted bats on-site
or in the vicinity. We ask that you require this of the applicant.



6
  Ober, H. 2016. Annual report to USFWS for calendar year 2016. Permit number TE23583B-1. University of Florida,
Department of Wildlife Ecology and Conservation, North Florida Research and Education Center. Quincy, Florida.
7
  https://www.fws.gov/verobeach/ProgrammaticPDFs/20191022_letter_ServicetoCorps_FBB-ProgrammaticKey.pdf
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Additionally, as shown on the included map, much of the Babcock Ranch development site is proposed
as critical habitat for the Florida Bonneted Bat.8 Consideration of how the proposal would impact this
proposed9 habitat is also warranted.

It appears that these listed species have not been fully examined and that avoidance measures have not
been taken. Avoidance must occur not just if convenient but if possible, and we believe that it is
possible for the applicant to avoid at least the primary zones for active caracara nests and as there is no
survey completed for the Florida Bonneted Bat, it is impossible to determine if appropriate avoidance
measures are being taken. Please require a survey prior to the issuance of any permit to ensure
appropriate avoidance measures are being taken.



Best Regards,




Julianne Thomas
Senior Environmental Planning Specialist
(239) 262-0304 x 252
juliannet@conservancy.org


Cc: Roxanna Hinzman, USFWS, roxanna_hinzman@fws.gov




8
    Shapefile provided by US Fish and Wildlife Service.
9
    Federal Register, Vol. 85, No. 112, P. 35510. June 10, 2020.
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ÿ51ÿ153567ÿ6ÿ31ÿ'121343567ÿ69975351ÿ5173551ÿ5357ÿ14ÿ#$%&#&(ÿ61ÿ66
571ÿ#4366ÿ)531ÿ./0ÿ12635ÿ#$%&#&(ÿ&61ÿ3 !ÿ1+/13
4 1ÿ476 ÿ'121343567ÿ5ÿ4ÿ571ÿ57ÿ1563355ÿ53ÿ51ÿ43311ÿ91414ÿ*1414
5575171'54ÿ47ÿ1414ÿ4454ÿ454ÿ455695ÿ4 1ÿ/476 ÿ571ÿ4421ÿ49
(44ÿ491336ÿ9571ÿ*571ÿ474ÿ4 667ÿ6ÿ12ÿ4571ÿ42ÿ931ÿ*614
1514ÿ64"5547ÿ1 1ÿ(57ÿ3115735654ÿ67ÿ61/931ÿ7 6693ÿ36917364
34221ÿ$6754ÿ3564ÿ47ÿ241 ÿ12ÿ244ÿ4 1ÿ/476 ÿ57ÿ43311ÿ52 1
11'43567ÿ414ÿ673457ÿ47ÿ5'1ÿ648ÿ91ÿ21957434ÿ47ÿ931ÿ648ÿ91ÿ935654
4 1ÿ267ÿ6'1ÿ571ÿ67ÿ61/931ÿ64"5547ÿ1 1ÿ4ÿ491336ÿ(11764ÿ1 17
4817ÿ17ÿ31559ÿ455579ÿ49 ÿ17ÿ419436179ÿ1 439ÿ211754ÿ(9542
ÿ24 1'571ÿ0535ÿ6375654ÿ6567ÿ5'ÿ462561767ÿ4547ÿ6'1ÿ'571ÿ&434
 55695ÿ26 1ÿ4 1ÿ$54754ÿ954255ÿ77572ÿ648ÿ91ÿ954ÿ47ÿ16/11ÿ24
:5ÿÿ&6'1421ÿ6ÿ12635ÿ1211ÿ,.ÿ1173ÿ57ÿ414ÿ94 1ÿ4ÿ13
)457421ÿ&474ÿ#$%&#&(ÿ&61ÿ. 3
4 11ÿ124'431ÿ631ÿ 41ÿ431ÿ414ÿ41ÿ6 17ÿ431ÿ41ÿÿ4ÿ476 ÿ6ÿ91414
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*4726'1ÿ(49 ÿ)531ÿ/30ÿ12635ÿ#$%&#&(ÿ&61ÿ; !ÿ1 
4 1ÿ476 ÿ47ÿ/476 ÿ'121343567ÿ571ÿ 531ÿ94726'1ÿ$427454ÿ41964ÿ48
94726'1ÿ'517754ÿ2195747ÿ336766ÿ&6764 ÿ113ÿ91414ÿ47ÿ34547
  571ÿ&44574ÿ155135654ÿ4 1ÿ267ÿ6'1ÿ571ÿ7111ÿÿ7ÿ6191547
4324ÿ)5355ÿ5434ÿ967572ÿ26ÿ6914ÿÿ914ÿ121ÿ#5174ÿ5 6514ÿ47
4363ÿ6435ÿ9453594
*4726'1ÿ(49 ÿ)531ÿ./,.0ÿ12635ÿ#$%&#&(ÿ&61ÿ; !ÿ1+
4 1ÿ476 ÿ47ÿ/476 ÿ'121343567ÿ571ÿ336766ÿ&6764 ÿ113ÿ91414
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& 1<571<&4421ÿ49ÿ)531ÿ12635ÿ./0ÿ#$%&#&(ÿ&61ÿ;3!ÿ1+/13
4 1ÿ476 ÿ6753ÿ6ÿ4ÿ571ÿ91414ÿ 1ÿ442659ÿ5359ÿ47ÿ4421ÿ49
4 1ÿ/476 ÿ673457ÿ67ÿ61/931ÿ4421ÿ49ÿ66 9ÿ& 6447ÿ546ÿ42
931ÿ49 ÿ4ÿ114ÿ435ÿ91414ÿ64"5547ÿ1 1ÿ47ÿ9571ÿ4 1ÿ267ÿ6'1
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-4945171ÿ24 1'571ÿ49 ÿ5ÿ&579ÿ4915479ÿ=ÿ6ÿ59572ÿ17ÿ$2659
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    3ÿ4ÿ634ÿÿ76ÿ !""#ÿ"436ÿ$%&ÿ7'78
()3ÿ1 2ÿ 666ÿ*ÿ6+16)ÿ2 3ÿ1 4ÿ03+1+31ÿ,)ÿ603ÿ61334ÿ11-3ÿ21+0ÿ1 4ÿ23669
()3ÿ61 2ÿ 1 6ÿ6+16)ÿ2 3ÿ,1ÿ0+3ÿ06 3ÿ41) ÿ)++ÿ6,102ÿ1ÿ61+6)
.1)16ÿ)1+0*+1ÿ03+1+31ÿ4, ÿ630+3ÿ2366ÿ2+0 ÿ1 4ÿ.1/+1 ÿ232239
()3ÿ- 4ÿ03ÿ+436ÿ-+*4 3ÿ21621+0 ÿ6,102ÿ*3 ÿ61,-166ÿ6,3ÿ")1
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()3ÿ1 2ÿ1 4ÿ61 2ÿ03-31 ÿ+436ÿ ,4ÿ" 126ÿ336ÿ03+1+31
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#211ÿ1+3 *+1ÿ334+3ÿ6)ÿ+31)3ÿ*3ÿ56)0ÿ130ÿ1 4ÿ-+166,ÿ#1+ 1
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166134ÿ*163ÿ103 36ÿ1 4ÿ60,13ÿ01 1-303 ÿ66309ÿ()3ÿ22634ÿ2:3
,++ÿ36+ÿÿ)3ÿ46)1-3ÿ*ÿ$&33ÿÿ146ÿ*ÿ*++ÿ0131+ÿÿ%$9%ÿ136ÿ*ÿ,3+1 46ÿ1 4
;'&ÿÿ146ÿ*ÿ*++ÿ0131+ÿÿ9'ÿ13ÿ*ÿ)3ÿ6*13ÿ,1369ÿ()3ÿ22634ÿ2:3ÿ,++ÿ1+6
31013ÿ3%%'ÿÿ146ÿ*ÿ0131+ÿ*0ÿ398$ÿ136ÿ*ÿ,3+1 469
5<2=5>"7ÿ5>ÿ?=>=?=@5(=2>ÿ=>27?5(=2>ÿAÿ()3ÿ122+1 ÿ)16ÿ20434ÿ)3ÿ*++, -
  *01 ÿÿ622ÿ*ÿ3**6ÿÿ104ÿ1 4Bÿ0 0/3ÿ0216ÿÿ)3ÿ161ÿ3 0 03 9ÿ(
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,)ÿ+366ÿ3 0 03 1+ÿ)11ÿ01+39ÿ()3ÿ63ÿ2+1 ÿ,16ÿ436- 34ÿÿ+/3ÿ36-ÿ4634
2+1 4ÿ1 4ÿ+,61+ÿ,3+1 4ÿ)116ÿ1 4ÿ104ÿ43ÿ1 4ÿ63 41ÿ0216ÿÿ 63ÿ)-)
61+ÿ11+ÿ,3+1 4ÿ)116ÿ+4 -ÿ01 -039ÿ=ÿ144 ÿ)3ÿ122+1 ÿ1046ÿ4303+2 -
 31ÿ36-ÿ 6301 ÿ+1 46ÿ+134ÿ6)ÿ*ÿ)3ÿ2:39ÿ
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,3+1 4ÿ*  6ÿ)3ÿ122+1 ÿ22636ÿ 63ÿ236301 ÿ1 4ÿ3 )1 303 ÿ*ÿ,3+1 46ÿ1 4
2+1 469ÿ()3ÿ236301 ÿ131ÿ 1 6ÿ021 ÿ)11ÿ*ÿ1ÿ013ÿ*ÿ2+1 ÿ1 4ÿ,+4+*3ÿ62336
1 4ÿ6ÿ+134ÿ2013ÿÿ713ÿ.1ÿ>1 1+ÿ761 3ÿ73631)ÿ7363039ÿ()3ÿ023 61
0-1 ÿ131ÿ,+4ÿ3ÿ2+134ÿÿ1ÿ 6301 ÿ316303 ÿ434134ÿÿ)3ÿ#)ÿ+41ÿ413
?1 1-303 ÿ6ÿ,)ÿ)4ÿ21ÿ3 *303 ÿ-)6ÿ-1 34ÿÿ)3ÿ"269
"! (!75 ÿ77#2!7"7#9ÿ()3ÿ"26ÿ6ÿÿ1,13ÿ*ÿ1 ÿ1, ÿ)6ÿ22336ÿ,) ÿ)3
230ÿ1319ÿ5ÿ+1+ÿ363ÿ16636603 ÿ603ÿ)16ÿ33 ÿ02+334ÿÿ)3ÿ122+1 9ÿ2ÿ*1+
4330 1 ÿ3+103ÿÿ)6ÿ363ÿ0216ÿ6ÿ6:3ÿÿ303,ÿÿ1 4ÿ4 1 ÿ,)ÿ)3
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2 ÿ13ÿ3961ÿ932ÿ
 ÿ0 !"0#ÿ$3ÿ%98&31ÿ7613ÿ67ÿ8213ÿ6ÿ2 ÿ2932ÿ393ÿ13ÿ327139ÿ668ÿ72'3
(9298 ÿ89267ÿ8)%396*ÿ2ÿ8 )9ÿÿ7%3637ÿ7)93ÿ8 )13ÿ8ÿ13ÿ%98&31ÿ7613+ÿÿ13
2%%62 1,7ÿ23 1+ÿ6ÿ81ÿ9332ÿ13ÿ%9373 3ÿ8ÿ2 ÿ327139ÿ668ÿ72'37+ÿ8339ÿ%813 162
93)62ÿ393ÿ63 1663ÿ6ÿ13ÿ89ÿ8ÿ8%39ÿ18918673ÿ)9987ÿ$3ÿ%3961ÿ6719)3 1+ÿ6ÿ677)3+
8)ÿ8 126ÿ13ÿ012 29ÿ9813163ÿ-327)937ÿ89ÿ27139ÿ"68ÿ0 2'3ÿ6ÿ)71ÿ3ÿ883
)96ÿ2ÿ8 719)168 ÿ21661637ÿ"ÿ886ÿ13ÿ"68ÿ0 2'3ÿ9892216ÿ!8 )993 3ÿ.3
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 86113ÿ18ÿ2ÿ%2 ÿ8ÿ6162168 ÿ121ÿ6ÿ3 2 3ÿ2 ÿ%937393ÿ2 ÿ121ÿ2 ÿ%9863ÿ26121
7)%%891ÿ89ÿ13ÿ327139ÿ668ÿ72'3ÿ$3ÿ!89%7ÿ313963ÿ13ÿ%98%873ÿ%98&31ÿ52ÿ2316ÿ13
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$3ÿ%98&31ÿ7613ÿ7)%%8917ÿ0)6123ÿ8926ÿ526121ÿ89ÿ13ÿ88ÿ7189'+ÿ)1ÿ67ÿ81ÿ8213ÿ616ÿ2
88ÿ7189'ÿ(-13962ÿ23962 2*ÿ893ÿ8926ÿ2932ÿ$3ÿ2%%62 1ÿ27ÿ86113ÿ18ÿ2ÿ%2 ÿ8
6162168 ÿ121ÿ6ÿ3 2 3ÿ2 ÿ%937393ÿ839ÿ01ÿ2937ÿ8ÿ2 ÿ121ÿ2 ÿ%9863ÿ26121ÿ7)%%891ÿ89
13ÿ88ÿ7189'ÿ$3ÿ!89%7ÿ8%313ÿ2 ÿ32)2168 ÿ8ÿ13ÿ%98&31ÿ273ÿ)%8 ÿ13ÿ90ÿ988
0189'ÿ31ÿ313962168 ÿ.3ÿ873ÿ8ÿ13ÿ'3ÿ937)13ÿ6ÿ13ÿ886ÿ737)3 162ÿ313962168 #
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1393893+ÿ13ÿ!89%7ÿ313963ÿ121ÿ13ÿ%98&31ÿ52ÿ231+ÿ)1ÿ67ÿ81ÿ6'3ÿ18ÿ23973ÿ2316
(-<*+ÿ13ÿ88ÿ7189'ÿ2 ÿ6ÿ937)371ÿ8 )993 3ÿ98ÿ13ÿ90ÿ62ÿ2ÿ73%29213ÿ31139ÿ
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8)3 13ÿ8 ÿ89ÿ329ÿ13ÿ7613ÿ)96ÿ13ÿ6713ÿ7%3637ÿ7)93ÿ89ÿ8139ÿ6389'ÿ8 )13ÿ8 ÿ13
  98&31ÿ7613ÿ$3ÿ!89%7ÿ27ÿ313963ÿ13ÿ%98%873ÿ%98&31ÿ52ÿ231+ÿ)1ÿ67ÿ81ÿ6'3ÿ18
23973ÿ2316+ÿ13ÿ!9ÿ$67ÿ313962168 ÿ67ÿ273ÿ8 ÿ13ÿ)73ÿ8ÿ13ÿ90ÿ921ÿ0%3637
!8 7392168 ÿ)63637+ÿ08)1ÿ8962ÿ89ÿ13ÿ!9ÿ(@)ÿ/0+ÿ011:*ÿ 896ÿ18ÿ13ÿ8962ÿ67
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         Case 1:21-cv-00119-RDM Document 31-1 Filed 03/05/21 Page 229 of 242

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Case 1:21-cv-00119-RDM   Document 31-1   Filed 03/05/21   Page 230 of 242




                         Exhibit O
    Case 1:21-cv-00119-RDM                       Document 31-1                Filed 03/05/21            Page 231 of 242




July 2, 2020



Michael Elgin
Minto Communities USA
4400 W. Sample Road, Suite 200
Coconut Creek, FL 33073

          RE:       Minto Sabal Bay, LLC- Fleischmann Parcel SAJ-2019‐03152 (SP-ACM)


Dear Mr. Elgin:

The Conservancy of Southwest Florida, Audubon of the Western Everglades, and the Florida
Wildlife Federation are concerned with impacts to threatened and listed species due to the
proposed Fleischmann Parcel development. In February 2020, Conservancy staff, along with
Florida Wildlife Federation and Audubon of the Western Everglades staff, met with you and the
environmental consultants of the proposed project. During this meeting we were made aware of
the significant amount of state-designated threatened gopher tortoise individuals and burrows on
site (approximately 68 burrows1), as well as the plan to develop over all gopher tortoise habitat
and transfer tortoises to a Glades County recipient site.

The primary threat to gopher tortoises is destruction of their preferred habitat, particularly upland
environments.2 This is because the gopher tortoise prefers open canopy, forested environments
that have sandy and well-drained soils.3 Unfortunately, this also represents the preferred
landscape for human development. Since gopher tortoises are an obligate upland species and
their habitat is underrepresented in conservation lands in Florida- this presents a real problem for
the species.4

It should also be noted that the federally listed eastern indigo snake is known to use gopher
tortoise burrows as a refuge, particularly from the cold weather.5 As this property is located in
an area where the eastern indigo snake may occur, we are concerned what impact the project
may have on habitat used by this listed species. As logic follows, if the gopher tortoises are
protected and burrows are preserved on-site, then potential habitat for the eastern indigo snake
will also be protected.
1
  Passarella & Associates, Inc. 2019. Isles of Collier Preserves Mixed-Use Planned Unit Development Fleischmann Parcel
Amendment Environmental Data.
2
  Florida Fish and Wildlife Conservation Commission. Gopher Tortoise.
https://myfwc.com/wildlifehabitats/profiles/reptiles/gopher-tortoise/
3
  Enge, K. M., J. E. Berish, R. Bolt, A. Dziergowski, and H. R. Mushinsky. 2006. Biological status report - gopher tortoise. Florida
Fish and Wildlife Conservation Commission, Tallahassee, USA. 60pp.
4
  Ankersen, T. et al. 2003. The Gopher Tortoise and Upland Habitat Protection in Florida: Legal and Policy Considerations.
https://www.law.ufl.edu/_pdf/academics/centers-clinics/clinics/conservation/resources/gopher.pdf
5
  USFWS. Eastern Indigo Snake Fact Sheet.
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At the February meeting, our groups suggested an on-site preserve within the west central
portion of the property, approximately 20-25 acres, that encompasses the most active tortoise
burrows (See Attachment A for map). This will prevent having to relocate the majority of
tortoises approximately 100 miles away from their native habitat into a fenced- in recipient site
with high density of gopher tortoises. A recent study conducted in the Panhandle of Florida
suggests that significant health problems in tortoises may arise following translocation and are
possibly caused by stress, social disruptions, and/or increased exposure to local pathogens or
contaminants.6 We support maintaining and protecting the gopher tortoises’ on-site as to avoid
these possible side effects of translocation.

Ideally, the proposed project would avoid the gopher tortoise habitat and all wetland areas. This
can be achieved by building more densely within the development footprint in order to maintain
the allotted density while still allowing for a gopher tortoise preserve and wetland preservation
onsite. However, in order to have this offset of preserve acreage without impacting the project
density, the development footprint could be extended into impacted wetlands in the
central/southwest portion of the parcel and down the eastern side next to already existing
development. If you are able to maintain a gopher tortoise preserve on-site, your community
would have the unique opportunity to offer access to this natural community. Access to nature is
a highly desirable amenity. This is evidenced in Minto Communities' existing Twin Eagles
development off of Immokalee Road. Of course, with an on-site preserve, there must be a proper
management plan and escrow fund for maintenance of the tortoise preserve that would be funded
by the future HOA in perpetuity. Once a gopher tortoise preserve management plan is drafted,
our groups would be more than willing to provide feedback and work as partners on the final
language of the plan.

As proposed, this project does not adequately address or protect on-site threatened species like
the gopher tortoise or eastern indigo snake. We ask that you reconsider our suggestion and move
forward with creating a 20-25 acre preserve within the development will allow for a large
number of the gopher tortoises to remain on the property while protecting their preferred habitat.
This in turn helps support and protect other species that utilize gopher tortoises burrows and
habitat, such as the eastern indigo snake. Our organizations appreciate that you reached out to us
initially to gauge our concerns and met with us on February 4, 2020. However, we were
disappointed that our follow up meeting request sent on April 10, 2020 has remained
unanswered.

We believe we have offered a path forward that can both meet your needs while still ensuring
that the native gopher tortoise population can remain intact and we respectfully request that you
give this proposal full consideration. Please do not hesitate to reach out with any questions. We

6
 Cozad RA, Hernandez SM, Norton TM, Tuberville TD, Stacy NI, Stedman NL and Aresco MJ. 2020. Epidemiological Investigation
of a Mortality Event in a Translocated Gopher Tortoise (Gopherus polyphemus) Population in Northwest Florida. Front. Vet. Sci.
7:120. doi: 10.3389/fvets.2020.00120
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look forward to discussing this further with you. Thank you for your time and consideration of
our concerns. Please feel free to contact Kelly McNab at kellym@conservancy.org if you have
any questions or concerns.



Sincerely,

Kelly McNab
Environmental Planning Specialist
Conservancy of Southwest Florida

Meredith Budd
Regional Policy Director
Florida Wildlife Federation

Bradley Cornell
Southwest Florida Policy Associate
Audubon of the Western Everglades


cc:      Allison Murphy, US Army Corps of Engineers
         Larry Williams, U.S. Fish & Wildlife Service
         Nicole Johnson, Conservancy of Southwest Florida
         Amber Crooks, Conservancy of Southwest Florida
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                             Attachment A
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                         Exhibit P
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  K3RDPJPF Mining Team: SAJ - RD-WM
                                                                               Document 31-1                  Filed 03/05/21                 Page 242 of 242 ORM2
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      DA Number: SAJ-2010-02076-SMB (LIMESTONE MINING ADJACENT TO REGIONAL PRESERVED LANDS WITHIN THE LEE, COLLIER LIMESTONE RESOURCE AREA )
       Applicant: No Applicant Found


        Environmental Impact Statement

        1. Begin Date*           15-Jul-2010
        2. Corp as Lead Agency YES
        3. Closure Method*       Withdrawn
        4. End Date*             18-Jul-2011
        5. Comments              SAJ-2008-01734 Old Corkscrew Plantation Mine, 4,204 acre Project Site (Suspended , July 18, 2011)
                                 SAJ-2008-03827 Six L's Mine, FFD MEPD, 5,208 acre Project Site (Withdrawn, May 12, 2011)
                                 SAJ-2008-03793 Troyer Brothers Mine, 1,803 acre Project Site
                                 SAJ-2009-03225 Lost Grove Mine (NPR issued April 4, 2011)



        Fund Tracking

         Select                                                  Source
                  No Funding Source

                   Water Resources Development Act (WRDA) 214/Transportation Agreements Regulator Funded (Corps)

                   American Recovery and Reinvestment Act (ARRA)\Project Funded (Others)

                   Deepwater Horizon Settlement\RESTORE

                   Deepwater Horizon Settlement\National Fish and Wildlife Foundation (NFWF)

                   Deepwater Horizon Settlement\National Resources Damage Assessment (NRDA)




        District-Specific Data Elements (DSDE)
        No District-Specific Data Elements Have Been Added To This Action.


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        Commands

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